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205 L.Ed.2d 52




                   140 S.Ct. 161
                                                             Opinion
         Supreme Court of the United States.

      Amy Rebecca GURVEY, Petitioner,
                    v.                                       Petition for writ of certiorari to the United States Court of
   COWAN, LIEBOWITZ & LATMAN, P.C., et al.                   Appeals for the Second Circuit denied.

                        No. 18-8930
                              |                              All Citations
                       October 7, 2019
                                                             140 S.Ct. 161 (Mem), 205 L.Ed.2d 52


Case below, 757 Fed.Appx. 62.
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                                            Filed
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                                            Filed
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                                            Filed
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                                            Filed
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                         NOTE: This order is nonprecedential.


                 United States Court of Appeals
                     for the Federal Circuit
                                ______________________

                              In re: AMY R. GURVEY,
                                      Petitioner
                               ______________________

                                       2023-134
                                ______________________

                  On Petition for Writ of Mandamus to the United States
              District Court for the Southern District of New York in No.
              1:06-cv-01202-LGS-HBP, Judge Lorna G. Schofield.
                                ______________________

                                    ON PETITION
                                ______________________

              PER CURIAM.
                                      ORDER
                  Amy R. Gurvey petitions for a writ of mandamus to
              “disqualif[y]” the magistrate judge and district court judge,
              vacate the district court’s orders “retroactive to 2012,” and
              direct that her case be transferred. ECF No. 2-1 at 21–22.
                  The district court entered final judgment against Ms.
              Gurvey in 2017. She appealed to the United States Court
              of Appeals for the Second Circuit, which affirmed in 2018.
              In 2020 and 2021, the district court denied Ms. Gurvey’s
              requests to vacate the judgment. We transferred her ap-
              peals from those rulings (and her associated petition for a
              writ of mandamus) to the Second Circuit, which dismissed




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              2                                               IN RE: GURVEY




              them. In 2022, the district court entered an anti-filing in-
              junction against Ms. Gurvey. This petition appears to arise
              out of Ms. Gurvey’s recent attempts to file submissions at
              the district court seeking disqualification and vacatur of
              the prior rulings, which have been returned to her unadju-
              dicated.
                  The All Writs Act provides that the federal courts “may
              issue all writs necessary or appropriate in aid of their re-
              spective jurisdictions and agreeable to the usages and prin-
              ciples of law.” 28 U.S.C. § 1651(a). As that statute makes
              clear, however, the Act is not itself a grant of jurisdiction.
              See Clinton v. Goldsmith, 526 U.S. 529, 534–35 (1999). As
              we have repeatedly explained to Ms. Gurvey, we do not
              have jurisdiction over her case. See 28 U.S.C. § 1295. Un-
              der the circumstances, we dismiss, having concluded that
              it would not be in the interest of justice to transfer to the
              Second Circuit under 28 U.S.C. § 1631.
                  Accordingly,
                  IT IS ORDERED THAT:
                  The petition is dismissed.
                                                      FOR THE COURT

              August 16, 2023                         /s/ Jarrett B. Perlow
                  Date                                Jarrett B. Perlow
                                                      Clerk of Court




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Gurvey v. Cowan, Liebowitz and Lathman, P.C., Not Reported in Fed. Rptr. (2021)




                                                             Opinion
                2021 WL 3918878
  Only the Westlaw citation is currently available.
  United States Court of Appeals, Second Circuit.
                                                             *1 Appellees move to dismiss the appeal and for
       Amy R. GURVEY, Plaintiff-Appellant,                   sanctions. Upon due consideration, it is hereby
                         v.                                  ORDERED that Appellees’ motion is DENIED. It is
 COWAN, LIEBOWITZ AND LATHMAN, P.C., et                      further ORDERED that the appeal is DISMISSED
             al., Defendants-Appellees,                      because it “lacks an arguable basis either in law or in
 Does, 1-X Inclusive, Michael Gordon, Defendants.            fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989); see
                                                             also Pillay v. INS, 45 F.3d 14, 17 (2d Cir. 1995) (holding
                         20-1986                             Court has inherent authority to dismiss an appeal that
                             |                               lacks an arguable basis in law or fact). Appellant’s
                      January 8, 2021                        mandamus petition, which was transferred to this Court as
                                                             part of this appeal from the United States Court of
                                                             Appeals for the Federal Circuit, is DENIED because
Attorneys and Law Firms                                      mandamus may not be used as a substitute for an appeal.
                                                             See Linde v. Arab Bank, PLC, 706 F.3d 92, 117–18 (2d
Amy R. Gurvey, Upper Montclair, NJ, Pro Se.                  Cir. 2013).
Ariel Michael Furman, Esq., Furman Kornfeld & Brennan
LLP, New York, NY, for Defendants-Appellees.                 All Citations
Present: Guido Calabresi, Reena Raggi, Denny Chin,           Not Reported in Fed. Rptr., 2021 WL 3918878
Circuit Judges.

End of Document                                              © 2023 Thomson Reuters. No claim to original U.S. Government Works.




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  AMY R. GURVEY,
                                                  Plaintiff,
                                v.
  HON(S). JANET DIFIORE, ALAN
  SCHEINKMAN (2ND DEPT.), ELIZABETH
  GARRY (3RD DEPT.), GERALD WHELAN (4TH
  DEPT.), LAWRENCE MARKS (NYS OFFICE
  OF COURT ADMINISTRATION), JORGE
  DOPICO & ERNEST CALLAZO (1ST DEPT.
  ATTORNEY GRIEVANCE COMMITTEE),                                         MEMORANDUM AND ORDER
                                                                                19-CV-4739 (LDH) (ST)
                              and

  RICHARD SUPPLE, HINSHAW &
  CULBERTSON LLP, O. LEE SQUITIERI, ESQ.,
  SQUITIERI & FEARON, LLP, JORGE
  DOPICO, ERNEST CALLAZO, ALAN
  FRIEDBERG, SHERRY COHEN, THOMAS
  CAHILL (deceased), ORLANDO REYES,
  JAMES T. SHED, HON(S). LUIS GONZALEZ,
  JONATHAN LIPPMAN, PETER TOM,
  HERAING PANEL IV, LAUREN HOLMES,
  AND DOES 10-10, inclusive,
                                                  Defendants.

  LASHANN DEARCY HALL, United States District Judge:

           Plaintiff Amy R. Gurvey, proceeding pro se, 1 filed the instant action against current and

  former New York State judges Janet DiFiore, Lawrence K. Marks, Alan D. Scheinkman,



  1
    Though proceeding pro se, Plaintiff states that she was admitted to the practice of law in New York State in 1985.
  (See Am. Compl. ¶ 75, ECF No. 10.) Typically, when the plaintiff is proceeding pro se, the Court must “construe
  liberally” her complaint and any further pleadings, and “interpret them to raise the strongest arguments that they
  suggest.” Cold Stone Creamery, Inc. v. Gorman, 361 F. App’x 282, 286 (2d Cir. 2010) (internal quotation marks
  and citation omitted). However, because Plaintiff is a licensed attorney, the Court declines to apply this liberal
  standard. See Breindel & Ferstendig v. Willis Faber & Dumas Ltd., No. 95 CIV. 7905 (SHS), 1996 WL 413727, at
  *5 (S.D.N.Y. July 24, 1996) (“Although pleadings by a party proceeding pro se ordinarily are construed extremely
  liberally, the same does not hold true where the pro se party is an attorney or law firm.” (internal citations omitted));
  Cf. Larsen v. JBC Legal Grp., P.C., 533 F.Supp.2d 290, 295 n.2 (E.D.N.Y. 2008) (“[T]he rules afforded pro se
  litigants are not relaxed when that litigant is also an attorney[.]”).

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  Elizabeth A. Garry, Rolando T. Acosta, Jonathan Lippman, Luis A. Gonzalez, Peter Tom, and

  Gerald Whelan; current and former attorneys of the New York Appellate Division, First

  Department’s Attorney Grievance Committee (“AGC”) Alan W. Friedberg, Ernest J. Collazo,

  Jorge Dopico, Sherry Cohen, Thomas Cahill, Orlando Reyes, James Shed, and Lauren Holmes

  (collectively, the “State Defendants”); Richard Supple and Hinshaw & Culbertson LLP

  (“Hinshaw,” and together with Defendant Supple, the “Hinshaw Defendants”); and O. Lee

  Squitieri and Squitieri & Fearon, LLP (“Squitieri,” and together with Defendant O. Lee Squitieri,

  the “Squitieri Defendants”). Plaintiff filed an amended complaint on September 27, 2019

  seeking injunctive relief and money damages. (See Am. Compl.)

                                                  BACKGROUND 2

  I.       Plaintiff’s History of Vexatious Litigation

           A.       Ethics Complaints Against the Cowan Firm

           Plaintiff, who was previously admitted to the practice law in California, was admitted to

  the practice law in New York in 1985. (Am. Compl. ¶ 75.) In 2001, Plaintiff established a

  Delaware company to hold certain intellectual property rights she was developing. (Id.) In

  January 2002, Plaintiff was hired as Of Counsel by the New York law firm Cowan Liebowitz &

  Latman (the “Cowan firm”). See Gurvey v. Cowan, Liebowitz & Latman, PC., 06-CV-1202,

  2009 WL 1117278, at *1 (S.D.N.Y. Apr. 24, 2009) (citing Plaintiff’s pleading referencing her

  employment contract with the Cowan firm). In May 2002, Plaintiff’s employment with the



  2
    The amended complaint is lengthy, verbose, and poorly organized. It includes entire sections committed to
  Plaintiff’s interpretation of state and federal law (many of which involve misapprehensions of law) and conclusory
  factual allegations. Nonetheless, the following facts are taken from the amended complaint, and prior filings
  incorporated therein, and assumed to be true for the purposes of this memorandum and order. The Court also takes
  judicial notice of certain orders entered by state and federal courts relevant to issues resolved by this memorandum
  and order. See Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d Cir. 1991) (“[C]ourts routinely take judicial
  notice of documents filed in other courts, again not for the truth of the matters asserted in the other litigation, but
  rather to establish the fact of such litigation and related filings.”).

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  Cowan firm was terminated, but she continued to maintain an office at the firm until August of

  that year. Id. Prior to Plaintiff’s termination, the Cowan firm agreed to represent Plaintiff before

  the U.S. Patent and Trademark Office (“USPTO”). Id. Plaintiff believed that filings made by

  the Cowan firm on her behalf were defective and/or delayed. (See Am. Compl. ¶ 95.) As such,

  in or around 2004, she filed a series of ethics complaints with the AGC against the Cowan firm.

  (Id. ¶ 91.) Among other things, Plaintiff sought the return of certain files related to her patent

  applications. (Id.)

         B.      SDNY Suit Against the Cowan Firm

         On February 15, 2006, Plaintiff brought suit in the United States District Court for the

  Southern District of New York (the “SDNY Action”) against the Cowan firm and its attorneys in

  connection with their representation of her before the USPTO. (Id. ¶ 95.) In that suit, Plaintiff

  alleged that, among other things, the Cowan firm abandoned her patent applications and failed to

  disclose admitted conflicts of interest. (Id.) Plaintiff sought damages for alleged spoliation of

  documents and the return of her complete patent files. (Id.) The Hinshaw Defendants

  represented the Cowan firm in the SDNY Action. (Id. ¶ 97.) According to Plaintiff, the

  Hinshaw Defendants had previously served on the AGC, and thus, had a conflict of interest in

  representing the Cowan firm. (Id.)

         C.      Supreme Court Suit Against the Squitieri Defendants

         The Squitieri Defendants represented Plaintiff in the SDNY Action. Gurvey v. Cowan,

  Liebowitz & Latman, P.C., 06-CV-1202 (LGS) (HBP), 2013 WL 3718071, at *15 (S.D.N.Y. July

  15, 2013). At some point, Plaintiff’s relationship with Squitieri Defendants soured. See id.

  Although the relationship ended, Plaintiff alleged Squitieri did not return her files. Id. As a

  result, Plaintiff filed suit against the Squitieri Defendants in New York Supreme Court, New



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  York County for legal malpractice and breach of fiduciary duty. Id. The mater was ultimately

  resolved by order of the court directing the Squitieri Defendants “to produce to plaintiff all

  available emails and electronic files concerning their representation of plaintiff between 2007

  and 2010[.]” See Gurvey v. Squitieri and Fearon, LLP, No. 102516/12, slip op. (N.Y. Sup. Ct.

  Apr. 30, 2013). Nevertheless, Plaintiff moved for a writ of replevin in the SDNY Action seeking

  the return of her files from the Squitieri Defendants. See Gurvey, 2013 WL 3718071 at *15.

  The court found Plaintiff’s replevin motion was moot in light of the New York Supreme Court’s

  decision. Id. The court further noted that “[e]ven if [Plaintiff’s] application for a writ of

  replevin were not moot, it would be barred by the doctrine of res judicata, because an identical

  motion has also been made and ruled upon in her lawsuit . . . in the Southern District of

  California.” Id. at *15 n.5 (citing Gurvey v. Legend Films, Inc., No. 3:09-CV-00942(AJB), 2013

  WL 1883229, at *1–2 (S.D. Cal. May 3, 2013)).

         D.      Housing Litigation

         Sometime around 2002, Plaintiff became embroiled in litigation with her landlord

  wherein she claimed that she was fraudulently induced to vacate her federally subsidized Battery

  Park City apartment (the “Housing Litigation”). See In re Gurvey, 958 N.Y.S.2d 5, 5 (App. Div.

  2012) (summarizing litigation). The Housing Litigation resulted in, among other things, three

  state court decisions imposing monetary sanctions against Plaintiff totaling $8,783. Id. In

  imposing the sanctions, the court concluded that they were warranted due to Plaintiff’s “years of

  vituperative litigation, frivolous motion practice, and intentional misrepresentations to the court.”

  Id. at 6 (internal quotations marks omitted). Indeed, the court concluded that Plaintiff’s conduct

  was “indicative of harassment and an abuse of the judicial process,” “mean spirited and




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  vexatious,” and that her “inappropriate use of the courts” resulted in “needless expense in the

  defense of a frivolous lawsuit.” Id. at 5–6.

             E.      Disciplinary Proceedings Against Plaintiff

             In or about April 2005, the AGC 3 commenced a disciplinary proceeding against Plaintiff

  for violations of the Code of Professional Responsibility allegedly committed by her during the

  Housing Litigation. Id. In December 2011, the AGC moved pursuant to 22 New York Codes,

  Rules, and Regulations § 605.15 to suspend Plaintiff’s license to practice law for one year,

  arguing that “whether [Plaintiff] was in active practice or not, she engaged in a long pattern of

  frivolous litigation and willfully disregarded judicial orders imposing sanctions.” Id. In a

  decision dated December 4, 2012, the New York Appellate Division, First Department (“First

  Department”) granted the AGC’s motion, suspended Plaintiff from practicing law in New York

  for six months, and required Plaintiff to submit proof that she had paid the sanctions imposed

  during the Housing Litigation before seeking reinstatement. Id. at 7. In turn, Plaintiff filed suit

  against the Hon. Luis A Gonzalez, Chief Justice of the First Department, the Hon. Jonathan

  Lippman, Chief Justice of the New York Court of Appeals, and several AGC officers (including

  Defendants DoPico, Cahill, Reyes, Shed, and Tom) in federal court seeking to vacate the First

  Department’s order suspending her from the practice of law; reinstatement; and unspecified

  money damages. See Weissbrod v. Gonzalez, 13-CV-2565 (JMF), 2013 WL 12084506

  (S.D.N.Y. May 2, 2013), aff’d, 576 F. App’x 18 (2d Cir. 2014). The court found that Plaintiff’s

  claims challenging the AGC’s discipline imposed against her were barred by the Rooker-

  Feldman doctrine. Id. at *2. Further, the court found that Plaintiff’s claims against the




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      Formerly known as the First Department’s Departmental Disciplinary Committee.

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  individual defendants were precluded under judicial immunity or quasi-judicial immunity. Id. at

  *2–3.

  II.      The Amended Complaint

           On September 27, 2019, Plaintiff filed an amended complaint in this action incorporating

  by reference her prior filings with this Court and filings made in the above-mentioned

  proceedings. (See generally Am. Compl.) According to Plaintiff, beginning in 2005, AGC

  officers and staff attorneys created “forged and perjured documents and inserted these documents

  into [her] . . . bar files.” (Id. ¶¶ 45–46.) She further alleges that the Squitieri Defendants had

  access to and altered her files in the attorney discipline proceedings against her. (Id. ¶ 71.)

  Plaintiff contends that the Hinshaw Defendants and Squitieri Defendants conspired with the

  AGC to corrupt her disciplinary proceedings. (Id. ¶¶ 46, 62, 90.) Plaintiff maintains that this

  conduct was done in retaliation because she filed ethics complaints against the Cowan firm. (Id.

  ¶ 40.)

           Plaintiff also challenges the constitutionality of New York’s Judiciary Law § 90 and Part

  1240 of Title 22 of the N.Y.C.R.R. (“Part 1240”) related to attorney discipline and

  simultaneously complains that these provisions were not adhered to in her disciplinary

  proceedings. (Id. ¶¶ 30, 55.) In particular, Plaintiff alleges that Defendant Hon. Luis A.

  Gonzalez failed to supervise AGC attorneys and did not have jurisdiction to preside over

  Plaintiff’s ethics proceedings. (Id. ¶ 17.) Finally, Plaintiff challenges the First Department’s

  jurisdiction to institute the disciplinary proceedings in the first instance. (Id. ¶¶ 10, 48.)

           Plaintiff demands injunctive and declaratory relief as well as unspecified monetary

  damages. (Id. ¶¶ xi–xx, 145, 148.) She asks this Court to compel state court judges to vacate

  certain state court orders, reopen the disciplinary proceedings against her, produce records from



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  those proceedings and her bar files, and reopen ethics complaints she filed against the Squitieri

  and Hinshaw Defendants. (Id. ¶¶ 150, (b), (d), (f)–(g).) She seeks an order compelling the New

  York Office of Court Administration to produce the legislative history and drafting notes for

  “Judiciary Law (JL) Part 1240.” (Id. ¶ 57.) She asks this Court to intervene in the SDNY

  Action, by issuing an order disqualifying Defendants Richard Supple and Hinshaw as the Cowan

  firm’s counsel; compelling the Cowan firm to return her patent and inventorship files; and

  compelling the Squitieri Defendants to give Plaintiff files related to their representation of her,

  including communications between Defendant Squitieri and opposing counsel. (Id. ¶¶ 77–80,

  99, (i).) Finally, Plaintiff seeks a declaration that State Defendants “have imposed and continue

  to impose unconstitutional protocols against [her] since 2004.” (Id. ¶ (a).)

                                                      DISCUSSION

             It is impossible to discern with certitude what claims are being advanced by Plaintiff. 4

  That said, at various points the amended complaint makes opaque references to claims for

  violations of: the First and Fourteenth Amendments brought pursuant to 42 U.S.C. § 1983, (Am.

  Compl. ¶¶ ii, xii, xiii, 22, 87–88); the Racketeer Influenced and Corrupt Organizations Act

  (“RICO”), (Id. ¶¶ x, 40, 62, 70, 146); the Freedom of Information Act (“FOIA”), (Id. ¶¶ xiv, 57,

  156); New York Rules for Attorney Disciplinary Matters, (Id. at ¶¶ iii, iv, vi, viii, ix, xiv); and

  state law tort claims, including defamation, (Id. ¶¶ xviii, 61, 140), intentional infliction of

  emotional distress, (Id. ¶¶ xix, 25), aiding and abetting fraud (Id. ¶¶ viii), and abuse of process

  (Id. ¶¶ xviii, 9).

             “[D]istrict courts may dismiss a frivolous complaint sua sponte even when the plaintiff

  has paid the required filing fee.” Fitzgerald v. First E. Seventh St. Tenants Corp., 221 F.3d 362,



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      The amended complaint does not set forth separate claims for relief as required by Fed. R. Civ. P. 8(a)(2).

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  364 (2d Cir. 2000). 5 An action is frivolous when it is “based on an indisputably meritless legal

  theory”—that is, when it “lacks an arguable basis in law . . . , or [when] a dispositive defense

  clearly exists on the face of the complaint.” Livingston v. Adirondack Beverage Co., 141 F.3d

  434, 473 (2d Cir. 1998). Moreover, “[a] complaint will be dismissed as ‘frivolous’ when ‘it is

  clear that the defendants are immune from suit.’” Montero v. Travis, 171 F.3d 757, 760 (2d Cir.

  1999) (per curium) (quoting Neitzke v. Williams, 490 U.S. 319, 327 (1989)). There can be no

  question—this action is frivolous.

  I.       Plaintiff’s Claims Against the State Defendants

           As best as the Court can glean, Plaintiff generally alleges the State Defendants

  improperly carried out their duties (or failed to do so) in violation of Plaintiff’s rights under the

  First and Fourteenth Amendments of the United States Constitution and the New York Rules for

  Attorney Disciplinary Matters. (Id. ¶¶ iii–iv, vi, viii, xii–xiii, 2–5, 8–12, 17–18, 21–22, 39, 41,

  60, 66.) Plaintiff also alleges the State Defendants defamed Plaintiff and intentionally inflicted

  emotional distress through “malicious and abhorrent abuse of process[.]” (Id. ¶ xix; see also ¶¶

  xviii, 25.) Finally, Plaintiff seeks FOIA orders against certain State Defendants to compel the

  production of legislative drafting notes. (Id. ¶¶ xiv, 57, 156.) These claims are barred.

           As a matter of law, the State Defendants are immune from suit. Judges are immune from

  suit for judicial acts performed in their judicial capacity. Mireles v. Waco, 502 U.S. 9, 11 (1991)

  (“[J]udicial immunity is an immunity from suit, not just from ultimate assessment of damages.”

  (citation omitted)). This absolute immunity extends to “certain others who perform functions

  closely associated with the judicial process.” Cleavinger v. Saxner, 474 U.S. 193, 200 (1985).



  5
   The State Defendants and the Hinshaw Defendants have separately brought motions to dismiss the amended
  complaint, which set out some of the bases for dismissal addressed herein. (See ECF Nos. 47, 56.) However,
  because the Court can dismiss the claims sua sponte as frivolous, it does not reach a decision on those motions.

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  Relevant here, courts have recognized that the AGC is “part of the judicial arm of the state of

  New York.” Thaler v. Casella, 960 F. Supp. 691, 700 (S.D.N.Y. 1997). Accordingly, the

  AGC’s staff-counsel are entitled to absolute immunity from suit, because they act in a “‘quasi-

  public adjudicatory or prosecutorial capacity.’” Id. (quoting Barbara v. N.Y. Stock Exchange,

  Inc., 99 F.3d 49, 58 (2d Cir. 1996)).

         According to the amended complaint, the State Defendants: improperly handled

  Plaintiff’s ethics complaints (Am. Compl. ¶¶ 4, 46, 52); failed to supervise the AGC staff (Id. ¶

  8); improperly exercised jurisdiction over her conduct and filings, at times through forgery and

  perjury (Id. ¶¶ 3, 9–10, 46, 48, 59, 60, 67); improperly transferred her complaints to the

  purportedly wrong jurisdiction (Id. ¶ 11); improperly disclosed her confidential information and

  files (Id. ¶¶ 14, 22, 25, 142); engaged in retaliatory harassment through the issuance of sanctions

  (Id. ¶¶ 17, 22, 53); failed to properly discharge their duties under New York Rules for Attorney

  Disciplinary Matters (Id. ¶¶ 2, 24, 26, 149); engaged in an “illegal enterprise . . . in furtherance

  of a conspiracy” to target her and others who file ethics complaints against New York City

  attorneys (Id. ¶ 40; see also ¶¶ 45, 147); and aided and abetted the unlawful taking of her patent

  claims without just compensation (Id. ¶ 62). The only reasonable inference that can be drawn

  from these allegations is that the State Defendants’ alleged wrongful conduct stems from their

  judicial or quasi-judicial functions. That Plaintiff alleges that the State Defendant’s conduct was

  malicious or somehow improper is of no consequence. The immunity afforded to judges and

  officials “is not overcome by allegations of bad faith or malice, nor can a judge be deprived of

  immunity because the action he took was in error [] or was in excess of his authority.”

  Weissbrod, 2013 WL 12084506, at *2 (quoting Mireles v. Waco, 502 U.S. 9, 12 (1991) (per

  curiam))). Accordingly, the State Defendants are immune from suit.



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           Even if the State Defendants were not immune from suit, Plaintiff’s claims regarding past

  attorney disciplinary matters would be barred under the Rooker-Feldman doctrine. Plaintiff

  requests intervention in state ethics proceedings that she commenced against Defendants Supple

  and Squitieri and that the AGC commenced against her. (See id. at 43–44, ¶¶ (b)–(c), (g), (i),

  (k)–(l).) However, under the Rooker-Feldman doctrine, Plaintiff is barred from bringing any

  claim challenging a state court decision in federal court. See Rooker v. Fid. Tr. Co., 263 U.S.

  413, 415–16 (1923). That is, Rooker-Feldman bars federal courts from hearing cases “brought

  by state-court losers complaining of injuries caused by state-court judgments rendered before the

  district court proceedings commenced and inviting district court review and rejection of those

  judgments.” Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005). The

  doctrine bars federal jurisdiction when: (1) the plaintiff lost in state court or in a state

  disciplinary proceeding; (2) his or her alleged injuries were caused by the state courts’ orders; (3)

  the state court rendered its determinations before the federal action was commenced; and (4) the

  plaintiff challenges the state courts’ decisions. Green v. Mattingly, 585 F.3d 97, 101 (2d Cir.

  2009) (outlining the four requirements for the Rooker-Feldman doctrine to apply); see also

  Neroni v. Zayas, 663 F. App’x 51, 53 (2d Cir. 2016) (applying the doctrine equally to attorney

  disciplinary determinations).

           Each of these elements are easily met here. Plaintiff alleges that she was suspended and

  sanctioned by the AGC and alleges that the AGC failed to take action in response to her ethics

  complaints against Defendants Supple and Squitieri. (See, e.g., Am. Compl. ¶¶ (b), (g).) Now,

  years later, Plaintiff seeks injunctive relief and damages for the AGC’s alleged wrongdoing.

  Against this backdrop, it is undeniable that the Rooker-Feldman doctrine applies. 6


  6
   The Younger abstention doctrine also requires federal courts to abstain from interfering with certain pending state
  court proceedings. See Younger v. Harris, 401 U.S. 37, 43–45 (1971) (identifying the “primary sources” of the

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  II.      Plaintiff’s Claims Against the Hinshaw and Squitieri Defendants

           Plaintiff’s claims against the Hinshaw Defendants and Squitieri Defendants are barred by

  the doctrine of res judicata which “protect[s] parties from having to relitigate identical claims or

  issues and . . . promote[s] judicial economy.” Transaero, Inc. v. La Fuerza Aerea Boliviana, 162

  F.3d 724, 731 (2d Cir. 1998). In particular, res judicata bars subsequent litigation if: “(1) the

  previous action involved an adjudication on the merits; (2) the previous action involved the

  [parties] or those in privity with them; [and] (3) the claims asserted in the subsequent action

  were, or could have been, raised in the prior action.” Monahan v. N.Y.C. Dep’t of Corrs., 214

  F.3d 275, 285 (2d Cir. 2000).

           Giving Plaintiff’s allegations the strongest argument they can make, Plaintiff seeks to

  compel the Cowan firm (who is not named as a Defendant in this action) to return her patent and

  inventorship files; to compel the Squitieri Defendants to produce to her files related to their

  representation of her; an order retroactively disqualifying the Hinshaw Defendants in the SDNY

  Action; damages for aiding and abetting fraud and the obstruction of justice; and damages under

  common law tort theories of defamation and intentional infliction of emotional distress. These

  very claims were raised in prior litigation. Plaintiff brought a motion to disqualify the Hinshaw

  Defendants in the SDNY Action and a prior New York Supreme Court action. See Gurvey v.

  Cowan, Liebowitz & Latman, P.C., 2014 WL 6491281, at *6 (S.D.N.Y. Nov. 20, 2014);

  Weissbrod-Gurvey v. State of New York, No. 100163/2015 (N.Y. Sup. Ct. Aug. 29, 2016).

  Plaintiff’s intentional tort and aiding and abetting claims against the Hinshaw Defendants were

  thoroughly litigated and adjudicated in the prior New York Supreme Court action and a separate



  “longstanding public policy against federal court interference with state court proceedings). Relevant here, attorney
  disciplinary proceedings are precisely the type of enforcement action to which Younger applies. Schorr v. Dopico,
  205 F. Supp. 3d 359, 363 (S.D.N.Y. 2016) (“Disciplinary proceedings against attorneys fall within the category of
  proceedings to which Younger applies.”), aff’d, 686 F. App’x 34 (2d Cir. 2017).

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  action filed in the Southern District of New York. See Weissbrod-Gurvey, No. 100163/2015;

  Weissbrod Gurvey v. Hon. Jonathan Lippman, No. 18-cv-2206 (S.D.N.Y. June 5, 2018). In both

  cases, her claims were dismissed. See Weissbrod-Gurvey, No. 100163/2015, slip op. at 8 (N.Y.

  Sup. Ct. Aug. 29, 2016) (granting the Hinshaw Defendants’ motion to dismiss and for filing

  injunction against Plaintiff); Order of Dismissal at 2, Weissbrod Gurvey, No. 18-cv-2206

  (S.D.N.Y. June 5, 2018), ECF No. 29 (“[T]he Court concludes that Plaintiff’s allegations and

  arguments are frivolous.”). With respect to the Squitieri Defendants, Plaintiff has already

  successfully litigated her claim in a prior New York Supreme Court action. See Gurvey v.

  Squitieri and Fearon, LLP, No. 2012-102516, slip op. (N.Y. Sup. Ct. April 30, 2013).

  Accordingly, Plaintiff’s claims against the Hinshaw and Squitieri Defendants are barred by res

  judicata. To the extent Plaintiff attempts to allege new tort claims not previously alleged in prior

  actions, the allegations here are impermissibly vague and simply do not state a claim. See Fed.

  R. Civ. P. 8(a)(2); Sheehy v. Brown, 335 F. App’x 102, 104 (2d Cir. 2009) (affirming district

  court’s dismissal of claims that were “so vague as to fail to give the defendants adequate notice

  of the claims against them”). Accordingly, Plaintiff’s claims against the Hinshaw Defendants

  and Squitieri Defendants must be dismissed.

  III.   Filing Injunction

         State Defendants and the Hinshaw Defendants separately move for a filing injunction,

  barring Plaintiff from filing any civil action in this Court against them arising out of the events

  alleged in the amended complaint, without prior leave of the Court. (ECF Nos. 52, 56–14.)

  “The United States Courts are not powerless to protect . . . litigants [] from the depredations of

  those [] who abuse the process of the Courts to harass and annoy others with meritless, frivolous,

  vexatious or repetitive [] proceedings.” In re Martin-Trigona, 737 F.2d 1254, 1261–62 (2d Cir.



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  1984) (quoting In Re Hartford Textile Corp., 659 F.2d 299, 305 (2d Cir. 1981)). Indeed, federal

  courts have the “inherent authority” to “‘impose sanctions against litigants who abuse the

  judicial process,’ and ‘[t]he filing of repetitive and frivolous suits constitutes the type of abuse

  for which an injunction forbidding further litigation may be an appropriate sanction.’” Vassel v.

  Firststorm Props. 2 LLC, 750 F. App’x 50, 52 (2d Cir. 2018) (alteration in original) (quoting

  Shafii v. British Airways, PLC, 83 F.3d 566, 571 (2d Cir. 1996)). The Second Circuit has

  identified five factors relevant to the decision to impose a filing injunction:

         “(1) the litigant’s history of litigation and in particular whether it entailed vexatious,
         harassing or duplicative lawsuits; (2) the litigant’s motive in pursuing the
         litigation,” including whether the litigant has “an objective good faith expectation
         of prevailing[]; (3) whether the litigant is represented by counsel; (4) whether the
         litigant has caused needless expense to other parties or has posed an unnecessary
         burden on the courts and their personnel; and (5) whether other sanctions would be
         adequate to protect the courts and other parties.”

  Id. (quoting Safir v. U.S. Lines Inc., 792 F.2d 19, 24 (2d Cir. 1986) (internal quotation marks

  omitted)). Although the Court is loathe to enjoin a party from filing suit, this litigation cries out

  for the application of an injunction. Indeed, each factor counsels in favor of the Defendants’

  requests.

         First, Plaintiff has a history of vexatious litigation. This Court would not be the first to

  make such a finding. See, e.g., In re Gurvey, 958 N.Y.S.2d at 6 (noting that Plaintiff was

  “sanctioned for ‘years of vituperative litigation,’ frivolous motion practice, and intentional

  misrepresentations to the court”). Second, Plaintiff brought claims already found to be barred by

  immunity and res judicata. See Weissbrod, 2013 WL 12084506. Third, Plaintiff, an attorney, is

  not entitled to any special solicitude as a pro se litigant. See Larsen, 533 F.Supp.2d at 295 n.2

  (E.D.N.Y. 2008) (“[T]he rules afforded pro se litigants are not relaxed when that litigant is also

  an attorney[.]”). Fourth, Plaintiff’s repeated frivolous lawsuits are a needless imposition on



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  State Defendants, the Hinshaw Defendants, and the courts. Fifth, other sanctions cannot

  adequately protect the courts and the other parties. Indeed, courts have already imposed

  monetary sanctions on Plaintiff, which did not dissuade her from commencing the instant action.

  Plaintiff’s arguments advanced opposing the filing injunction are utterly meritless. (See

  generally Pl.’s Mem. L. Opp. Mot. Dismiss, ECF No. 59.)

                                           CONCLUSION

         For the foregoing reasons, the amended complaint is DISMISSED in its entirety. State

  Defendants and the Hinshaw Defendants’ motions for a filing injunction are GRANTED.

  Defendants’ motions to dismiss the amended complaint are DISMISSED as MOOT. Plaintiff is

  barred from filing any civil action in the Eastern District of New York against the State

  Defendants or the Hinshaw Defendants arising out of the events alleged in the amended

  complaint, without prior leave of the Court.



                                                       SO ORDERED.

  Dated: Brooklyn, New York                            /s/ LDH
         September 30, 2021                            LASHANN DEARCY HALL
                                                       United States District Judge




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                                             U.S. District Court
                                   Eastern District of New York (Brooklyn)
                             CIVIL DOCKET FOR CASE #: 1:19-cv-04739-LDH-ST


 Gurvey v. Garry et al                                                                 Date Filed: 08/16/2019
 Assigned to: Judge LaShann DeArcy Hall                                                Date Terminated: 09/30/2021
 Referred to: Magistrate Judge Steven Tiscione                                         Jury Demand: Plaintiff
 Cause: 42:1983 Civil Rights Act                                                       Nature of Suit: 440 Civil Rights: Other
                                                                                       Jurisdiction: Federal Question
 Plaintiff
 Amy R. Gurvey                                                        represented by Amy R. Gurvey
                                                                                     7302 Woodstone Circle
                                                                                     Princeton, NJ 08540
                                                                                     973-655-0991
                                                                                     PRO SE


 V.
 Defendant
 Hon. Elizabeth A. Garry                                              represented by Michael A. Berg
                                                                                     Office of the NYS Attorney General
                                                                                     Litigation Bureau
                                                                                     28 Liberty Street
                                                                                     New York, NY 10005
                                                                                     (212)416-8651
                                                                                     Fax: (212)416-6075
                                                                                     Email: michael.berg@ag.ny.gov
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Hon. Gerald Whelan
 Defendant
 Hon. Alan Scheinkman                                                 represented by Michael A. Berg
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Hon. Rolando Acosta                                                  represented by Michael A. Berg
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Chief Counsel Jorge Dopico                                           represented by Michael A. Berg
                                                                                     (See above for address)

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                                                                   ID #:1059            LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
 Defendant
 Chief Adm. Officer Lawrence Marks                                    represented by Michael A. Berg
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Luis Gonzalez                                                        represented by Michael A. Berg
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Peter Tom                                                            represented by Michael A. Berg
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Jonathan Lippman                                                     represented by Michael A. Berg
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Alan Friedberg                                                       represented by Michael A. Berg
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Lauren Holmes

 Defendant
 Richard Supple                                                       represented by Nicole Feder
                                                                                     L'Abbate Balkan Colavita & Contini
                                                                                     3 Huntington Qualdrangle, Suite 102-S
                                                                                     Melville, NY 11747
                                                                                     516-294-8844
                                                                                     Email: nfeder@lbcclaw.com
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Hinshaw & Culberston                                                 represented by Nicole Feder
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 O. Lee Squitieri, Esq.
 Defendant
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 Squitieri & Fearon, LLP                                           ID #:1060

 Defendant
 Does I-X
 inclusive
 Defendant
 Janet DiFiore                                                        represented by Michael A. Berg
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 Ernest Callazo                                                       represented by Michael A. Berg
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED


  Date Filed            #    Docket Text
  08/16/2019                 FILING FEE: $ 400, receipt number 4653142790 (Bowens, Priscilla) (Entered:
                             08/16/2019)
  08/16/2019             1 COMPLAINT against All Defendants, filed by Amy R. Gurvey. (Attachments: # 1 Civil
                           Cover Sheet) (Bowens, Priscilla) Modified on 8/16/2019 (Bowens, Priscilla). (Entered:
                           08/16/2019)
  08/16/2019             2 Unsigned Order to Show Cause by Amy R. Gurvey (Bowens, Priscilla) (Entered:
                           08/16/2019)
  08/16/2019             3 Summons Issued as to All Defendants. (Bowens, Priscilla) (Entered: 08/16/2019)
  08/16/2019             4 In accordance with Rule 73 of the Federal Rules of Civil Procedure and Local Rule 73.1,
                           the parties are notified that if all parties consent a United States magistrate judge of this
                           court is available to conduct all proceedings in this civil action including a (jury or
                           nonjury) trial and to order the entry of a final judgment. Attached to the Notice is a blank
                           copy of the consent form that should be filled out, signed and filed electronically only if
                           all parties wish to consent. The form may also be accessed at the following link:
                           http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf. You may withhold
                           your consent without adverse substantive consequences. Do NOT return or file the
                           consent unless all parties have signed the consent. (Bowens, Priscilla) (Entered:
                           08/16/2019)
  08/16/2019             5 ORDER: As set forth in the Court's August 16, 2019 Order, Plaintiff's August 16, 2019
                           request for a hearing and preliminary injunctive relief is DENIED 1 . See attached Order
                           for details. The Court will continue to review the Complaint. Ordered by Judge LaShann
                           DeArcy Hall on 8/16/2019. (Ramesar, Thameera) (Entered: 08/16/2019)
  08/30/2019             6 Letter MOTION for Reconsideration by Amy R. Gurvey. (Attachments: # 1 Exhibits)
                           (Ramesar, Thameera) (Entered: 09/05/2019)
  09/05/2019             7 Letter dated 9/5/2019 from Amy R. Gurvey to Judge DeArcy Hall regarding 6 MOTION
                           for Reconsideration as to submitting a duplicate. (Ramesar, Thameera) (Entered:
                           09/06/2019)
  09/27/2019             8 Letter re Status of Service and Pleading by Rolando Acosta, Jorge Dopico, Alan Friedberg,
                           Elizabeth A. Garry, Luis Gonzalez, Lauren Holmes, Jonathan Lippman, Lawrence Marks,
                           Alan Scheinkman, Peter Tom, Gerald Whelan (Berg, Michael) (Entered: 09/27/2019)
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  09/27/2019             9 SUMMONS Returned Executed by Amy R. Gurvey. Rolando Acosta served on 9/25/2019,
                           answer due 10/16/2019; Jorge Dopico served on 9/25/2019, answer due 10/16/2019; Alan
                           Friedberg served on 9/25/2019, answer due 10/16/2019; Elizabeth A. Garry served on
                           9/25/2019, answer due 10/16/2019; Luis Gonzalez served on 9/25/2019, answer due
                           10/16/2019; Hinshaw & Culberston served on 9/25/2019, answer due 10/16/2019; Lauren
                           Holmes served on 9/25/2019, answer due 10/16/2019; Jonathan Lippman served on
                           9/25/2019, answer due 10/16/2019; Lawrence Marks served on 9/25/2019, answer due
                           10/16/2019; Alan Scheinkman served on 9/25/2019, answer due 10/16/2019; O. Lee
                           Squitieri, Esq served on 9/25/2019, answer due 10/16/2019; Squitieri & Fearon, LLP
                           served on 9/25/2019, answer due 10/16/2019; Richard Supple served on 9/25/2019, answer
                           due 10/16/2019; Peter Tom served on 9/25/2019, answer due 10/16/2019; Gerald Whelan
                           served on 9/25/2019, answer due 10/16/2019. (Ramesar, Thameera) (Entered: 09/30/2019)
  09/27/2019           10 AMENDED COMPLAINT against All Defendants, filed by Amy R. Gurvey.
                          (Attachments: # 1 Cont.) (Ramesar, Thameera) (Entered: 10/01/2019)
  10/16/2019           11 NOTICE of Appearance by Michael A. Berg on behalf of Peter Tom (aty to be noticed)
                          (Berg, Michael) (Entered: 10/16/2019)
  10/16/2019           12 MOTION for pre motion conference , MOTION for Extension of Time to File Answer or
                          Motion to Dismiss by Peter Tom. (Attachments: # 1 Prior Court Order) (Berg, Michael)
                          (Entered: 10/16/2019)
  10/16/2019           13 Letter dated October 4, 2019 from pro se plaintiff Amy R. Gurvey re: case (See letter for
                          further details) (Almonte, Giselle) (Entered: 10/22/2019)
  10/28/2019           14 Letter MOTION for Leave to File Document Pre-Answer Motion to Dismiss by Hinshaw
                          & Culberston, Richard Supple. (Attachments: # 1 Exhibit A - Decision dated 8/25/16, # 2
                          Exhibit B - Order of Dismissal, # 3 Exhibit C - Court of Appeals Decision, # 4 Exhibit D -
                          Decision dated 2/10/16) (Feder, Nicole) (Entered: 10/28/2019)
  11/22/2019           15 SUMMONS Returned Executed by Amy R. Gurvey. Jorge Dopico served on 10/15/2019,
                          answer due 11/5/2019; Luis Gonzalez served on 10/11/2019, answer due 11/1/2019;
                          Hinshaw & Culberston served on 9/30/2019, answer due 10/21/2019; Jonathan Lippman
                          served on 10/11/2019, answer due 11/1/2019; O. Lee Squitieri, Esq served on 9/30/2019,
                          answer due 10/21/2019; Squitieri & Fearon, LLP served on 9/30/2019, answer due
                          10/21/2019; Richard Supple served on 9/30/2019, answer due 10/21/2019; Peter Tom
                          served on 10/11/2019, answer due 11/1/2019. (Ramesar, Thameera) (Entered: 11/25/2019)
  11/22/2019           16 Letter MOTION for pre motion conference along with Opposition re Defendants filing
                          injunction and Application seeking ECF-filing privileges by Amy R. Gurvey. (Ramesar,
                          Thameera) (Entered: 11/25/2019)
  12/02/2019           17 Letter MOTION for Leave to File Document Pre-Answer Motion to Dismiss by Hinshaw
                          & Culberston, Richard Supple. (Feder, Nicole) (Entered: 12/02/2019)
  12/05/2019           18 NOTICE of Appearance by Michael A. Berg on behalf of Jorge Dopico, Jonathan Lippman
                          (aty to be noticed) (Berg, Michael) (Entered: 12/05/2019)
  12/05/2019           19 MOTION for pre motion conference by Jorge Dopico, Jonathan Lippman. (Berg, Michael)
                          (Entered: 12/05/2019)
  12/05/2019           20 SUMMONS Returned Executed by Amy R. Gurvey. Ernest Callazo served on 11/26/2019,
                          answer due 12/17/2019; Janet DiFiore served on 11/27/2019, answer due 12/18/2019; Alan
                          Friedberg served on 11/26/2019, answer due 12/17/2019; Elizabeth A. Garry served on
                          11/27/2019, answer due 12/18/2019; Lawrence Marks served on 11/25/2019, answer due
                          12/16/2019; Alan Scheinkman served on 12/4/2019, answer due 12/25/2019. (Ramesar,
                          Thameera) (Entered: 12/06/2019)
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  12/05/2019           21 Summons Returned Unexecuted by Amy R. Gurvey as to Rolando Acosta. Incorrect
                          service to "Roberto Acosta". (Ramesar, Thameera) (Entered: 12/06/2019)
  12/13/2019           22 Unsigned Order to Show Cause by Amy R. Gurvey, US Patentee, PRO SE. (Love, Alexis)
                          (Entered: 12/17/2019)
  12/30/2019           23 Summons Returned Unexecuted by Amy R. Gurvey as to Richard Supple, incorrect name.
                          (Ramesar, Thameera) (Entered: 01/03/2020)
  01/10/2020           24 Letter from Amy R. Gurvey to Ms. Fazzone and Mr. Mac Donald in regards to missing
                          entries. (Ramesar, Thameera) (Entered: 01/14/2020)
  01/27/2020           25 Letter from Amy R. Gurvey to Judge DeArcy Hall regarding 23 Affidavit and the
                          execution of the summons. (See letter for details). (Ramesar, Thameera) (Entered:
                          01/30/2020)
  02/21/2020           26 NOTICE of 'Motion to enter Default Judgment on the pleadings and summary judgment'
                          filed by Amy R. Gurvey. (Ramesar, Thameera) (Entered: 02/21/2020)
  02/21/2020           27 Letter Response to Plaintiff's Letter of Feb. 21, 2020 by Jorge Dopico, Jonathan Lippman,
                          Peter Tom (Berg, Michael) (Entered: 02/21/2020)
  03/12/2020           28 Letter response to Defendant 27 Letter, filed by Amy R. Gurvey. (Ramesar, Thameera)
                          (Entered: 03/13/2020)
  03/31/2020                 ORDER: On August 16, 2019, the Court denied plaintiff's request for a hearing and
                             preliminary injunctive relief seeking intervention into state court proceedings. Plaintiff
                             filed a letter motion on August 30, 2019, requesting that the Court reconsider its August
                             16, 2019 order. Plaintiff has failed to make the substantial showing necessary to warrant
                             reconsideration. She has not demonstrated an intervening change of controlling law, the
                             availability of new evidence not previously available, or the need to correct clear error or
                             prevent manifest injustice. See Salveson v. JP Morgan Chase & Co., 663 F. App'x 71, 75
                             (2d Cir. 2016) (''The standard for granting such a motion is strict, and reconsideration will
                             generally be denied unless the moving party can point to controlling decisions or data that
                             the court overlooked.''). For these reasons, Plaintiff's motion for reconsideration 6 is
                             DENIED. Local Civ. R. 6.3; Fed. R. Civ. 59(e). Ordered by Judge LaShann DeArcy Hall
                             on 3/31/2020. (Williams, Erica) (Entered: 04/06/2020)
  04/02/2020           29 Letter dated March 30, 2020 from Amy R. Gurvey to Judge DeArcy Hall regarding a
                          response to Defendant seeking a conference call. (See letter for details). (Ramesar,
                          Thameera) (Entered: 04/03/2020)
  08/21/2020           30 Letter from Amy Gurvey to Judge DeArcy Hall regarding 'docketing deficiencies in the
                          above case.' (Ramesar, Thameera) (Entered: 08/24/2020)
  08/21/2020           31 Letter from Amy Gurvey to Judge DeArcy Hall requesting the Court 'Certify Interlocutory
                          Appeal.' (Ramesar, Thameera) (Entered: 08/24/2020)
  09/02/2020           32 Letter (second) from Amy Gurvey to Judge DeArcy Hall requesting the Court 'Certify
                          Interlocutory Appeal.' (Ramesar, Thameera) (Entered: 09/04/2020)
  09/08/2020                 ORDER: Plaintiff's request 32 that the Court certify interlocutory appeal of its August 16,
                             2019 order denying Plaintiff's request for a hearing and preliminary injunctive relief is
                             DENIED. Ordered by Judge LaShann DeArcy Hall on 9/8/2020. (Williams, Erica)
                             (Entered: 09/08/2020)
  09/08/2020                 ORDER: The parties' letter motions for a pre-motion conference 12 14 16 17 19 are
                             DENIED. The parties shall brief Defendants' motion to dismiss in accordance with this
                             Court's Individual Practices. Defendants shall serve Plaintiff with a motion to dismiss by
                                                                                                                      EXHIBIT 46
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                             September 29, 2020. Plaintiff shall serve Defendant with opposition papers by October 20,
                             2020. Defendant shall serve Plaintiff with one consolidated reply, if any, and file the fully
                             briefed motion by October 27, 2020. As a courtesy, unless objected to by the parties, the
                             Court asks that the parties file the motion only once it is fully briefed. Defendant shall
                             provide the Court with a courtesy copy of the filed, stamped, fully briefed motion, within
                             two business days of filing. Memoranda of law and courtesy copies shall comply with this
                             Court's Individual Practices. Ordered by Judge LaShann DeArcy Hall on 9/8/2020.
                             (Williams, Erica) (Entered: 09/08/2020)
  09/24/2020           33 NOTICE of Appearance by Michael A. Berg on behalf of Rolando Acosta, Ernest Callazo,
                          Janet DiFiore, Alan Friedberg, Lawrence Marks, Alan Scheinkman (aty to be noticed)
                          (Berg, Michael) (Entered: 09/24/2020)
  09/24/2020           34 MOTION for Extension of Time to File Answer or Motion to Dismiss by Rolando Acosta,
                          Ernest Callazo, Janet DiFiore, Jorge Dopico, Alan Friedberg, Jonathan Lippman, Lawrence
                          Marks, Alan Scheinkman, Peter Tom. (Berg, Michael) (Entered: 09/24/2020)
  09/28/2020                 ORDER: Defendants' motion 34 for extension of time to file is GRANTED. Defendants
                             shall serve Plaintiff with their motions to dismiss by October 20, 2020. Plaintiff shall serve
                             Defendants with opposition papers by November 10, 2020. Defendants shall serve Plaintiff
                             with their consolidated replies, if any, and file the fully briefed motions by November 17,
                             2020. State Defendants, as defined in Defendants' September 24, 2020 request, are granted
                             leave to file a separate moving and reply brief. As a courtesy, unless objected to by the
                             parties, the Court asks that the parties file the motions only once they are fully briefed.
                             Defendants shall provide the Court with a courtesy copy of the filed, stamped, fully briefed
                             motions, within two business days of filing. Memoranda of law and courtesy copies shall
                             comply with this Court's Individual Practices. Ordered by Judge LaShann DeArcy Hall on
                             9/28/2020. (Williams, Erica) (Entered: 09/28/2020)
  10/08/2020           35 Letter dated 10/7/2020 from Amy R. Gurvey to Judge LaShann DeArcy Hall, informing
                          the Court that "Plaintiffs application to amend her complaintfiled in June, 2020 seeking
                          mandamus relief against the NY Court of Claims Adm. Judge Hon. Richard E. Sise in NY
                          Claim #(s) 128261/134439 has not been adjudicated." Ms. Gurvey further states that "The
                          State of NY and four NY agencies owe Plaintiff strict liability patent taking and
                          infringement damages retroactive to 2011, because NY Court of Claims #
                          (s)l28261(changed to 134439) was filed in 2017." Plaintiff also seeks Monell damages and
                          restates her application seeking ECF filing privileges. "Plaintiff is a guardian for her
                          mother, age 93, in Florida, and there is litigation in this matter. It is almostimpossible for
                          Plaintiff to hand-deliver papers to this Court; and two sets of papers including Plaintiffs
                          motion to file an amended complaint have not been adjudicated. Plaintiff also has an ADA
                          disability and is a pro se litigant, entitled to reasonable concessions and accommodations
                          from the Court." (Galeano, Sonia) (Entered: 10/09/2020)
  10/09/2020           36 NOTICE of Appearance by Michael A. Berg on behalf of Rolando Acosta, Ernest Callazo,
                          Janet DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan
                          Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom (aty to be noticed) (Berg,
                          Michael) (Entered: 10/09/2020)
  10/09/2020           37 Letter by Rolando Acosta, Ernest Callazo, Janet DiFiore, Jorge Dopico, Alan Friedberg,
                          Elizabeth A. Garry, Luis Gonzalez, Jonathan Lippman, Lawrence Marks, Alan
                          Scheinkman, Peter Tom (Berg, Michael) (Entered: 10/09/2020)
  10/09/2020           38 Letter opposing motion to amend complaint by Hinshaw & Culberston, Richard Supple
                          (Feder, Nicole) (Entered: 10/09/2020)
  10/12/2020           39 REPLY re 38 Letter filed by Amy R. Gurvey. (Ramesar, Thameera) (Entered: 10/14/2020)

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  11/09/2020           40 Letter dated November 6, 2020 from Amy R. Gurvey to Judge DeArcy Hall opposing
                          defendant motion's to dismiss. (Ramesar, Thameera) (Entered: 11/09/2020)
  11/10/2020           41 Letter Responding to Plaintiff's Letter, ECF 40 by Rolando Acosta, Ernest Callazo, Janet
                          DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan
                          Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom (Berg, Michael) (Entered:
                          11/10/2020)
  11/10/2020                 ORDER: Plaintiff's letter motion for extension of time 40 is GRANTED. Plaintiff shall
                             serve Defendants with opposition papers by November 24, 2020. Defendants shall serve
                             Plaintiff with a reply, if any, and file the fully briefed motions by December 8, 2020. No
                             further extensions of time shall be granted. The Clerk of Court is respectfully directed to
                             mail a copy of this order to the pro se litigant. Ordered by Judge LaShann DeArcy Hall on
                             11/10/2020. (Williams, Erica) (Entered: 11/10/2020)
  11/24/2020           42 MOTION to Amend/Correct/Supplement 1 Complaint by Amy R. Gurvey. (Ramesar,
                          Thameera) (Entered: 11/25/2020)
  11/30/2020           43 Letter re Service and Filing of Motion Papers by Rolando Acosta, Ernest Callazo, Janet
                          DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan
                          Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom (Berg, Michael) (Entered:
                          11/30/2020)
  12/02/2020           44 REPLY in Opposition re 43 Letter filed by Amy R. Gurvey. (Ramesar, Thameera)
                          (Entered: 12/02/2020)
  12/02/2020           45 Letter opposing request to amend complaint by Hinshaw & Culberston (Feder, Nicole)
                          (Entered: 12/02/2020)
  12/08/2020           46 MOTION to Dismiss for Failure to State a Claim , MOTION to Dismiss for Lack of
                          Jurisdiction by Rolando Acosta, Ernest Callazo, Janet DiFiore, Jorge Dopico, Alan
                          Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan Lippman, Lawrence Marks, Alan
                          Scheinkman, Peter Tom. (Berg, Michael) (Entered: 12/08/2020)
  12/08/2020           47 MEMORANDUM in Support re 46 MOTION to Dismiss for Failure to State a Claim
                          MOTION to Dismiss for Lack of Jurisdiction filed by Rolando Acosta, Ernest Callazo,
                          Janet DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan
                          Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom. (Berg, Michael) (Entered:
                          12/08/2020)
  12/08/2020           48 AFFIDAVIT/DECLARATION in Support re 46 MOTION to Dismiss for Failure to State a
                          Claim MOTION to Dismiss for Lack of Jurisdiction of Ernest Collazo filed by Rolando
                          Acosta, Ernest Callazo, Janet DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A. Garry,
                          Luis Gonzalez, Jonathan Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom. (Berg,
                          Michael) (Entered: 12/08/2020)
  12/08/2020           49 AFFIDAVIT/DECLARATION in Support re 46 MOTION to Dismiss for Failure to State a
                          Claim MOTION to Dismiss for Lack of Jurisdiction of Michael A. Berg filed by Rolando
                          Acosta, Ernest Callazo, Janet DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A. Garry,
                          Luis Gonzalez, Jonathan Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom.
                          (Attachments: # 1 Pl.'s NY Bar Status, # 2 Pl.'s CA Bar Status, # 3 Compl.,, Weissbrod v.
                          Gonzalez, # 4 Compl., Weissbrod v. NY, # 5 Merits Decision, Weissbrod v. NY, # 6 Filing
                          Injunctions, Weissbrod v. NY, # 7 Motion, Gurvey v. Acosta, # 8 Petition, Gurvey v. Garry,
                          # 9 Order, Gurvey v. Garry, # 10 Compl., Weissbrod Gurvey v. Lippman, # 11 Order,
                          Weissbrod Gurvey v. Lippman, # 12 Letter, 1st Dep't to R. Supple) (Berg, Michael)
                          (Entered: 12/08/2020)

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  12/08/2020           50 NOTICE by Rolando Acosta, Ernest Callazo, Janet DiFiore, Jorge Dopico, Alan Friedberg,
                          Elizabeth A. Garry, Luis Gonzalez, Jonathan Lippman, Lawrence Marks, Alan
                          Scheinkman, Peter Tom re 46 MOTION to Dismiss for Failure to State a Claim MOTION
                          to Dismiss for Lack of Jurisdiction (Berg, Michael) (Entered: 12/08/2020)
  12/08/2020           51 REPLY in Support re 46 MOTION to Dismiss for Failure to State a Claim MOTION to
                          Dismiss for Lack of Jurisdiction filed by Rolando Acosta, Ernest Callazo, Janet DiFiore,
                          Jorge Dopico, Alan Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan Lippman,
                          Lawrence Marks, Alan Scheinkman, Peter Tom. (Attachments: # 1 Certificate of Service)
                          (Berg, Michael) (Entered: 12/08/2020)
  12/08/2020           52 MOTION for Permanent Injunction - Filing Injunction Against Plaintiff by Rolando
                          Acosta, Ernest Callazo, Janet DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A. Garry,
                          Luis Gonzalez, Jonathan Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom.
                          (Attachments: # 1 Certificate of Service) (Berg, Michael) (Entered: 12/08/2020)
  12/08/2020           53 MOTION to Dismiss by Hinshaw & Culberston. (Feder, Nicole) (Entered: 12/08/2020)
  12/08/2020           54 RESPONSE in Opposition re 53 MOTION to Dismiss filed by Richard Supple. (Feder,
                          Nicole) (Entered: 12/08/2020)
  12/08/2020           55 REPLY in Support filed by Richard Supple. (Attachments: # 1 Exhibit Exhibit M - Order
                          dated June 23, 2020, # 2 Exhibit Exhibit N - Letter dated November 25, 2018, # 3 Exhibit
                          Exhibit O - Notice of Motion to Dismiss, # 4 Reply Memorandum of Law) (Feder, Nicole)
                          (Entered: 12/08/2020)
  12/08/2020           56 MOTION to Dismiss by Hinshaw & Culberston, Richard Supple. (Attachments: # 1
                          Exhibit A - Complaint, # 2 Exhibit B - Decision dated May 14,2013, # 3 Exhibit C -
                          Gurvey's Complaint, # 4 Exhibit D - Decision dated August 25, 2016, # 5 Exhibit E -
                          Decision dated February 10, 2016, # 6 Exhibit F - Decision dated April 21, 2016, # 7
                          Exhibit G - Complaint, # 8 Exhibit H - Order to Show Cause, # 9 Exhibit I - Decision
                          dated June 5, 2018, # 10 Exhibit J - Decision dated February 11, 2019, # 11 Exhibit K -
                          Amended Complaint, # 12 Exhibit L - Letter dated April 24, 2015, # 13 Notice to Pro Se
                          Litigant, # 14 Memorandum of Law in Support) (Feder, Nicole) (Entered: 12/08/2020)
  12/24/2020           57 NOTICE of Order To Show Cause filed by Amy R. Gurvey (Attachments: # 1 Exhibit, # 2
                          Exhibit, # 3 Exhibit, # 4 Exhibit) (Ramesar, Thameera) (Entered: 12/28/2020)
  01/04/2021           58 Letter in Response to Unsigned Order to Show Cause by Rolando Acosta, Ernest Callazo,
                          Janet DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan
                          Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom (Berg, Michael) (Entered:
                          01/04/2021)
  01/05/2021           59 RESPONSE to Motion re 56 MOTION to Dismiss filed by Amy R. Gurvey. (Attachments:
                          # 1 Exhibits, # 2 Exhibits, # 3 Exhibits) (Ramesar, Thameera) (Additional attachment(s)
                          added on 1/7/2021: # 4 Exhibits, # 5 Exhibits) (Ramesar, Thameera). (Entered:
                          01/07/2021)
  01/08/2021           60 Letter by Rolando Acosta, Ernest Callazo, Janet DiFiore, Jorge Dopico, Alan Friedberg,
                          Elizabeth A. Garry, Luis Gonzalez, Jonathan Lippman, Lawrence Marks, Alan
                          Scheinkman, Peter Tom (Berg, Michael) (Entered: 01/08/2021)
  01/12/2021           61 REPLY to Response to Motion re 56 MOTION to Dismiss filed by Amy R. Gurvey.
                          (Ramesar, Thameera) (Entered: 01/12/2021)
  02/03/2021           62 Letter from Amy R. Gurvey regarding the above-captioned case. See attached. (Ramesar,
                          Thameera) (Entered: 02/10/2021)

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  04/07/2021           63 NOTICE of Change of address Once the filing has been made, you must login to
                          www.pacer.gov and update your account. (Feder, Nicole) (Entered: 04/07/2021)
  07/06/2021           64 Letter dated June 30, 2021 from Amy R. Gurvey to Judge LaShann DeArcy Hall, in
                          response to Defendants' oppositions to Plaintiff's motions seeking to enter default
                          judgment / summary judgment, submitting a notice of the New York Court of Appeals
                          dated June 29, 2021 and Plaintiff's pending Motion for Leave to Appeal Orders of the 2d
                          Dept. (Latka-Mucha, Wieslawa) (Entered: 07/09/2021)
  07/21/2021           65 Letter Response to Plaintiff's July 6, 2021 Letter by Rolando Acosta, Ernest Callazo, Jorge
                          Dopico, Alan Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan Lippman, Lawrence
                          Marks, Alan Scheinkman, Peter Tom, Gerald Whelan (Attachments: # 1 Letter to NYS
                          Court of Appeals, # 2 Certificate of Service) (Berg, Michael) (Attachment 1 identified as
                          malformed and replaced on 8/31/2021) (Lee, Tiffeny). (Entered: 07/21/2021)
  07/21/2021           66 Letter from Amy R. Gurvey to Judge DeArcy Hall dated 7/9/2021 re: "Plaintiff lost her
                          mother and is involved post mortem contested litigation in the State of Florida in two
                          courts." (Herrera, Isaiah) (Entered: 07/26/2021)
  08/06/2021           67 Letter from Amy R. Gurvey dated August 2, 2021, challenging the constitutionality of
                          Judiciary Law ("JL") Section 90 and the new JL Part 1240 Amended Statutes on ground
                          that they allow for the entry of unlawful sua sponte orders to deprive respondents of
                          constitutional access to the courts of New York in fabricated and frivolous attorney
                          disciplinary proceedings. DC Court of Appeals v. Feldman, 460 US 462 at 480-484 (1983)
                          (Brennan, J.) (Brown, Marc) (Entered: 08/10/2021)
  08/16/2021           68 NOTICE / "Plaintiff's Rule 20 Motion To Join Hon(s). Letitia James & Pamela McDevitt
                          Under Ex Parte Young, 209 US 123 (1908) To Accept Orders For Injunctive Relief [FRCP
                          Rule 20]" filed by pro se Amy R. Gurvey, dated "August 11, 2020." W/Attachments.
                          (Latka-Mucha, Wieslawa) (Entered: 08/18/2021)
  08/20/2021           69 Letter re Plaintiff's Filing dated Aug. 16, 2021 by Rolando Acosta, Ernest Callazo, Janet
                          DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan
                          Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom (Berg, Michael) (Entered:
                          08/20/2021)
  09/30/2021           70 ORDER: As set forth in the attached Memorandum and Order, Plaintiff's amended
                          complaint 10 is DISMISSED in its entirety sua sponte. The State Defendants' motion 46 to
                          dismiss the amended complaint is DISMISSED as MOOT. The Hinshaw Defendants'
                          motions 53 56 to dismiss and for a filing injunction is GRANTED in part. The State
                          Defendants' motion 52 for a permanent filing injunction is GRANTED. Plaintiff is barred
                          from filing any civil action in the Eastern District of New York against the State
                          Defendants or the Hinshaw Defendants arising out of the events alleged in the amended
                          complaint, without prior leave of the Court. Plaintiff's motion 42 to file a second amended
                          complaint is DENIED. Moreover, Plaintiff's motion 68 to join Hon(s). Letitia James and
                          Pamela McDevitt is denied. The Clerk of Court is respectfully directed to mail a copy of
                          this Memorandum and Order to the pro se litigant and close this case. Ordered by Judge
                          LaShann DeArcy Hall on 9/30/2021. (Williams, Erica) (Entered: 09/30/2021)
  09/30/2021           71 CLERK'S JUDGMENT, that Plaintiff's amended complaint is dismissed in its entirety sua
                          sponte; that the State Defendants' motion to dismiss the amended complaint is dismissed as
                          moot; that the Hinshaw Defendants' motions to dismiss and for a filing injunction is
                          granted in part; that the State Defendants' motion for a permanent filing injunction is
                          granted; that Plaintiff is barred from filing any civil action in the Eastern District of New
                          York against the State Defendants or the Hinshaw Defendants arising out of the events
                          alleged in the amended complaint, without prior leave of the Court; and that Plaintiff's
                          motion to file a second amended complaint is denied. Signed by Douglas C. Palmer, Clerk
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                             of Court By J. Poveda, DeputyIDClerk
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                                                                  on 9/30/2021. (Layne, Monique) (Entered:
                             10/01/2021)
  10/15/2021           72 MOTION for Reconsideration re 71 Clerk's Judgment,,, (recv'd. on 10/19/2021) filed by
                          Amy R. Gurvey. (Layne, Monique) (Entered: 10/19/2021)
  10/20/2021                 ORDER: Defendants are directed to submit a response to Plaintiff's motion 72 for
                             reconsideration, not to exceed ten (10) pages, on or before November 3, 2021. Plaintiff
                             shall not be permitted to file a reply brief. Ordered by Judge LaShann DeArcy Hall on
                             10/20/2021. (Williams, Erica) (Entered: 10/20/2021)
  10/29/2021           73 MEMORANDUM in Opposition to Plaintiff's Motion for Reconsideration filed by
                          Rolando Acosta, Ernest Callazo, Janet DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A.
                          Garry, Luis Gonzalez, Jonathan Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom.
                          (Attachments: # 1 Certificate of Service) (Berg, Michael) (Entered: 10/29/2021)
  11/03/2021           74 MEMORANDUM in Opposition re 72 MOTION for Reconsideration re 71 Clerk's
                          Judgment,,, (recv'd. on 10/19/2021) filed filed by Hinshaw & Culberston, Richard Supple.
                          (Feder, Nicole) (Entered: 11/03/2021)
  12/16/2021                 ORDER: By memorandum and order 70 dated September 30, 2021 (the "Dismissal
                             Order"), the Court dismissed Plaintiffs amended complaint in its entirety sua sponte. On
                             October 15, 2021, Plaintiff filed a motion 72 requesting that the Court reconsider the
                             Dismissal Order pursuant to Federal Rule of Civil Procedure 59(e). Plaintiff has failed to
                             make the substantial showing necessary to warrant reconsideration. Plaintiff has not
                             demonstrated "an intervening change of controlling law, the availability of new evidence
                             not previously available, or the need to correct clear error or prevent manifest injustice."
                             Virgin Atl. Airways, Ltd. v. Nat'l Mediation Bd., 956 F.2d 1245, 1255 (2d Cir. 1992).
                             Rather, much of Plaintiff's motion attempts to reframe theories already considered and
                             rejected by the Court. See Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52
                             (2d Cir. 2012) (reconsideration is not a vehicle for "relitigating old issues, presenting the
                             case under new theories, securing a rehearing on the merits, or otherwise taking a second
                             bite at the apple."). Accordingly, Plaintiff's motion 72 is DENIED. Ordered by Judge
                             LaShann DeArcy Hall on 12/16/2021. (Williams, Erica) (Entered: 12/16/2021)
  12/27/2021           75 MOTION to Vacate 71 Clerk's Judgment And Replead Amended Complaint Post
                          Judgement W/Exhs. and Certificate of Service by Amy R. Gurvey. (Layne, Monique)
                          (Entered: 12/28/2021)
  12/29/2021           76 RESPONSE in Opposition re 75 MOTION to Vacate 71 Clerk's Judgment,,, W/Exhs. and
                          Certificate of Service filed by Rolando Acosta, Ernest Callazo, Janet DiFiore, Jorge
                          Dopico, Alan Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan Lippman, Lawrence
                          Marks, Alan Scheinkman, Peter Tom. (Berg, Michael) (Entered: 12/29/2021)
  01/11/2022                 ORDER: Plaintiff's motion 75 , brought pursuant to Federal Rules of Civil Procedure 59
                             and 60, fails to make the substantial showing necessary to warrant reconsideration or
                             vacatur. Specifically, Plaintiff has not demonstrated "an intervening change of controlling
                             law, the availability of new evidence not previously available, or the need to correct clear
                             error or prevent manifest injustice." Virgin Atl. Airways, Ltd. v. Nat'l Mediation Bd., 956
                             F.2d 1245, 1255 (2d Cir. 1992). Further, Plaintiff has not demonstrated that extraordinary
                             circumstances warrant relief under Federal Rule of Civil Procedure 60(b). Stevens v.
                             Miller, 676 F.3d 62, 67 (2d Cir. 2012). Rather, Plaintiff's motion attempts to reframe
                             theories already considered and rejected by the Court. See Analytical Surveys, Inc. v.
                             Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012) (reconsideration is not a vehicle for
                             "relitigating old issues, presenting the case under new theories, securing a rehearing on the
                             merits, or otherwise taking a second bite at the apple."); see also Maldonado v. Loc. 803
                             I.B. of T. Hlth. & Welfare Fund, 490 F. App'x 405, 406 (2d Cir. 2013) (A Rule 60(b)
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                             motion is properly denied where it seeks only to relitigate issues already decided.)
                             Accordingly, Plaintiff's motion 75 is DENIED. Ordered by Judge LaShann DeArcy Hall on
                             1/11/2022. (Williams, Erica) (Entered: 01/11/2022)
  03/09/2022           77 MOTION to Amend/Correct/Supplement 10 Amended Complaint / "Notice of Motion to
                          Replead Post Judgment Amended Complaint and [MOTION to] Vacate Orders Pursuant to
                          FRCP Rules 15, 60(b)(1)-(6)" filed by pro se Amy R. Gurvey, dated 3/6/2022.
                          W/Attachments. (Latka-Mucha, Wieslawa) Modified. (Entered: 03/10/2022)
  03/11/2022           78 MEMORANDUM in Opposition to Plaintiff's Third Motion for Reconsideration filed by
                          Rolando Acosta, Ernest Callazo, Janet DiFiore, Jorge Dopico, Alan Friedberg, Elizabeth A.
                          Garry, Luis Gonzalez, Jonathan Lippman, Lawrence Marks, Alan Scheinkman, Peter Tom.
                          (Berg, Michael) (Entered: 03/11/2022)
  03/17/2022           79 REPLY To Motion To Replead Post Judgment Amended Complaint And Vacate Orders
                          Pursuant To FRCP Rules 15 60(b)(1)-(6), filed by petitioner Amy R. Gurvey. (Layne,
                          Monique) (Entered: 03/17/2022)
  04/08/2022           80 Letter MOTION to Vacate (Seeking permission to vacate orders of the Appellate Division
                          First Dept. entered December 4, 2012 and April 21, 2016), filed by Amy R. Gurvey.
                          (Layne, Monique) (Entered: 04/08/2022)
  10/02/2022           81 Letter MOTION for Discovery (Seeking discovery or pre-trial conferenc on Pltff's
                          repleaded amennded complaint post judgment) (Recv'd for filing 10/2/2022)filed by Amy
                          R. Gurvey. (ML) (Entered: 10/07/2022)
  10/14/2022                 ORDER: In direct contravention of this Court's memorandum and order 70 dated
                             September 30, 2021 (Dismissal Order), Plaintiff filed three new motions 77 , 80 and 81
                             seeking to relitigate its claims that have already been resolved. This Court made clear in its
                             Dismissal Order that Plaintiff's amended complaint was dismissed in its entirety sua sponte
                             and denied Plaintiff's motion to file a second amended complaint. This Court further
                             ordered that Plaintiff is barred from filing any civil action in the Eastern District of New
                             York against the State and Hinshaw Defendants arising out of the events alleged in the
                             amended complaint without prior leave of the Court. Plaintiff's motions 77 , 80 and 81 are
                             DENIED. Plaintiff may not attempt to circumvent this Courts prior Orders and relitigate its
                             claims in a case that was deemed close. Ordered by Judge LaShann DeArcy Hall on
                             10/14/2022. (EW) (Entered: 10/14/2022)
  11/15/2022           82 Letter MOTION for Hearing re 10 Amended Complaint (Request for Conference on
                          Amended Complaint Post Judgment Based on Issuance of US Patent 11403566 August 2,
                          2022) by Amy R. Gurvey. (ML) (Entered: 11/17/2022)
  11/16/2022           84 Letter dtd. 11/9/2022 from Amy R. Gurvey to Judge DeArcy Hall, entitled Second Request
                          for Conference on Amended Complaint Post Judgment Based on Issuance of U.S. Patent
                          11403566 on August 2, 2022. (w/Cert. of Service). Address previously updated. (ML)
                          (Entered: 11/18/2022)
  11/18/2022           83 RESPONSE to Motion re 82 Letter MOTION for Hearing re 10 Amended Complaint
                          (Request for Conference on Amended Complaint Post Judgment Based on Issuance of US
                          Patent 11403566 August 2, 2022) filed by Rolando Acosta, Ernest Callazo, Janet DiFiore,
                          Jorge Dopico, Alan Friedberg, Elizabeth A. Garry, Luis Gonzalez, Jonathan Lippman,
                          Lawrence Marks, Alan Scheinkman, Peter Tom. (Berg, Michael) (Entered: 11/18/2022)
  11/30/2022           85 Mail Returned as Undeliverable. Judge LaShann DeArcy Hall's Electronic Order issued
                          on October 14, 2022 sent to Amy R. Gurvey at 315 Highland Avenue, Upper Montclair, NJ
                          07043, returned on 11/30/2022 with postal notation "Return To Sender. Not Deliverable As
                          Addressed. Unable To Forward." (WL) (Entered: 12/01/2022)
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  12/07/2022                 ORDER: In direct contravention of the Court's memorandum and order 70 dated
                             September 30, 2021, Plaintiff filed a new motion 82 seeking to relitigate its claims that
                             have already been resolved. Plaintiff's motion 82 is DENIED. Plaintiff is barred from filing
                             any document under this case number, 19-cv-4739. Ordered by Judge LaShann DeArcy
                             Hall on 12/7/2022. (EW) (Entered: 12/07/2022)



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                                                 AMYR. GURVEY, US PATENTEE,

                                                                           Appellant-Petitioner Pro Se,
                                                              V.

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                ,._      .,    2:::>E       CLEAR CHANNEL COMMUNICATIONS, INC.
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                                                   315 Highland Avenue
                                                 Upper Montclair NJ 07043
                                                      amyg@live-fi..com
                                                      PH: (917)733-9981




                      Hinshaw & Culberson Greenberg & Traurig          Furman Kornfeld&Brennan
                      800 Third Avenue    54 State Street              61 Broadway 26th FL
                      New York, NY 10022  Albany, NY 12207             New York, NY 10006




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           This motion seeks a writ of mandamus to vacate orders entered by
     the SDNY and vacate the Second Circuit mandate entered in Case No.
     20-1986 (2d Cir.) based on startling new evidence, i.e., that since 2013,
     Magistrate Henry Pitman was engaging in ex parte communications
     with defense attorney for the Cowan Liebowitz & Latman law firm
     defendants, Richard Supple, Esq., of Hinshaw & Culbertson ("H&C"),
     and allowing Supple, a concealed executive member of the attorney
     grievance panel in the First Dept. ("AGC") to breach Petitioner's
     attorney client privilege owed by the Cowan defendants to the court.
     Von Bulow v. Von Bulow, 811 F. 2d 136 (2d Cir 1987); Spalding Sports
     Worldwide v. Wilson, 203 F. 3d800 (Fed. Cir. 2000). Then Magistrate
     unilaterally contacted the SDNY Circuit Executive Office to remove
     Petitioner's name from the roster of attorneys without notice or hearing
     in blatant violation of due process of law. In re Gouiran, 58 F. 3d (2d
     Cir 1995) (citing Selling v. Radford, 243 US 46 (1917). To date
     Petitioners has had no hearing and has been deprived of all
     constitutional access to the SDNY to protect her US patents against
     infringers and willful infringers residing in this district.
           Supple at the same time illegally entered and inserted documents
     related to his ex parte communications with Magistrate ex parte into
     the Cowan defendants' state ethics complaint files and Petitioner's
     confidential state bar files by misusing his concealed state post, that
     were considered ex parte by the First Dept. and conflicted out the entire
     court. Supple submitted ex parte documents both to the First Dept. and
     his AGC immediate supervisor, former justice Luis Gonzalez, while he
     was the Petitioner's adversary unlawfully representing the Cowan
     defendants in this lawsuit. The First Dept. AGC has disciplinary
     jurisdiction over the Cowan defendants and Supple, but not over
     Petitioner.
          Petitioner first learned of the removal of her name from the roster
     of SDNY attorneys in March 2022 and since has moved before the
     SDNY Grievance Panel for a hearing to vacate its sua sponte order
     (Exhibit 1). Petitioner, a member of the State Bar of California was
     admitted to the SDNY at about the same time she was admitted to the



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Central District of California. While disqualification of Magistrate from
the SDNY lawsuit was timely sought in 2014, Magistrate left the case
and the court. However, Judge Schofield failed to vacate Magistrate's
orders tainted with bias and also disqualify Supple, who was required
to be disqualified under Judiciary Law Part 1240.6d no later than
October 1, 2016. Supple's dual concealed position as an executive aide
on the First Dept. attorney grievance committee ("AGC") when the
ethics complaints were filed seeking orders to compel return of the
complete USPTO patent files related to Petitioner's representation,
precluded Supple and his former Hinshaw & Culbertson, from ever
accepting the Cowan defense firm's retainer in this lawsuit or
continuing in that retainer. Judiciary Law ("JL") Parts 1240.6d,
1240.18.
      Judge Schofield has since deprived Petitioner of complete
constitutional access to the court to protect her US patents against
infringers in this district, to vacate orders based on Magistrate's bias,
get patent discovery and file an amended complaint post patent
issuance in defiance of mandates of the US Supreme Court, Second
Circuit law and Federal Circuit law. SCA Hygiene Products Aktiebolag
v. First Quality Baby Products, 137 S. CT. 954 (2017: Metzler
Investments GMBH v. Chipotle Mexican Grill, 970 F. 3d 133 (2d Cir
2020); Anza Technology v. Mushkin, 934 F. 3d 1359 (Fed. Cir. 2019).


      This is a serious motion requiring the special attention of this
appellate court. Petitioner's case is the only case at the time in this
district denied relief against patent practitioners and their infringer
clients for significant cause and willful acts. See, e.g., Protostorm v.
Antonelli, 834 F. Supp. 2d 141 (EDNY 2011); Cold Spring Harbor
Laboratories v. Ropes & Gray, 762 F. Supp. 2d 543 (EDNY 2011). It is
being filed by a PRO SE litigant and US patentee who still needs to
enter this court to protect her patents against resident infringers in the
district. Aside from the current willful infringer defendant Live Nation,
Inc. and other mega corporate infringers such as Apple, Inc., MLB and
the NBA, seven agencies of the State of NY have taken Petitioner's


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patents without payment of just compensation in violation of the Fifth
Amendment. They include the Port Authority of NY and NJ, NYS
Thruway, EZ Pass and MetroCard and each entity when contacted
refers to the orders of the Magistrate, that were required to be vacated
and immediately so with an order disqualifying Magistrate from further
presiding.
      The result of Magistrate's continuing improper ex parte
communications with Supple coupled with unconstitutional provisions
and ignorance of preempting federal patent statutes being enforced
against Petitioner by First Dept. AGC administrative and judicial
officers in violation of Ex parte Young, 209 US 123 (1908), was
Petitioner being permanently denied all constitutional access to the
SDNY to protect her US patents, seek injunctive relief and get paid by
willful private corporate infringers including state and NYC agencies.
Erickson v. Pardus, 551 US 89 (2007); 37 CFR 2.10, 2.19, 10,66, 11.116,
1.36, 1.324; 35 USC §§271, 284, 285, 286, 256. The prejudice, ignorance
of preempting patent law and unconstitutional violations continue.
      Mandamus orders are also properly granted against State officers
under Ex parte Young, 209 US 123 (1908) who continue to defy their
administrative duties in nonfinal state mandamus actions under
preempting federal patent law and the Supremacy Clause and continue
to enforce unconstitutional protocols against Petitioner. Guruey v.
Garry, et al., 19-cv-4 739 (EDNY). State officers are still withholding
federally mandated orders to compel Petitioner's withheld patent and
USPTO files from the Cowan defendants, and answers from the Cowan
defendants to Petitioner's grievances, and from attorney grievance
committee officers who conspired with Supple, a concealed aide to the
AGC to corrupt the state files ex parte.
      There is no dispute that in 2003, the Cowan defendants
abandoned Petitioner's USPTO patent retainer based on an admitted
conflict of interest, defied preempting USPTO mandates related to
conflicts of interest in violation of the Supremacy Clause, never got
consent to withdraw from the USPTO, and allowed four valuable patent
applications to expire. These acts in totality lost Petitioner valuable


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 priority dates and years of patent protection against other defendant
 clients Live Nation, Inc., Phish/PhishLIVE, and Instant Live Concerts,
 LLP and other clients including MLB and Legend Films of San Diego.
       The state proceedings remain non final based on Supple's
 continuing ex parte communications with Justice Luis Gonzalez and
 other judicial members of the First Dept. That Supple entered and
 inserted unserved documents into Petitioner's confidential bar files
 from the Third Dept. without a warrant was found in an Appellate
 Division order entered April 21, 2016. The First Dept. admitted
 consideration of these ex parte insertions by Supple while he was
 Petitioner's adversary in the instant lawsuit, conflicting out the entire
 court.
      Yet the district court, when immediately petitioned to disqualify
 Supple under JL Part 1240.6d, 1240.18, defied its duty under the state
 law and did not disqualify Supple from the Cowan firm's
 representation. Instead, Judge Schofield entertained summary
 judgment motions in February 2017 when a significant number of
 genuine issues of fact existed because patent discovery had been
 unlawfully stayed and then denied without justification since 2006.
        This case falls within the exceptions iterated by the US Supreme
 Court in Middlesex County Ethics Committee v. Garden State Bar Assn,
 warranting mandamus relief and intervention also into the state
 mandamus cases to compel production of the complete state files and
 ethics files against the Cowan defendants. The case involves bad faith
 and conflicts of interest harbored by state officers. Middlesex County,
 supra, 457 US 423 (1982); Gurvey v. Garry, et al., 19-cv-4 739 (EDNY)'
 37 CFR 2.10, 2.19, 10,66, 11.116, 1.36, 1.324; 35 USC §§271, 284, 285,
 286, 256; Sprint v. Jacobs, 571 US 69 (2013)(Ginsburg, J.); Virginia
 Office of Protection and Advocacy v. Stewart, 563 US 24 7 (201 l)(Scalia
 J.). See, also, Gurvey v. Acosta, 132-17 (transferred sua sponte based on
 former First Dept. judge Hon. Luis Gonzalez's ongoing ex parte
 communications with his aide Supple between 2006 and 2018. 132-17
 (1 st Dept.) (now 01366-2018 (2d Dept.))




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       Since 2004-5, Petitioner filed otherwise proper ethics complaints
 against the Cowan Liebowitz & Latman patent attorneys and managing
 partners before the First Dept. Petitioner sought state orders to compel
 the complete USPTO Files from the First Dept. AGC which has
 disciplinary jurisdiction over the Cowan defendants and Supple but not
 over Petitioner. Petitioner sought to compel production of her complete
 USPTO files that related to Cowan defendants' defective patent filing
 on behalf of Petitioner and the abandonment of those applications and
 formal applications at USPTO. The USPTO never granted unilateral
 withdrawal to the Cowan defendants not in 2003 or in 2007 for defiance
 of federal practitioner mandates, binding on the state.
       Petitioner continued to be denied her patent files, however, her
 complete state files to investigate whether she was unlawfully
 retaliated in violation of the First Amendment for filing ethics
 complaints against NYC patent practitioners, answers from Cowan
 defendants to the ethics complaints and subpoenas against the USPTO
 to produce the complete USPTO files on claims filed in this action.
       Article 78 relief was first sought in 2011 before the Supreme Court
 of NY, NY County to compel the files under preempting federal law.
 The case was sua sponte transferred to the First Dept. because the
 matter involved attorney ethics violations, and was then sua sponte
 dismissed by the First Dept. in 2013 without notice or any opportunity
 to be heard. Curvey v. State of NY, Supreme Court of NY, NY County
 110774-2011. During this time, Supple was engaging in ex parte
 communications with Justice Gonzalez, his supervisor at the First Dept.
 AGC, and got a six-month sanction order signed ex parte in Chambers
 based on "collateral estoppel" and entered into Petitioner's otherwise
 stellar file. In fact, Petitioner was never sanctioned as an attorney in
 NYS or any state, precluding a collateral estoppel order by factual and
 legal impossibility. Petitioner was deprived of her due process right to
 cross-examine adverse state witnesses serving on the AGC by the
 continued withholding of the files including those inserted ex parte by
 Supple related to his ex parte communications with Magistrate Pitman.
 Orders that adversely implicate the constitutional rights of litigants



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 especially pro se litigants can never be entered sua sponte. Link v.
 Wabash R. R. Co., 370 US 626 (1962). Another document inserted by
 Supple purportedly prepared signed and dated in 2008 has the
 photocopied signature of 2002 AGC Chief counsel Paul Curran
 embossed when Curran was dead in 2007.
       In addition, the USPTO never granted Cowan defendants
 unilateral withdrawal in response to defendants' two unsuccessful
 attempts in 2003 and 2007 for defying preempting federal mandates
 and withholding the patent files that are federally mandated. 37 CFR
 2.10, 2.19, 10.66, 11.116. To date, Petitioner had been deprived of due
 process and all relevant files in the state and both essential patent
 discovery before the SDNY and a post-patent issuance amended
 complaint in contumacious defiance of Federal Circuit law. The issued
 patents were anticipated and delayed based on the Cowan defendants'
 intentional torts, conflicts of interest and fraudulent breach of fiduciary
·duty before the USPTO. Anza Technology v. Mushkin, 934 F. 3d 1359
 (Fed. Cir. 2019); NeuroRepair v. Nath Law Group, 781 F. 3d 1340 (Fed.
 Cir. 2015).
        The Second Circuit had the power and duty to grant injunctive
. relief to disqualify Magistrate and vacate Magistrate's orders at an
  earlier time in aide of its appellate jurisdiction. In 2017, the Court
  found it had jurisdiction and denied transfer to the Federal Circuit.
  The court then had the additional duty to vacate the orders of Judge
  Schofield denying disqualification of Supple, and Petitioner's amended
  complaint. NY's Judiciary Law ("JL") Section 90; JL Part 240. 6d; In re
  Princo, 4 78 F. 3d 1345 (2007); Metzler Investments GMBH v. Chipotle
  Mexican Grill, 970 F. 3d 133 (2d Cir. 2020)(citing Grant Williams v.
  Citicorp., 659 F. 3d 208 (2d Cir 2011) The Second Circuit's failure to
  act immediately, issue essential mandamus orders in aide of its
  assumed jurisdiction, and follow its own precedents and precedent of
  the Federal Circuit to prevent manifest injustice via unlawful
  dissemination of confidential and privileged communications against
  Petitioner's patent interests, is contended repugnant. Von Bulow v. Von
  Bulow, 811 F. 2d 136 (2d Cir 1987); Spalding Sports Worldwide v.



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Wilson, 203 F. 3d800 (Fed. Cir. 2000). The Second Circuit must vacate
its orders under Rule 60(b)(l)-(6) based on Magistrate's clearly
improper judicial activities. Metzler Investments GMBH v. Chipotle
Mexican Grill, 970 F. 3d 133 (2d Cir 2020)(citing Grant Williams v.
Citicorp., 659 F. 3d 208 (2d Cir 2011).
      Petitioner had no notice until March 2022 that her name was
removed sua sponte from the roster of SDNY attorneys by the Circuit
Executive. Petitioner was afforded no opportunity to be heard.
Petitioner was not notified by the NY Legal Assistance Group where
Petitioner sought counsel that knew and knew that Petitioner did not.
Instead, NYLAG attorneys told Petitioner that from what she was doing
with her patents, she did not want to be a practicing attorney in NYS.
That statement is not the NY LAG's business; but it does demonstrate
that SDNY officers are being instructed by the powers that be to breach
administrative duties owed to PRO SE litigants and discriminate
against Pro se litigants in favor of clients with lawyers. Per this US
Supreme Court, these acts are not permitted. Erickson v. Pardus, 551
us 89 (2007). 1
      That the SDNY executive's office has been involved since 2013,
and possibly since 2010 when Petitioner's essential motions to vacate
the 2009 Rule 12(b) dismissal orders and re plead an amended
complaint post judgment based on her delayed and now issued US
patents, makes the Magistrate and Judge Schofield's collusive acts of
judicial misconduct particularly disturbing, frivolous, malicious, and


1In this case, the SDNY also granted unilateral withdrawal in 2010 to
Petitioner's previous lawyers, Squitieri & Fearon, LLP. An attorney at
Franzblau and Dratch tried to file a replacement notice of appearance
in 2015 before Magistrate Pitman and was railroaded out. The
attorneys told Petitioner the retainer would be futile because the case
was rigged. Petitioner heard the same thing from Squitieri & Fearon in
2009 when Rule 12(b) motions to dismiss were granted based on clear
jurisdictional fraud by the Live Nation defendants.



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 proper ground for serious investigation. Metzler Investments GMBH v.
 Chipotle Mexican Grill, 970 F. 3d 133 (2d Cir 2020)(citing Grant
 Williams v. Citicorp., 659 F. 3d 208 (2d Cir 2011).
       Emails discovered in 2010 after the first appeal was pending
 before the Second Circuit, say that Cowan lawyers were "following the
 clients' instructions". Petitioner's proprietary technology was copied into
 the firm's database using night staff when the Cowan defendants
 offered Petitioner an illegal retainer to invest in her patent
 applications. Buechel v. Rhodes, 285 AD 2s5 274 (1 st Dept. 1999). When
 Petitioner rejected the offer, her patentable trade secrets, then copied
 without authorization, were inserted into a PCT application filed for
 Legend Films to create a patentable disclosure not subject to a §101
 rejection, with the associated unlawful omission of Petitioner's name as
 a co-inventor. This lost Petitioner $3mil of Legend stock when the
 company was sold.
       These facts demonstrate fraudulent declarations of inventorship
 were filed by Cowan defendants related to Petitioner's retainer that
 were per se discoverable. 37 CFR 1.36. FRCP Rule 37. Magistrate's
 2013 hearings while ex parte communications with Supple were at their
 zenith, were not recorded according to the SDNY transcript office.
         The Second Circuit did not hear strict liability infringement
 claims in the first appeal because these claims accrued only after the
 first anticipated US patents issued during the stay of appeal. Gurvey
 US Patent Nos. 7603321; D647910S (October 13, 2009, November 1,
 2011). These claims were required to be heard on remand via the
 amended complaint and Rule 60(b) motions filed. Metzler Investments
 GMBH v. Chipotle Mexican Grill, 970 F. 3d 133 (2d Cir 2020) (citing
 Grant Williams v. Citicorp., 659 F. 3d 208 (2d Cir. 2011). Once the
 motions were discovered as removed from the docket and were
 confirmed to have an April 22, 2010 date stamp, replacement motions
 were required to be granted for service. They were not in defiance of
 preempting Federal Circuit law.




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       What has been created is a situation where the case was in fact an
 arising under patent case since 2010, but the SDNY did its best through
 corruption and scandal to transform the case into a non-patent case
 that could be dismissed by the Second Circuit, with Second Circuit
 having jurisdiction to decide if it had mandamus powers to grant
 Petitioner the injunctive relief and infringement damages she was
 unconditionally owed. That injunctive relief can now be granted
 retroactively because violations of Petitioner's constitutional rights in
 defiance of federal patent law continue both in the SDNY, in the EDNY
 and in the state. Ex Parte Young, 209 US 123 (1908); 19cv4 739
 (EDNY).
       The fraudulent breach of fiduciary duty and USPTO conflict of
 interest claims against Cowan defendants were remanded by the
 Second Circuit in 2012 (462 Fed. Appx.26). Each has a six-year statute
 of limitation. As to nonjoinder, claims accrued when a US patent issued
 to Legend Films in 2007 with Petitioner's ideas inserted into the
 specification; and endured for 6 years minimum unless tolled. The
 amended complaints were therefore timely filed. The other damage
 claims for infringement and aiding and abetting infringement have a
 six-year relate back statute of limitations from the date the first US
 amended complaint post patent issuance is filed which in this case was
 April 22, 2010. SCA Hygiene Products Aktiebolag v. First Quality Baby
 Products, 137 S. Ct. 954 (2017); Anza Technology v. Mushkin, 934 F. 3d
 1359 (Fed. Cir. 2019). While Petitioner can file a new action seeking six
 years of relate back damages, Petitioner will forfeit the most valuable
 damages when the technology was evolving since 2003, when
 Petitioner's patents were first being used by defendant Live Nation. 2


 2Defendant Live Nation was found by the Dept. of Justice to have
 imported an infringing system from ETS Eventim of Germany in
 January 2008 to service its owned and operated venues in NYC - House
 of Blues, Irving Plaza and Roseland Ballroom - but was somehow
 dismissed in 2009 under Rule 12(b) based on fraudulent jurisdictional
 papers that it had no NY contacts.



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      It is now established that the SDNY administrative officers with
 whom Supple was communicating ex parte removed the date-stamped
 amended complaint and Rule 60(b)(l)-(6) motions from the docket
 sometime on remand from the Second Circuit in 2012, and thereafter
 Supple engaged in other ex parte communications at the AGC with
 Justice Gonzalez in 2012 to mar Petitioner's stellar record. The 2010
 docketed motions had already been printed in stellar fashion in the
 appendix to the first appeal, establishing ex parte removal. Vol., III,
 pps. 671 et seq., 09-2185;10-4111. Allegedly the SDNY Grievance Panel
 then removed Petitioner's name from the roster of attorneys sua sponte
 allegedly in 2013-2015 based on Magistrate's ex parte instructions that
 were known by Judge Schofield and never disclosed to Petitioner.
       Petitioner had the absolute right under Second Circuit law to file
 a repleaded amended complaint and vacate the 2009 Rule 12(b)
 judgments under all six subsections of Rule 60b. Metzler Investments
 Gmbh v. Chipotle Mexican Grill, 970 US 133 (2d Cir 2020)(citing Grant
 Williams v. Citicorp, 659 F. 3d 208 (2d Cir 2011). See minute order
 entered January 30, 2008. :
       On remand, Magistrate with the next judge Schofield continued to
 improperly deny Petitioner patent discovery post patent issuance,
 signed subpoenas against the USPTO to compel the withheld complete
 patent files related to Petitioner's inventions, and Rule 60(b) relief and
 an amended complaint post patent issuance to recover infringement
 damages against all named defendants. 35 USC §271, 284, 285, 286.
 That no patent discovery was ever granted means that there existed a
 significant number of genuine issues of fact open precluding any
 summary judgment orders from being entered in 201 7.


       Unbeknownst to Petitioner until March 2022 and without due
 process, notice, or hearing, Magistrate and Judge Schofield relayed
 defamatory information about Petitioner received from Supple to
 legitimize judicial misconduct and disqualifying bias. At the same time,




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 Supple was engaging in ex parte communications with a First Dept.
 former AGC justice, Luis Gonzalez and without making mandatory
 disclosures was dually serving as an undisclosed executive aide to the
 justice. This position that Supple had before Petitioner filed ethics
 complaints before the state in 2004-5, precluded Supple and H&C from
 ever accepting the Cowan firm's defense retainer in 2006 or continuing
 in that retainer beyond the date the JL Part 1240 amended statutes
 became effective (October 1, 2016).
        An order of the AD entered April 21, 2016 admits that Supple
 entered and corrupted Petitioner's state files by inserting unserved
 documents and the documents were considered by the First Dept. The
 documents include certain notes from Magistrate in Supple's attempt to
 get illegal and fraudulent reciprocal sanctions entered without due
 process or production of the files. Supple and H&C's continuation of the
 Cowan defendants' retainer was per se proscribed by JL Parts 1240.6d,
 1240.18, and explains why Supple and H&C did not show up at oral
 argument in the 2017 appeal before the Second Circuit.
       Severe sanctions must be awarded under Judiciary Law 487 and
 Amalfitano v. Rosenberg, 12 NY 3d 8 (2009); 533 F. 3d 117 (2d Cir 2007)
 against Supple, H&C and the Cowan defendants for attorney in-court
 fraud, deceit and breach of attorney client privilege. The infringement
 damages losses are strict liability damages.
      Petitioner also never got due process in the State. The cause
 includes contended unconstitutional statutes in conflict with one
 another - NY's Judiciary Law and NY's Executive Law, subd. 63-1-
 that make compliance with a respondent attorney's s right to due
 process impossible .. In re Gouiran, 58 F. 3d 43 (l995)(Selling v.
 Radford, 243 US 46 (1917).
       Under NY's Executive Law subd. 63-1, the NYS Attorney General
 has a duty to defend both AGC attorneys and AGC presiding justices,
 who have conflicting duties to a respondent attorney sued in a
 disciplinary proceeding. During these proceedings, the justice will
 necessarily be engaging in ex parte communications with the AGC staff



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attorneys' attorney, AG. Ergo, the communications become privileged
because AG is also the justice's attorney. The communications required
produced by Judiciary Law Part 12401. 7 and the Fifth Amendment of
the Constitution are never produced because of AG's claim of privilege.
This organization structure in NY's attorney grievance committees.
precludes the right of the respondent to get the files necessary to cross-
examine adverse state witness. IN Petitioner's case, forged and
unserved documents were inserted them into Petitioner's files admitted
by Supple. However, Justice Gonzalez was also engaging in ex parte
communications with Supple, attorney for adverse parties in the SDNY
lawsuit (the Cowan defendants), creating a double whammy. The result
were reciprocal forged sanction orders entered ex parte into the state
files and the SDNY files by Supple; that made their way to the SDNY
Executive's Office via Magistrate .
     . The false information relayed about Petitioner to the SDNY circuit
executive had zero to the patent case, was blatantly false, was gotten
from the Cowan defendants and Supple breaching attorney client
privilege and lying to the judges during ongoing ex parte sessions, and
must be sanctioned. The facts here presented adequate grounds for this
court to disqualify the judges and vacate their orders by mandamus at
an earlier time.
      The order removing Petitioner's name from the roster of attorneys
permanently railroaded Petitioner out of the district court, prevented
Petitioner from retaining a new attorney to replace the attorney in
granted sua sponte withdrawal by Judge Jones in 2010, and
prospectively getting paid protecting her ticketing patents against
infringers and willful infringers residing in this circuit in violation of
the Fifth Amendment.
      This Court's finding it had appellate jurisdiction in 2017 means it
had a duty to issue mandamus orders retroactively in aide of that
jurisdiction. In re Princo, 478 F. 3d 1349 (Fed. Cir 2007). Mandamus
orders were essential to disqualify the judges and prevent ongoing
breach of Petitioner's attorney client privilege. Von Bulow v. Von




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Bulow, 811 F. 2d 136 (2d Cir 1987); Spalding Sports Worldwide v.
Wilson, 203 F. 3d 800 (Fed. Cir. 2000).
      This court, however, held in response to Petitioner's previous
mandamus petition that "mandamus will not suffice for an appeal''.
This Court was required to act when it has a duty to act; and breached
that duty. In re Princo, 4 78 F. 3d 1349 (Fed. Cir. 2007); Sprint v.
Jacobs, 571 US 69 (2013)(Ginsburg, J.); Virginia Office of Protection
and Advocacy v. Stewart, 563 US 247 (2011)(Scalia, J.)
     Wherefore, mandamus must be granted against the SDNY
executive administrators and orders to vacate previous Second Circuit
mandates must issue under Rule 60(b).


Dated: April 5, 2022/
ECF



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J1ANDATE                                                                               S.D.N.Y.-N.Y.C.
                                                                                              06-cv-1:202
                                                                                              Scbo.fie•d; J.
                            United States Court of Appeals
                                                    FOR THE
                                          SECOND CIRCUIT


                  At a stated term of the United States Court of Appeals for the Second
     Circuit,.held at the Thurgood Marshall United States Courthouse, 40.Foley Square,
     in the City of New York, on the 8th day of January, two thousand twenty-one.

     Present:
                   Guido Calahresi,
                   Reena Raggi,
                   Denny Chin,
                           Circuit Judges.

     AmyR. Gurvey,

                                  Plaintiff-Appellant,
                   v.                                                          20-1986

     Cowan, Liebowitz and Lathman, P .C., et al.,

                                  Defendants-Appellees,

    ··Does, 1-X Inclusive, Michael Gordon,

                                  Defendants.


     Appellees move to dismiss the appeal and for sanctions. Upon due consideration, it is hereby
     ORDERED that Appellees' motion is DENIED. It is further ORDERED that the appeal is
     DISMISSED because. it "lacks an arguable basis either in law or in fact." Neitzke v. Williams,
     490 U.S. 319,325 (1989);.see also Pillay v. INS, 45 F.3d 14, 17 (2d Cir. 1995)(holding Court has
     inherent authority to dismiss an appeal that lacks an arguable basis in law or fact). Appellant's
     mandamus petition, which was transferred to this Court as part of this appeal from the United
     States Court of Appeals for the Federal Circuit, is DENIED because mandamus may not be used
     as a substitute for~ appeal. See Linde v. Arab Bank, PLC, 706 F.3d 92, 117-18 (2d Cir. 2013).

                                                    FOR THE COURT:
                                                    Catherine O'Hagan Wolfe, Clerk of Court




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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK



 - - - - - - - - - - - ~ - - - - - - - - -X
 Amy R. Curvey, US Patentee,
      Pro Se Plaintiff/Petitioner.
                                     CASE No. 06-CV-1202 (LGS)
                                     l\lotion to Hold Hearing, Correct
                                     Docket, Vacate Orders of Judge
                                     Pitman based on Ex Parte
                                     Communications with Plaintiff's
                                     adversary Richard Supple, Esq.
                                     while Plaintiff was a Pro Se Patentee
                                     before the Court
                                             and-
                                     Iviotion to Reconsider SDN):" Orders
                                     entered l\.1arch 2022
       -against-
 Cowan Lieb<)\vitz & Lat1nan, PC\
 Live Nation, Inc., Instant Live Concerts,
 LLC, l\llike Gordon, et al.
       Defendants.


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      Plaintiff .Amy R. Gurvey, a US patentee, entrt~preneur and
inventor of apparatus and standard essential utility patents in the field
of live event ticketing (Gurvey US Patent Nos. 760:3321; Dfl4 79108),
declares to the truth of the following statements as an attorney on
inactive status in good standing in the State of California, in moving
this court to vacate all orders of lviagistrate Henry Pitman entered since
2012 when the 2d Circuit remanded Plaintiffs lawsuit to the SDNY
(462 Fed. Appx. 2fi) and rvlag·istrate began improper ex parte
communications with an adverse parties' attorney Richard Supple, Esq.

      Plaintiff also moves fol' reconsideration under Local Rule 6.~3 for
reconsideration of the orders of ,Judge Schofield folJowing l'vlagistrate
Pitman's order afler J\:lagistrate vvas required to be disqualified.
Plaintiff received no notice, hearing or due process when she discovered
that her name had been removed sua sponte from the roster of SDNY
attorneys; and Plaintiff received no notice, hearing or due process to
 allow reciprocal sanctions. This is because Plaintiff got no due process
 when a sua sponte sanction order was entered by former Justice Luis
 Gonzalez of the attorney grievance committee (''AGG') in the AD First
 Dept. on December 4, 2012 .

      .A subsequent order admits that Justice (}onzalez's First Dept.
 AGC aide, attorney Richard Supple 1 Esq., was unlawfully representing
 the Cowan defendants in this lawsuit, and entered and corrupted
 Plaintiffs confidential state files. There was no NY license in existence
 to suspend for six months in 2012 and no collateral estoppel order




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 legally or factually possible. The First Dept. having disciplinary
 jurisdiction over the Cowan defendants had no jurisdiction over
 Plaintiff and never did. JI"' Part 1240.2. The inevitable conclusion is
 that Plaintiff had process abused against her for filing patent
 practitioner ethics complaints against the Cowan defendants before the
· State. Until Plaintiff had issued US patents to enforce, it was the
 state's job to compel Plaintiffs complete USPTO files from the Cowan
 defendants that were being unlawfully withheld so that Plaintiff could
. cross-examine adverse witnesses and investigate retaliatory and
 reciprocal harassment in two courts caused by Supple. Gunn v. Minton,
 133 S. Ct. 1059 (2013)



                  FACTS IN SUPPORT OF MOTHJN

       1.    Magistrate Henry Pitman began presiding without a
 supervising judge in the instant lawsuit in 2012 without the parties'
 mutual consent upon the retire.ment of Judge Barbara S. Jones in 2012
 when this lawsuit was remanded from the 2d Circuit and claims for
 patent practitioner conflicts of interest and fraudulent breaches of
 fiduciary duty before the USPTO were upheld against the Cowan
 Liebowitz & Latman law firm defendants (462 Fed. Appx. 26)
 Magistrate then engaged in ex parte communications with defense
 attorney Richard Supple, Esq. who was never legally allowed per NY
 statutes to defend the Cowan Liebowitz & Latman law firn1 defendants
 in this la\vsuit. JL Part 1240.6d This is because Supple was serving on
  the First Dept. attorney grievance cominittee ("AGC") when Plaintiffs




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state ethics complaints against the same Co\\ran patent practitioners
and managing partners were filed since 2004-5 seeking return of
withheld USFTO patent files. Several motions were made to compel
Supple and Hinshaw & Culbertson's withdrawal including in 2014
when Plaintiff was asked to be a presenter by t1ohn Caher at the State
Attorney Disciplinary Hearings on matters of patent practitioner ethics
violations. Plaintiffs motions to disqualify Supple were ignored by
l\tlagistrate Pitman and denied on the record on 11-29-16 by the next
Judge Lorna Schofield.

      2.     Bast~d on ex parte comrnunications with Supple, however,
Magistrate denied Plaintiff an amended complaint post patent issuance
and patent discovery in defiance of Federal Circuit law. Plaintiff first
 US patent, anticipated in the previous complaint, issued on October 13,
 2009 during the a-year stay of appeal.

       :3.   Plaintiffs motion to disqualify was duly filed was argued on
 ,January :3. 2013 and the hearings were not recorded. l\1agistrate
 warned Plaintiff in   athreatening tone "to leaue the Cowan lauiyers
 alone".

       4.    Then Plaintiff shockingly discovered that her strict liability
 infringement amended complaint, also seeing aiding and abetting
 infringement and non-joinder USP'I'O patent damages against the
 Cowan defendants, and Rule HO(b) motion to reinstate defendant Live
 Nation to answer for infringement, were already rernoved sua sponte
 from the SD:--JY docket. Subsequently, Plaintiffs motions seeking
 signed subpoenas against the USPTO were ripped out of the SD file




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room and never signed by l\lagistrate. Also removed fron1 the file roorn
were the SDN'f arbitration files. Other sua sponte orders staying
patent discovery had been signed ex parte by .Judge Jones in 2008.

      5.    Very recently, Plaintiff was noticed by the SDNY Grievance
Panel that rJudges Pitman, Schofield and IVIcIVlahon removed Plaintiffs
name from the roster of SDNY attorneys. There was no due process
without notice or hearing. In re Gouiran, 58 F. ~3d 54 (1995)(citing
Selling v. Radford, 2,1;3 US ,16 (1917). Apparently the removal of
Plaintiffs name vvas based on a December -1, 2012 order entered by
Supple's immediate supervisor at the First Dept. AGC, former Justice
Luis Gonzalez, before \Vhom Plaintiff never appeared.

      6.      Supple who \Vas involved in getting Plaintiffs' ethics
complaints against the Co,van defendants ignored by Justice Gonzalez,
could not defend the Cowan defendants in this lawsuit. nor could the
 law firm where Supple previously worked. Hinsha,v & Culbertson, LLP .
.JL Part 124.06d. Plaintiff got no hearing or notice of this sua sponte
· removal compliant with due process. Supple engaged in ex parte
 communications with his state supervisor Justice Gonzalez to get unfair
 advantages for the Co,van defendants in this h-nvsuit.

       7.    Plaintiff is entitled to a hearing and to vacate orders on the
 SDNY docket entered by (Judges Pitman and those entered by Judge
 Schofield that followed ,Judge Pitman after disqualification \vas
 mandatory.




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      8.     The a:rgumc•nts are detailed on Exhibit 1, appended hereto
and incorporated by reference as if fully set forth hereat. A copy is
being sent to the SDNY Grievance Panel, cc: Hon. P. :Kevin Castel and
to .Julie Allsman. Esq. counsel to the panel.

      9.     The law in NY is dear, i.e., neither Supple nor his firm
Hinshaw & Culbertson (H&C) could ever accept the Cowan defendants'
retainer in this lawsuit or continue in that retainer. Jl, Part 1240.6d.
Both Judges Pitman and Schofield were required to order
disqualification and not vvait until the end of the case. IVIagistrate was
required to stop issuing orders and disqualify himself immediately from
the action after engaging in ex pa.rte communications with Supple
based on the following facts:

       (a)   AD First Dept. found in the next order entered April 21,
             2016 (Exhibit 2),that Supple entf:_:red and corrupted
             PlaintiJf s confidential state bar files without a warrant by
             inserting unserved documents (vvhich are cri1nes JL Part
             1240.18):
       (b)   The inserted papers and notes that were admittedly
             considered by the AD also ex parte in defiance of due
             process.
       (c)   Judge Schofield \Vas given this order and ignored it: and
             allowed Supple to file frivolous summary judgment motions
             in 2017 \Vithout patent discovery or an am.ended complaint:




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      (d)    The inserted documents were since discovered to have been
             signed by t.ludge Pitman and were never con1pel1ed by the
             statf} in further defiance of due process.
       (e)   .AD's April 21, 2016 order was issued 8 1/2 years after
             Plaintiff moved to vacate the six month sanction entered sua
             sponte that was the ground to remove her name from the
             roster of SDI\x" attorneys without notice or hearing.
             However, the order of Justice Gonzalez was entered without
             jurisdiction over Plaintiff and without notice or any
             opportunity to be heard while Supple was an undisclosed
             executive aide to Justice Gonzalez at the AGC, concealing
             conflicts of interest with his state post;
       (f)   The 2012 ord(;r says it is based on ''collateral estoppel" when
             Plaintiff nevc'r appeared in any N'VS court on behalf of a
             client in the capacity of an attorney in NYS. Ergo. a
             collateral estoppel ord.er \Vas factually and legally
             impossibk:.
       (g)   I\ilagistrate and Judge Schofield did not disqualify Supple
             from further representing the Cowan Liebowitz & Latman
             defendants in violation of NY statutes. ,JL Part 1240.Gd;
             In other words, Judge Schofield followed the orders of Judge
             Pitn1an after tludge Pitman's disqualification was
             mandatory:
       (h)   Judges Pitman and Schofield did not reinstate Plaintiffs
             (removed) amended complaint and Rule HO(b) n1otion to the
             docket for adjudication;




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      (i)   Judge Schofield abused discretion and breached
            administrative duties by following Judge Pitman's orders
            after disqualification was mandatory and not disqualifying
            Supple from furthPr representing the Cowan defendants;
      (j)   ~Judge Schofield told Plaintiff during hearing on 11-29-16 to
            file another .lawsuit against Supple and Hinsha,v &
            Culbertson, I.,LP for damages (which Plaintiff did, 19cv1.1739
            (EDNY) but that she was denying Plaintiffs motion to
            disqualify Supple.
      (k)   A prose litigant cannot wait until the end of the case to
            disqualify a judge and adverse party's attm·ney engaging in
            ex prate communications because the damage to the prose
            litigant \Villbe too greata.fid lik(~l:/, irreparable:
      (1)   In her mandamus laws•uits that rcnnain pending before the
            state and EDNs·, Plaintiff is challenging the
            constitutionality of NY's dudiciary :Law that permits a trial
            judge to enter orders after disqualification is mandatory,
            that pennits a trial judge not to disqualify an adverse party's
            attorney required to be disqualified by statute; and N-Y's
            ,.Judiciary Law and Executive Law subd. (t3-1 that require
             the NYS AG to defend both AGC staff attorneys and
             supervising justices are unconstitutional. This is because
             under the statues AG will necessarily be engaging in ex
             parte communications on behalf of the respondent's
             adversaries (AG{; staff attorneys) \vith the judge, who also
             beco1nes AG's client. Ergo, docurnents required to be




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             produced for a respondent's due p.rocess become privileged
             and there is no exception or proviso iterated in state statutes
             to protect the due process rights and cross-examination
             rights of the respondent;
      (m)    Plaintiff was entitled to patent discovery and production of
             her complete state files .including ethics complaints duly
             filed against the Cowan lawyers to investigate whether she
             had process abused against her by a state court and the
             SDNY for filing ethics co.mplaints against Supple's clients;
      (n)    Plaintiff has since been denied constitutional access to the
             SD:t\Jr.,. to protect her patents and file infringement motions
             including against willful in.fringers and aiders and abettors
             of infringement;
      (o)    l\1agistrate threatened Plaintiff ih open court during an
             unrecorded hearing on January ::3: 201:3 and told Plaintiff
             "to leave the Cowan lawyers alone'' or Plaintiff would be
             sanctioned:
       (p)   Magistrate issued an order requiring Plaintiff to set forth
             every alleged act of the Cowan defendants at the USPTO in
             breach of fiduciary duty and conflicts of interest, and then
             held in a subsequent order in 201 ;3 that he never issued the
             order;
       (q)   As confirmed by the SDNY transcript office, l\tlagistrate did
             not record these hearings in violation of due process:




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      (r)    lvlagistrate did not sign subpoenas to compel the Cowan
             firm's \vithheld USPTO patent filings on behalf of Plaintiff
             and against competing clients;
      (s)    lVlagistrate did not sanction Supple for ripping Plaintiffs
             motions for signed subpoenas out of the SNDY file room;
      (t)    !vlagistrate also did not grant Plaintiff patent discovery
             ordered by the 2d Circuit in its 2012 remand order and
             denied an amended complaint post patent issuance for four
             additional years in defiance of Federal Circuit law. 462 Fed.
             Appx. 26. '!'hose orders \Vere followed by ,Judge Schofield;
      (u)    lvlagistrate recommended Rule B7 sanctions against Plaintiff
             when it was Supple and Cowan lawyers who failed to comply
             with discovery and engaged in frivolous litigation after
             Plaintiffs motions were ignored;
       (v)   !vlagistrate's documents and memoranda somehow made
             their way into Plaintiffs confidential state files via Supple's
             illegal entry and insertions, that were found by the AD on
             April 21, 201G and no action was taken by the SD~y';
       (w)   In 2015, ,Judge Schofield ordered Plaintiff to pay $10,000
             into the SDNY for a special patent mastet\ never hired the
             rnaster and did not refund Plaintiff's money for 2 1,2 years;
       (x)   ~Judge Schofield continued to def~ the lavv of the Second
                                                                  1




             Circuit and deny Plaintiff an amended complaint post
             judgment when n1otions to vacate the judgment were
             properly granted. lVIetzler Investments Gn1bh v. Chipotle
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             .:.v  .                     , 1·,1 • ,)')d 133
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      (y)    Christine Anderson, a former First DepL AGC triage
             attorney was terminated by the First Dept. and the chief
             clerk Catherine ()'Hagan \Volfe. in retaliation for assisting
             aggrieved clients file attorney ethics complaints and get
             relief from the state. Anderson v. First Dept. Disciplinary
             Conunittee~ 614: F. Supp. 2d 404 (SDNY 2009)(Scheindlin       1



             J.)(Headnotes H5, 16):

      10.    In 2005, as soon as Plaintiff filed patent practitioner ethics
complaints against the Cmvan la\vyers at the First Dept. AG(\ Plaintiff
shockingly started having process abused against her by AGC staff
attornevs. rI'his was shortlv aftf'r Christine Anderson \Vas terminated bv
        v                   ./                                           .J


the AGC and left her job. Plaintiffs abuse of process by AGC staff
attorneys, however, was \Vitho~1t jurisdiction. JL Part 1240.2.

       11.   Plaintiff \Vas then denied her complete state files. Plaintiff
. moved by original Article 78 petition filed in Supreme N'{ in 2011
 (11077 4) to compel the files including the ethics complaints duly filed
 against the Cowan lawyers.' Plaintiff properly sought production of her
 con1plete USPTO patent and inventorship files being withheld. ~l'he
 Article 78 proceeding wa8 transferred sua sponh~ to the First Dept. and
 dismissed without notice or opportunity to be heard.

       12.   Orders that adversely implicate the constitutional rights of
 litigants can never be entered sua sponte. Link v. \\Tabash R.R. Co.,
 370 US G26 (1962). AD's sua sponte orders defy the Due Process Clause
 of the US Constitution and the court's duties to pro se litigants.
 Erichson v. Pardus, 551 US 89 (2007).




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      18.    On December 4, 2012 ,Justice Gonzalez sua sponte entered
an order while Supple was his executive aide at AGC. The order was
entered without notice to Plaintiff or any opportunity to be heard and is
based on collateral estoppel that is legally and factually i1npossible. No
notice or hearing was ever afforded in defiance of due process. It is not
knmvn whether Justice Gonzalez knew that Supple was already
unlawfully defending the Cowan lawyers before SDJ'.\J'Y since 2006 and
that claims against the Cowan firm were ren1anded by the Second
Circuit in 2012.

      14.      Plaintiffs complete state files including the patent
practitioner ethics complaint file were required be produced pursuant to
equal protection and due process so that Plaintiff could cross-examine
                                       .. , .

all adverse witnesses and investigate whether the state officers' abusE"
of process was retaliatory.

       15.     \Vhen Plaintiff moved inunediately in 2018 to vacate the
 sanction order based on Justice Gonzalez mandatory disqualification
 based on ex parte communications with Supple and lack of jurisdiction,
 and also based on the orders entered but not recorded by 1\/Iagistrate
 Pitman, the First Dept. did not enter an order in response for almost
 four years.

       16.     The next order entered April 21, 2016 admits that Supple
 entered and corrupted Plaintiffs confidential bar files without a
 \'Varrant by inserting unserved documents and that Plaintiffs early
 attorney in the SDNY lawsuit, 0. LE!e Squitieri, helped Supple. The




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documents recently discovered include papers signed by lVIagistrate
Pitman.

        17.     Although Plaintiff has still not seen all the documents
inserted, Plaintiff has filed two mandamus petitions before the state
and in the EDNl'.~ pursuant to (Judge Schofield's instt·uctions during
     . on N•ovem ber
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        18.     If Supple wanted to get Plaintiff disciplined in the capacity
of attorney based on collateral estoppel, Supple was required by law to
file h:is petition in the Third Dept. that admitted and retired Plaintiff.
tlL Part 1240.2. Plaintiff never heard a peep fro1n the Third Dept. in :30
years and her license in NYS was retired in 1998. Ergo in 2012, there
 was no license for tI ustice Gonzalez to suspend.

         19.    Justice Gonzalez son1ehovv cited to an "attorney sanction"
 entered against Plaintiff. None was ever entered. There ,vas an
 attorney sanction entered against Plaintiff's HUD tenant attorney ,Jay
 Stuart Dankberg·, Esq. in 2001. That sanction \vas in fact unjustified
 under HUD mandates. This is because Plaintiff, an ADA approved HUD
 tenant \Vas entitled to HUD's expanded definition of due process and a
 jury trial when her landlord filed a holdover proceeding in defiance of
 HUD mandates. Plaintiffs HUD tr~nancy was a federally protected
 property right and Plaintiff never got HUIYs expanded definition of due
 process or a jury tl'ial in defiance of preempting HUD mandates and the
 Supremacy Clause. 24 CFR 9GG.4, 966.51 (a)(2J, 966.6f3




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     20.    A NYC housing judge is a hearing officer and cannot preside
over a jury trial. Nfet Council v. Crosson, 84 NY 2d 674 (199:3). \Vhen
:rvir. Dankberg moved to ttansfer the frivolous holder to a NYC Civil
Court tludge, he was sanctioned as an attorney. Howevm\ it is true that
Nlr. Dankberg did not move for mandamus relief to recuse the housing
judge, which he was n~quired to do to get the motion granted.
                                    1



Ho\vever. there was no attorney sanction issued against Plaintiff
because Plaintiff was not an attorney in the case.

     21.    At all times relevant since 200 l, Supple \vas an undisclosed
executive committee men1ber at the first Dept. A,GC and aide to former
justice Luis Gonzalez. Supple could nf~ver legally aceept the Cowan
firm's retainer when Plaintiff filed suit before SDN'f in 2006. ,JL Part
1240. 6d This is because of the high risk that sua sponte reciprocal
sanctions in defiance of due process can be entered by the officer \Vho
harbors conflicts of interest and the risk is exacerbated when the
respondent is a pro se litigant.

      22.   Plaintiff v,.1as retired from the Third Dept. in 1998 after she
attended medical school in NYS and never appeared on behalf of a
client in any :t\lYS Court. Only the 'Third Dept. had jurisdiction over
Plaintiff for the time she \Vas admittt~d in NYS l 985~ 1998 and retired in
good standing. rJL Part 1240.2.

      28.   .wforeover, after the 2005 admonition n1ailed to Plaintiff
when her first ethics complaints were filed at the First Dept. was
conceded as a <.mistake". However. in 2008 a follow up petition \Vas
                                              1



.mailed to Plaintiff in ~\J in d<::fiance of 22 NCYRR G0~3.4, 60~5.9 without




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any additional matter cited and containing the photocopied signature of
Paul Curran, Esq. Curran \yas 2002 AGC chief coq_nsel who was
already dead in 2007. No current n1ember or staff attorney of the
AGC signed the document. Curran was also a 1995 partnE;r ~/ith
Cowan defendant \Villiam Borchard, Esq. at Kaye Scholer.

      24.         Supple s plan was to get reciprocal sanctions entered against
                         1




Plaintiff in two courts by engaging in ex parte communications with
judges in each court and entering her state files without a \varrant.
These acts are crimes. tT:L Part 1240.18

      25.         As a result. Plaintiffs amPnded complaint post patent
issuance and Rules 15, 60(b) were rernoved after docketing and date
stamping on April 22. 2010 and never reinstated by the SD~1".

      2(3.        The corrupted files are the subject of a continuing
1nandamus petitions before the State. I\1 5775 (1 st Dept), 132-] 7. The1·e
is a separate action in the EDNY, 19-cv-4739 suggested by (Judge
 Schofield on the record on Novernber 29, 2016. There is no final order
 yet per the NY Court of Appeals and the cases continue.

       ')'""I •
       ,.,        Named SDNY defendants Live Nation, Inc., Instant Live
 Concerts, Phish, and the Cowan lawyers remain liable for infringement
 and aiding and infringement damages. a5 USC 271, 284. 285, 286.
 There has still been no decision on the merits on an infringen1ent claim
 in 11 years since the first anticipated US patent issued to Plaintiff
 during the la\vsuit.




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      28.   It was easy to take advantage of Plaintiff because she was
never adn1itted to the First Dept. never appeared on behalf of a client in
any court in NYS, and did not have incentive to have her license in
NYS reinstated. That does not mean that she does not need her stellar
record reinstated; because without that she cannot recover infringernent
damages in any court in this circuit.

      29.   The Cowan firm offered Plaintiff an illegal retainer to invest
in her patent applications, proscribed in NYS. Buechel F. Rhodes. 285
A. 2d 274 (1st Dept. 1999)

      30.   The previous SD NY ,Judge Barbara Jones also signed ex
parte orders submitted by Supple including to stay patent discovery in
2006-2008 when discovery on tort and infringement c.lai1ns was never
legally stayed. Cowan defendants delayed issuance of Petitioner's
patents through USPTO fraud, conceding to practitioner conflict of
interest violations, abandonment torts, withholding her USPTO files
and inserting her patentable technology into other client's applications.
Emails discovered admit that Cowan was "following the client's
instructions''.

      31.   Attorney malpractice cases involving missed patent
deadlines have resulted in million dollars of damages, for far less crimes
than what the Cowan firm is alleged to have done in this action. 35
USC 271,284,285. 29G, g7 CFR 2.10. 2.19, 10.66, 11.116. 1.a24, 1.36;
lveuro.Repair i;. 1Vath Lmv Group, 781 F. {3d 1340 (Fed. Cir. 2015);
 Protostorm v. Ant.onelli, 834 F. Supp. 2d 141 (EDNY 2011), Cold Spring
 Harbor Laboratories i:. Ropes & Gray, 762 .F. Supp. 2d 54a (EDNY




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2011). This court clearly does not follow Federal Circuit law on law firm
damages and non-joinder torts. Carter l'. .4Ll( [foldings. G05 F. 8d 1:319
(2009).

      32.     Petitioner's additional action seeking constitutional damages
against N''{S for promulgation of unconstitutional protocols and patent
taking damages before the Nr Court of Claims is also being unduly
prejudiced.



      \\THEREFORE, based on the foregoing, Plaintiff seeks that this
 SDNY order a hearing to vacate certain orders and correct the dockets;
 order a hearing to determine if Plaintiffs name was improperly
 removed sua sponte from the rostei 'of attorneys, and grant Petitioner
 lean) to challenge the unconstitutional protocols of this Court based on
 constitutionally deficient practices promulgated against patent
 inventors in violation of the US Constitution and NY's Constitution




 March 22, 2022
 Upper l\1ontclair, NJ


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                          EXHIBIT 3

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                                            ID #:1106
amygurvey@gmail.com
                                                    •
To:                              Julie A!lsman; Robyn Tarnofsky
Subject:                         FW: REQUEST FOR SDNY HEARiNG NY Legal Assistance Group; SDNY Attorney
                                 Grievance Panel 06cv1202 (SONY Patent Litigation)



cc: Hon, P, Kevin Castel


From: amygurvey@gmaiLcom <amygurvey@gmail.com>
Sent: Wednesday, March 23, 2022 9:32 AM
To: 'Robyn Tarnofsky' <RTarnofsky@nylag.org>; 'Julie Allsman' <JuHe_Allsman@nysd.uscourts.gov>
Subject: REQUEST FOR SONY HEARiNG NY Legal Assistance Group; SDNY Attorney Grievance Pane! 06cvl202 tSDNY
Patent Litigation)

March 22, 2022 NY LAG: Ms. Tarnofsky: This note ls being emailed to the SDNY Grievance Panel out of necessity,

Your office made a mistake in giving legal advlce in 2017 after Judge Schofield (06cv1202) entered summary judgment
orders admitting that the court never granted Plaintiff an amended complaint post patent issuance during the lawsuit or
patent discovery ordered by the 2d Circuit in 2012 (462 Fed. Appx. 26). Also the court had failed to disqua!!fy Richard
Supple, Esq., from further defending the Cowan law firm defendants and filing summary judgment papers. The 2017 SJ
orders had to be appealed to the Fed Cir, and not the 2d Cir. Plaintiff would have won the appeal in 2018 and gotten
another judge assigned. Now the case is before the Fed Circuit, but five years too late,

Mag Pitman's ex parte communications with the·Cowan iawJirm defendants' atty, Richard Supple, Esq. began in
2012. The conversatlons were unlawful and required that Mag be disquc;1!ified and his orders vacated, not fol1owed by
Judge Schofield when she began presiding. Supple was an undisclqsed exei;:utive aide to former justice Luis Gonzalez on
the Hrst Dept. attorney grievance committee (';AGC"). The Cowan defendants were subject to the disciplinary
jurisdiction of the First dept,, but Piaintiff is not and never was,

Plaintiff moved for disqualification of Judge Pitman, and of Supple pursuant to Jl Part 1240.6d Judge Pitman never
adjudicated the motions. Instead, he wrote to the SONY Grievance Panel. A prose litigant cannot wait until the end of a
case when ex parte communications are ongoing between a judge and the adverse party's attorney, especially not when
the opposing party is prose before the Court, and the adverse party's attorney is double dealing on the state grievance
board, The prejudice to the a prose inventor's right to recover infringement and aiding and abetting strict iiabllity
infringement damages w\11 be irreparable. Erickson v. Pardus, 551 US 89 (2007) As found by the Fed Circuit in 2020, the
2d Cir improperly denied Plaintiff's motion to transfer the appeal because the Fed Circuit has exclusive jx over matters
arising under the patent statutes, 35 US 271; 37 CFR 2.10. 2.19, 10.66, 11.116, 1.36, 1.324.

Now, Plaintiff recently discovered that Mag Pitman (no longer serving) and Judge Schofield contacted former Adm.
Judge Colleen McMahon to remove her name from the roster of SONY attys without notice or opp to be heard. The
notes were sent after Mag's disquai!fication was mandatory and his right to enter orders had expired. There is no
service confirmation on the order.

The First Dept. order entered December 4, 2012 relied on by Maglstrate was entered wt jx over Plaintiff and written by
Justice Gonzalez, who was the immediate AGC supervisor of Supple for many years. Supple was unlawfully dually
serving as Judge Gonzalez's aide and as the Cowan defendants' attorney in the SONY lawsuit without disclosure. JL Part
1240.6d, Supple can be assumed to have been involved with getting Plaintiff's state ethics complaints ag the Cowan
lawyers ignored and was subsequently found by the AD First Dept by order entered April 21, 2016 to have entered and
corrupted Plaintiff's confidential state files wt a warrant by inserting unserved docurnents, JL Part 1240 18, Those
documents have been discovered to include proof of ex pa rte interactions with Judge Pitman, Action M-57'75 has now




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been reopened. Judges Pitman and Schofield were 112quired  #:1107
                                                              disqualify themselves for engaging ln ex parte
communications with Supple and were required vaca 1:ing the relevant orders after disqualification was mandatory.

Evidence Mag's ex parte communications w:th Supple "somehow" got into Plaintiff's confidential state files/ some 15
years after Plaintiff was retired by the Third Dept. in 1998, Plaint!ff remains in good standing in CA. Plaintiff was
admitted to the SONY in 1985 based on admission to two bars, California and NY, and had the absolute right to notice
and opportunity to be heard before her name was removed from the roster of attorneys.

The result has been severe prejudice to Plaintiff's business, career, stellar reputation, and constitutional right to protect
her intei!ectual property from willful infringe rs residing or doing business in this circuit induding defendant Live Nation,
a named defendant since 2006, and a client of the Cowan defendants. Live Nation was found to have significant NY
contacts during its merger proceedings with Ticketmaster in 2010 and was severely sanctioned by the DC District Court
and the Dept. of Justice. 2010 WL 973407, 975408 in 2020 for iying to the court, continuing antitrust violations and
defiance of the competitive impact statement and consent decree entered in 2010. However, Live Nation was dismissed
based on fraudulent Rule 12(b) papers that it had no NY contacts, and Plaintiff's Rule 60(b) motion and amended
complaint post patent issuance were deieted ex parte from the docket Supple then got Judges Jones and Pitman to stay
patent discovery ex parte, that could never legally be stayed.

Also discovered in Plaintiff's state files is a 200S admonition notice based on collateral estoppel that is legally and
factually impossible. Plaintiff was never sanctioned as an attorney in NYS in connection with representing a cient in any
court, because Plaintiff never did so. Then in 2008, this admonition, previously noticed as a "mistake" was followed up
in defiance of 22 NYCRR 603,4, 603.9 with nothing further cited, suspiciously oniy after Plaintiff sued the Cowan
attorneys in this lawsuit. A photocopied affirmation in support of the 2008 flling was purportedly signed by 2002 AGC
chief counsel Paul Curran, Esq. who left th~ AGC in.2002 and was dead of cancer in 2007. Mysterious is that Curran was
a former partner of Cowan defendant William Borchard at Kaye Scholer in the 1990s.

While Mag Pitman is no longer on the court, his orders denying patent discovery, an amended complaint and
recommending sanctions against Plaintiff without any legal justification, must be vacated from the docket. Plaintiff's
first US patents, 760331; D627910S, were tragically delayed based on the Cowan defendants' intentional torts before
the USPTO. The first patent claims issued on October 13, 2009 during the 3-year stay of appeal, were docketed, date
stamped and filed on April 22, 2010 and then removed ex pa rte from the docket without notice to Plaintiff or her
attorney, 0. Lee Squitieri, Esq. Squitieri suspiciously was also granted unilateral withdrawal at the same time.

What Plaintiff just discovered in her confidential state files by mandamus petitions were documents inserted by Supple
and signed by Magistrate Pitman. First Dept., Judge Luis Gonzalez, has not been presiding for several years. The AD
panel waited 3 1./2 years to adjudicate the motion to vacate and on April 21, 2016 admitted to consideration of the files
inserted ex parte by Supple in further defiance of due process. This is addition hard evidence of ex pa rte
communications between Supple and state judges; and requires this court to discipline Supple and the Cowan
attorneys.

The state proceeding M 5775 has been reopened based on renewal. There are two additional mandamus proceedings
pending to compel production of Plaintiff's complete state files including Plaintiffs patent ethics complaints against the
Cowan defendants. It is necessary to determine :f Plaintiff had process abused against her in retaliation for flllng
otherwise proper ethics complaints. During the delay before patent issuance the state had exclusive jx over USPTO
practitioner breach of fiduciary duty, conflicts of interest and malpractice claims against the Cowan defendants. Gunn v.
Minton, 133 S. Ct. 1059 (2013). An or:ginal Article 78 proceeding to compel Plaintiff's complete state files including the
ethics complaint files was filed in Supreme NY (n 2011 (110774), transferred sua sponte to the First Dept. and dismissed
sua sponte without notice or any opportunity to be heard in defiance of due process, Upon belief, this is when
Magistrate's papers were inserted into the files by Supple.

 In addition, Plaintiff never received answers to her state ethics complaints from the AGC duly filed since 2004-5 in
 violation of equal protection, the Cowan defendants' responses, or her complete files that include her federally

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mandated patent files. 132-17 (l' Dept.), 19-cv-4739 (EDNY). Eight agencies of the State and City of NY are unlawfully
                          t

using Plaintiff's issued patents without payment of just compensation including the Port Authority and NYS Thruway.
There is a separate Court of Claims lawsuit pending for 4 years, 135611.

In this court, a hearing must be granted for Plaintiff to demonstrate that the 2012 state order entered by Justice
Gonzalez was improperly considered ex pa rte wheri the order was entered First Dept. without jx and without notice or
opportunity to be heard; and the right to cross-examined adverse state witnesses if necessary. Supple unlawfully
engaged in ex pa rte communications with judges in two courts and entered and corrupted Plaintiffs state files without a
warrant. JL Part 1240.18; In re Gouiran, 58 F.3d 54 (2d Cir) citing Selling v. Radford, 243 US 46 (1917). Plaintiff's state
ethics complaints against Supple have been ignored. Plaintiff has gotten no confirmation of processing in defiance of
equal protection.

_The AGC triage attorney who was assisting Plaintiff get her complete USPTO patent files compelled against the Cowan
defendants was the victim of retaliatory termination and the subject of a civil rights lawsuit before SONY. Anderson v.
First Dept. Disciplinary Committee v. State of NY, 614 F. Supp. 2d 404 (SONY 2009)(Scheindlin, J.} (Headnotes 15,
16). Plaintiff has chatlenged the constitutionality of the NYS statutes that enabled this atrocity and scandalous manifest
injustice in the pending renewal, and mandamus lawsuits. Plaintiff continues to have her patent business, professional
reputation and career damaged by these orders. They must be removed. Thank you.

Respectfully submitted, Amy R. Gurvey




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                 At a Term of the Appellate Division of the s~preme
             Court held in and for the First Judicial Department in
             the County of New York on April 21, 2016.

Present - Hon. PeLer Tom,                                     Justice Presiding,
                   David Friedman
                   David B. Saxe
                   Rosalyn H.          Richter
                   Sallie Manzanet-Daniels,                   Justices.

---------------------------------------x
In the Matter of Amy R. Gurvey
 (admitted as Amy Rebecca Weissbrod),
a suspended attorney:

    Departmental Disciplinary Committee
   . for the First Judicial Department,                              M-5775
                            Petitioner,

   Amy R. Gurvey,
   ( OCA At r. y. Reg . N r, 1994516),
                            V,


                          Respondent.
---------------------------------------x
     An order of this Court having been en~ered on
December 4, 2012 (M-667/::-1-1340), inter a1ia, suspending
respondent (who, as A1riy Rebecca Weissbrod, was admitted to
practice as an attorney and counselor-at-law in the State of New
York at a Term of the Appellate Division of the Supreme Court for
the Third Judicial Department on June 4, 1985) from the practice
of law in the State of New York for a period of six months,
effective January 3, 2013, and until further order of this Court,

       And respondent prose having moved this Court on
December 17, 2015 (M·-5775), for an order vacating the order of
suspensio,, entered December 4, 2012, directing that a retracticr:
order be published in relevant legal publications, compelling tte
Comrni ttee to make certa.in files available to her, and for other
relief,

     And the Deparnnental D.i sciplinary Cornmi ttee for tr1e i?irst
Judicial Department, by Jorge Dopico, its Chief Counsel (Orlando
Reyes, of counsel), having submitted an affirmation in opposit~on
to the motion, and requesting that this Court grant further
relief as it deems jusc and proper,

      And Hinshaw    &     Culbertson, LLP (Richard Supple, of counsel),
having submi tt,:;;;d an    i.:'! ff i ::matiou   iL opposition to the mot ion,




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(M-5775)                                                                                  April 21, 2016




     And Squitieri & Fearon, LLP (Olimpia Lee Squitieri, of
counsel), having sub~icted an affirmation in opposition to the
motion,

          And respondent having submitted a reply affirmation,

     Now, upon reading and filing the papers with respect to che
motion, and due deliberation having been had thereon, it is
unanimously,

     Ordered that the motion is denied.   It is further directed,
sua sponte, that the Clerk of the Court not accept further
filings from respondent without pri.or leave of this Court.
                                            ENTER:




           APPELLATE ONJSION SU?R..FMf COURT FIRST DEPARTMENT
                           STATE OF"NEW YORK
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                                                                                                6/22 re:.
                                                      ID #:1112                  '-<                         ~           ... '

                        MOTION TO Vi\CATE OR RECONSIDER ORDER ENTERED l2/2/21 DENYING A
                        REPLEADED Aiv1FNDED c:O!\1PLAlNT POST JUDGMENT AND PATENT
                        ISSUANCE, TO RFC!ISE JUDGE & VACATE ORDERS RETROACTIVE TO 2016.
                                     Document filed by Amy R. Gurvcy.(sc) Modified on 3/10/2022 (tg). (Entered:
                                     03/09/2022)

03/09/2022                 .1::lJ. *** STRICKEN DOCtl\lE:'.'IT. Document number 443 has been stricken from the
                                      case record. The docu1nent was stricken from this case pursuant to 444 Order.
                                      LETTER addressed to Judge P. Kevin Castel from A. Gurvcy, dated 3/7 !22 re: 1 have just
                                      discovered that without notice to me or any opportunity to be heard, my name was
                                      removed from the roster i:if SDNY attorneys sometime during the pendency of this 13-
                                    , year patent and anti-trust litigation to prejudice my strict liability infringement rights and
                                    ; my ab&olute right to amend my Complaint post patent issuance during the la\1.rsuit.
                                    ! 06cv 1202 etc. I am sending a copy of this letter to the ne\V Chief Judge of the SDNY,
                                    ; lfon. Laura Taylor Swain, to the 2nd Circuit Disciplinary Board, to the lJ .S. ,\ttomey for                            !

                                    ~ the SDNY. and appending it with relevant doct1ments to Judge Loran Schofield with a
                                     : motion to repkad etc. Documem nled by Amy R. Gurvey.(sc\ \,fodified on 3'10/2022
                                     \ (tg). (Entered: 03/0912022)
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I03109,2022                          j Supplemc:ntal ROA Sent to USCA (Electronic File). Certified Supplemental Indexed
                                    : record on Appeal Electronic Files for 443 Letter, filed by Amy R. Gurvey, ..J.42 Letter,
                                    : filed by Amy R. Gurvey, i4J2 Notice (Other) filed by Amy R. Gurvey, 44 l Onfor, USCA
                                    ; Case Number 2022--1.331 1 were transmitted to the tJ.S. Court of Appeals. (tp) (Entered:
                                     i 03/09/2022)                               .

                        ' ORDER: it 1s hereby 01-:U)ERED th,1t the letter is stricken from the docket because it
                          pertains to an attorney disciplinary ~).atter handled by the Grievance Committee. The
                           Ckrk of Court is respectfully directed to ( l) strike the entries and letters at Dkt. Nos. 442
                           a11d 443 from the record and (2) ensun~ the letter reaches the Grievance Committee, if it
                        i has not already. (Sig:ned by Judge Lorna G. Schofield on Jil0/2022) t._tg) Transmission to
                         i A.ttorney Ser\ices;Help J)esk. Trnns1nission to Office of the Clerk of Court for
                        ! processing. (Entered: ()Ji 10/2022)
>---------+-----                                       ---•----•••---,-•..,--••"•"--•~••h•~•- • - - - -


I -, ), --
'03/1 '"/20!7 !, .-i42_ [ LETTER addressed to .li.tdge Loma G. Schofield from A. Gurvey. dated 3/6/22 re:

                         i ''~1OTJON TO VACATE OR RECONSIDER ORDER ENTERED 12/2/21 DENYING A 1
                         ; REP LEADED A'.'v1E1\'DED COMPLAINT POST JUDGMENT & PATENT lSSUANCE,
                         ; TO RECCSE JUDUE AND VACATE ORDERS RETROACTIVE TO 2016." Document
"------~·- i file~---~~-_:~_r2~~-~-~-?._tirvey.(s~) (::1::~~-~?.:?~il_6f~~~::.!
!
                                                                                                            ---~---·•·-·--··-----· -----.
\ 03/17/2022                l 446
                            ,  - r'. tv1E'.v10
                                          ... ENDORSEMENT
                                               - . .      on re: -44i Letter, filed bv Amy R. Gurvev, ,. ENDORSE\tENT: :
                                                                                                      ~          ~




                            '         \ Plaintiff's applicati(m for reconsideration of the Court's December 2, 2021, Order denying ;
                                         Plaintiff's pri1Jr motion for recon:sid-::ration is denied fiJr the reasons stated in the      '
                                      • December 29, 2021, Order. Plaintiff was advised that there is no basis for requesting
                                      - reconsideration ad infinitmn. The remainder of Plaintiffs arguments in this application
                                         are without merit. Tbe December 29, 2021, Order advised Plaintiff for the second time
                                         that if Plaintiff files basekss materials, an inJtmcti(m ma,y be imposed, requiring Plaintiff
                                      i to seek permission first before filing anything further on the docket. The Second Circuit
                                       ; has identified five factors relevant to the decision lo impose a filing injunction: "( 1) the
                                       - litigant's history of litigation and in particular whether it entailed vexatious, harassing or
                                       ; duplicative lmvsuits; (2) the litigant's motive in pursuing the litigation/' including
                                       ' Vihether the litigant has ''an objective good faith expectation of prevailing[]; (3) whether
                                         the litigant is represented by counsel; (4) whdher the litigant has caused needless
                                         expense to other parties or has posed an urn1ec\.:ssary burden on the courts and their
                                       ; personnel; and t5) whether other sanctions would be adequate to protect the courts and
                                       j other parties.'' Vasicl v. Firststonn Props. 2 LLC, 750 F. App'x 50, )2 (2d Cir. 2018)

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                       : (summary order) (quoting SafirIDv. U.S. Lines Inc .. 792 F2d 19, 24 (2d Cir. 1986)
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                         (internal quotation marks 0mitted) L Though the Cowt is reluctant to impose a:1
                                     injunction, each factor collnsels in favor of imposing a filing bar. Plaintiff has a history of
                                     meritless litigation, in this case and others. See Gurvey v. DiFiore, No. 19 Civ. 4739,
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                                     instructed not to file motions for reconsideration of orders denying a motion for
                                     reconsideration. Third. Plaintiff, an attorney, is not entitled to any special solicitude as a
                                     prose litigant See id. Fourth, Plaintiffs repeated meritless lawsuits are a needless
                                     imposition on defendants and burden on the courts. Fifth, other sanctions cannot
                                     adequately protect the courts and the other parties. Plaintiff is barred from filing without
                                     prior leave of th:: Court ( 1) any further documents in this case except for those captioned
                                     for the Second Circuit and (2) any further actions in the Southern District ofKew York
                                      against the Defendants arising out of the events alleged in the Third Amended Complaint.
                                      (Sif,rncd by Judge Loma G. Schofield on 3/17/2022) (ks) (Entered: 03./17/2022)



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                          EXHIBIT 5

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                                               315 Highland Avenue
                                               Upper Montclair, NJ 07043
                                               March 29, 2022


 SDNY Attorney Grievance Panel             EDNY PRO SE 225 Cadman Plaza East
 500 Pearl Street                          Brooklyn, NY 1120119-cv-4739 (LDH)
 Circuit Executive's Office Room 820       NYS Attorney General
 New York, NY 10007                        L'Abbate Balkan Colavita & Contini,LLP
 Hon. P. Kevin Castel
 Julie Allsman, Esq., outside counsel
 cc: Appellate Division First Dept.
 Hon. Rolando Acosta, Presiding Justice
 cc: Susanna Rojas, Clerk of the Court
 27 M.adison Avenue
 New York, NY 10010
                                         In re Amy R. Gurvey, US Patentee

        Petitioner Pro Se Amy R. Gurvey, a US patentee and inventor of ticketing
 and ticketing management apparatus and utility patents with multiple corporate
 and NYS agency infringers, declares to the truth of the following statements in
 filing this letter seeking permission to vacate orders of the Appellate Division First
 Dept. entered December 4, 2012 and April 21, 2016 entered without jurisdiction
 over Petitioner in the capacity of an attorney and based on confirmed ex parte
  communications between judges of the First Dept. and each of the NYS Attorney
  General and Richard Supple, Esq. These ex parte communications that were
  ongoing between 2012 and 2016 conflicted out the entire court and preventing entry
  of further orders against Petitioner's interests. AG and Supple are Petitioner's
  respective adversaries in this matter and in the SDNY patent infringement lawsuit.
  06cv01202.

         Supple was never permitted by law to defend the Cowan Liebowitz &
  Latman N"YC patent practitioners and managing partners before SDNY because he
  was serving on the AGC when Petitioner's ethics complaints filed against the
  Cowan firm before the First Dept. attorney grievance committee ("AGC") Judiciary




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  Law ("JL") Part 1240.6d. Petitioner properly sought orders to compel federally-
  mandated USPTO patent files being unlawfully withheld that is the state's duty to
  compel pre patent issuance. Gunn v. Minton, 133 S. Ct. 1059 (2013); Virginia Office
  of Protection and Advocacy v. Stewart, 563 US 247 (20ll)(Scalia J.) Supple was also
  serving as a personal aide to former presiding justice Luis Gonzalez on the First
  Dept. AGC when Petitioner's ethics complaints were duly filed. Based on the
  documents since discovered, it was Supple's plan as a fraudulently undisclosed AGC
  officer as to Petitioner to engage in unlawful ex parte communications with the
  justices to get ex parte orders entered adverse to Petitioner's interests without due
  process. To comply with due process, the complete state files including the ethics
  files against Supple's clients, ]\ry lawyers Cowan Liebowitz & Latman, were
  required to be compelled by the state. JL Part 1240.7. The First Dept. has
  disciplinary jurisdiction over the Cowan lawyers and Supple but not over Petitioner.
  If any lawyer or client wanted to file an ethics complaint against Petitioner, they
  had to do so before the Third Dept. The Third Dept. confirms no ethics complaints
  ever filed against her.

        Supple harbored conflicts of interest between his duty to the public and his
  defense retainer for the Cowan lawyers. Supple and his former firm, Hinshaw &
  Culbertson, unlawfully accepted the SDNY defense retainer for the same Cowan
  lawyers Petitioner reported for serious USPTO patent ethics violations and
  admitted conflicts of interest since 2002. The damage claims are before SDNY since
  2006 (06cv01202) but the patent strict liability aiding and abetting infringement
  and non-joinder claims have still never been adjudicated. Petitioner continues to be
  denied all patent discovery and an amended complaint post patent issuance in
  defiance of Second Circuit and Federal Circuit law based on Supple's illegally ex
  parte communications with justices in the AD between 2012-2016 and with the
  SDNY magistrate, Henry Pitman. Magistrate Pitman has since left the court but
  magistrate and judge continued defiance of the law in failing to immediately
  disqualify Supple from the Cowan lawyers' defense. JL Part 1240.6d. A pro se




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 litigant cannot wait until the end of the case to disqualify a judge engaging in ex
 parte communications with an attorney breaching attorney client privilege owed by
 his b.efendant law firm clients to the pro se litigant.

        To comply with due process, Petitioner was entitled to complete production
 of her state files (JL Part 1240.7) that have still not been produced by the First
 Dept., and the Cowan firm's responses to the USPTO ethics complaints. Petitioner
 got neither in further violation of Petitioner's right to equal protection of i\i'Y laws.

        Petitioner now seeks to (i) to vacate the orders of the AD First Dept. entered
 December 4, 2012 and April 21j 2021 entered without jurisdiction over Petitioner;
 (ii) because justices were engaging in ex parte communications with Supple and AG
 requiring their disqualification and vacatur of all orders after disqualification was
 mandatory; (iii) because a collateral estoppel order entered by .Justice Gonzalez, was
 legally and factual impossible based on Justice Gonzalez's concession that
 Petitioner was never an attorney representing a client in a previous matter in NYS
 and could never be sanctioned as an attorney (,JL Parts 1240.1, .2); (iv) because
 Supple was Justice Gonzalez's aide engaging in ex parte communications with
 justice at the AGC and at the same time was unlawfully defending the Cowan
 lawyers in Petitioner's SDNY lawsuit since 2006; and (v) because Petitioner has the
 right to challenge the constitutionality of Judiciary Law Section 90 and certain of
 the JL Part 1240 statutes including Part 1240.6d, Part 1240.7, Part 1240.18 that
 when read in conjunction with N"Y-'s Executive Law subd. 63-1 make due process in
  favor of a targeted respondent impossible because the respondent will never be
  allowed to compel the complete files and investigate whether abuse of process is
  related in retaliation for filing otherwise proper ethics complaints against I'i'YC
  attorneys. AG is required to defend both the AGC staff attorneys but has a
  separate duty to defend the presiding justice of the AGC who is adjudicating the
  disciplinary action making improper ex parte communications with the judge by AG
  on behalf of the AGC staff attorneys likely, privileged and undiscoverable. DC
  Court of Appeals u. Feldman, 460 US 462, 470 (1983)(Brennan, J.).




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        There is no dispute from the Court's April 21, 2016 order that AGC officers,
  clerks and/or justices in this Dept. allowed Supple, an AGC executive aide, ex parte
  access into Petitioner's confidential state files to insert unserved and forged
  documents without a warrant. The order says Supple's unlawful ex parte insertions
  were considered by this Court. JL Part 12,10.18. The consideration of the ex parte
  documents required court to disqualify itself from the proceeding and restrain from
  issuing any further orders. The entire court became corrupted. 'I'he court cannot
  engage in ex parte communications with the attorney for an adverse party that is
  breaching the attorney client privilege of the client, particularly not when the
  litigant is pro se before the Court in a faux disciplinary proceeding and in a US
  patent litigation. Linh v. Wabash R. R. Co., 370 US 626 (1962). The result in this
  case has been ex parte corruption of the SDJ\T'"{ files and Petitioner's state files
  without due process and now also at the NYS Office of Court Administration.



         This is an unusual cas:e. Petitioner is not a practicing attorney in NYS and
  was retired by the Third Dept. in 1998. Petitioner has another career, but needs to
  enter district court to protect and get paid for unauthorize use of her US ticketing
  patents. Gurvey US Patent Nos. 7603321; D647910S. There was no license to
  suspend for six months by Judge Gonzalez ex parte in 2012 when Supple got an
  order signed. Petitioner is in excellent standing in the State of CA. Petitioner has
  no motive to be reinstated in NYS unless the court will agree that Petitioner is not
  subjecting herself to the jurisdiction of the court that does not exist. JL Part
  1240.2. Petitioner is owed considerable strict liability patent infringement damages
  from the SDNY defendants including Supple's clients at law firm Cowan Liebowitz
  & Latman and Live Nation under 35 USC 271.

         The justices of this court also engaged in ex parte communications with AG,
  defense attorney for its AGC staff attorneys who engaged in fraud and drafted a
  disciplinary petition with forged documents in 2008 and embossed the photocopied
  signature of 2002 chief counsel Paul Curran who was dead of cancer in 2007. The




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  AGC staff attorneys are believed to have conspired with Supple who was serving on
  the AGC as an executive aide. The staff attorneys and clerks gave (or Supple got)
  ex parte access into Petitioner's confidential files to corrupt the files further and
  inserted the documents admittedly considered ex parte by this Court. The inserted
  documents include evidence of Supple's ex parte communications with the SDNY
  magistrate commencing in 2012.

        Petitioner was admitted to the Third Dept. in NYS in 1985 and retired from
  the Third Dept. in 1998 when she organized a patent and production company with
  offices in California and New Jersey. All of Petitioner's Third Dept. data has since
  been removed from the NYS Office of Court Administration. The Third Dept. has
  been petitioned to produce its files by mandamus (Case No. 529146). The Third
  Dept. admits no ethics complaints were ever filed against Petitioner. Supple and
  this Court had to file ethics complaints with Third Dept. against Petitioner, which
  was not done, and the Thi.rd Dept. never sent Petitioner a notice of an ethics
  complaint filed.



         In addition, Supple was serving as a personal executive aide to former First
  Dept. Justice Gonzalez when Petitioner's serious US patent ethics complaints
  against the Cowan SDJ\TYlaw firm defendants were filed. The complaints related to
  admitted conflicts of US patent interest, filing defective patent applications at the
  USPTO, abandoning Petitioner's patent applications, withholding the files from
  Petitioner, and offering Petitioner an illegal retainer to invest in her patent
  applications in defiance of Buechel v. Rhodes, 285 AD 2d 274 (l8t Dept. 1999).

         Supple cop.Id never file a notice or appearance for the Cowan lawyers before
  SDNY in 2006 or continue in that retainer. JI.. 1240.6d. Supple and his firm,
  Hinshaw & Culbertson, LLP refused to withdraw from the Cowan firm's SDNY
  representation, resulting in an ethics complaint filed against Supple, that was
  ignored. Petitioner's ongoing ethics complaints against the Cowan lawyers were




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  also ignored and Petitioner received no orders to compel her USPTO patent files in
  response to those complaints or Cowan's answers to her complaints in defiance of
  due process of law. See Anderson v. First Dept. Disciplinary Committee, State of NY
  et al., 614 F. Supp. 2d 404 (SDNY 2009)(1-Ieadnotes, 15, 16)

        Suspiciously, in 2005 after Petitioner filed the first ethics complaints, an
  admonition notice was sent to Petitioner without jurisdiction when her license in in
  NYS was already retired by the Third Dept. seven years earlier. The AGC
  acknowledged Petitioner's claim of lack of jurisdiction and that the First Dept. had
  no legal power to enter any collateral estoppel notice against Petitioner because, as
  Justice Gonzalez conceded in 2012, Petitioner never appeared as an attorney in a
  representative capacity in any previous case in NYS. This means that by factual
  impossibility no attorney sanction could have been entered against Petitioner. That
  a previous attorney sanction was entered is the minimum requirement for
  jurisdiction in favor of the AGC First Dept. which the court never had.

        In 2008, the follow up disciplinary petition was manufactured by AGC staff
  attorneys with Supple's help. The documents concocted and mailed had forged
  signatures. Nothing further was cited by AGC attorneys in violation of First Dept.
  regulations. 22 NYCRR 603, 4, 603.9 The petition had the photocopied signature
  of 2002 AGC chief counsel Paul Curran, who left the First Dept ..AGC in 2002 and
  was dead of cancer in 2007. No current AGC member signed the petition.

        Petitioner was then absolutely entitled to production her complete state and
  files from the state in response to the petition including the ethics files related to
  the Cowan complaints. She never got the files. She never got the ethics files against
  Cowan or Supple. These files were critical to determine whether Petitioner was
  retaliated against in violation of the United States Constitution for filing otherwise
  proper ethics complaints .

         . Petitioner, a pro se litigant, had and retains the constitutional right to
  investigate whether she was being targeted and having process abused against her.




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 Erichson v. Pardus, 551 US 89 (2007). Petitioner responded to the First Dept. AGC
 in 2008 that they had no jurisdiction over her and had to produce the complete state
 files and ethics complaint files. They were never produced, meaning Petitioner was
 denied due process of law and deprived of her constitutional right to cross-examine
 adverse witnesses.

         In 2011, Petitioner filed an original Article 78 mandamus proceeding and
 still did not get the files compelled by Supreme NY, NY County (100774). Petitioner
 challenged the constitutionality of the ,Judiciary Law statutes that functioned to
  deprive her of her complete state files while process was being abused against her
  without jurisdiction. The case was transferred sua sponte and dismissed sua sponte
  by this Court, now with justices being defended by AG. Because AG was already
  defending the AGC staff attorneys who whipped up the frivolous petition
  documents, the judge was necessarily engaging in ex parte communications with
  the attorney for adverse parties; and the whole court became corrupted.

        On December 4, 2012, without Justice Gonzalez disclosing his ex parte
  communications with Supple, an order was entered suspending Plaintiffs already
  retired license for 6 months. The sanction was over July 2018. It was not removed.
  However, there was no license in existence to suspend. In addition, in the order
  ,Justice admitted that Petitioner never previously appeared as an attorney in a case
  before any ~'YS court, as is required for any admonition notice or petition based on
  collateral estoppel. JL Part 1240.2. No collateral estoppel petition was factually or
  legally possible. It appears the court wanted to deny Petitioner's retirement and
  restrain her illegally.

         The Third Dept. reported that no ethics complaint had ever been filed against
  Petitioner. The First Dept. AGC officers and Supple were required to contact the
  Third Dept. to file complaints against Petitioner in the capacity of attorney which
  they never did. Petitioner never appeared in the capacity of attorney explaining
  why the Third Dept. was never contacted. Acts of abuse of process by attorney
  grievance panel officers without jurisdiction are not protected by immunity.




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                           CONSTITUTIONAL VIOLATIONS

        First Dept. justices who were presiding over the transferred 2011 Article 78
 proceeding (11077 4), then had a conflict. AG was representing both the AGC staff
 attorneys and their justice supervisors at the same time. AGC attorneys had no
 legal right to send either an admonition notice in 2005 or a disciplinary petition to
 Petitioner in 2008 based on collateral estoppel..

        The justices defied the law and engaged ex parte communications with
 attorneys for adverse parties - the AGC staff attorneys and then with Supple.

        Petitioner moved to vacate Justice Gonzalez's 2012 order in 2013 as without
 jurisdiction. Wilcox v. Supre,ne Council of Royal A.rcanum, 210 NY 370 (1914). This
 court waited 3 ½ years until April 21, 2016 to denying vacatur, clearly to avoid the
 statute of limitation on wrongful state action, 42 USC § 1983. In its order, the
 court admits that Supple entered Plaintiffs confidential state files and inserted
 unserved documents ex parte and the inserted documents were considered by the
 court in denying vacatur of Justice Gonzalez's order.

        This means that now for the second time, the court had to be disqualified
  based on ex parte consideration of Supple. This time it was Supple's ex parte
  submissions as an attorney for adverse parties in the SDNY lawsuit (the Cowan law
 firm defendants).



        In 2017, Petitioner sent a follow up letter and filed a new original mandamus
  petition based on enactment of the JL Part 1240 amended statutes, to respondent
  Hon. Respondent Rolando Acosta. Petitioner was not asked to file for
  permission. In response, the Court sua sponte transferred Petitioner's petition
  (182-17) to the Second Dept. where the petition remains.




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        A judge must disqualify himself for engaging in ex parte communications
  with an adverse party's attorney, here each of the AG and Supple at different times.

        Now Petitioner's state files in the NYS Office of Court Administration
  Attorney Membership Office have been unilaterally altered ex parte. All
  Petitioner's Third Dept. data has been deleted. The only order that remains is
  Justice Gonzalez's December 4, 2012 order that was required to be immediately
  vacated but was not.. Wilcox v. Supreme Council of Royal Arcanum, 210 NY 370
  (1914). The April 21, 2016 order of this court is not even posted.

        Petitioner's state files were discovered in March 2020 to now suspiciously
  contain documents signed by SDNY Magistrate Henry Pitman with whom Supple
  engaged in additional ex parte communications before SDNY starting in 2012. This
  was the same time, Supple was engaging in ex parte communications with J"udge
  Gonzalez before the six month sanction was entered ex parte without jurisdiction.
  No due process was afforded Petitioner in either court, Supple's plan was to eng·age
  in ex parte communications by using_his concealed state AGC post to get and insert
  ex parte orders adverse to Petitioner's interests in multiple courts.

        Judge Pitman's orders must be vacated and a mandamus petition is pending
  in the Federal Circuit. Judge Pitman did not timely disqualify himself and the new
  Judge Schofield improperly did not vacate the orders, disqualify Judge Pitman, or
  disqualify Supple from further representing the Cowan defendants based on JL
  Part 1240.6d. Then Judge Schofield entertained further frivolous motions from
  Supple while denying Petitioner strict liability infringement damages against all
  SDNY defendants that made the case an arising under patent case until the
  exclusive appellate jurisdiction of the Federal Circuit.



                             MEMORANDUM OF LAW

         No reciprocal sanction can be entered against an individual or a respondent
  attorney without notice or opportunity to be heard, when the individual was




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 deprived of due process of law in the previous matter and/or denied a full and fair
 opportunity to litigate a sanction in the capacity of attorney. In re Gouiran 58 F. 3d
  54 (1995)(Citing Selling v. Radford, 243 US 46 (1917). A prose litigant is not the
 legal victim of abuse of process by the state. Petitioner got no due process from the
  state AGC, never got the complete files compelled or the Cowan ethics compelled in
  defiance of JL Part 1240.7, not by the State and not by the SD~ry Magistrate. The
 complete files are relevant to the issue of whether processed was illegally abused
  against Petitioner to gain litigation advantages for the Cowan lawyers in the SDNY
  strict liability patent lawsuit and at the same time to avoid liability for wrongful
  state action by state officers.

        An order that adversely implicates the constitutional rights of a litigant
  especially a pro se litigant can never be entered sua sponte. Linh v. Wabash R. R.
  Co., 370 US 626 (1B62). The order of Justice Gonzalez was entered sua sponte, the
  order of this Court dismissing the Article 78 petition (11077 4) without notice or
  opportunity to be heard was entered sua sponte in 2013, and an order was entered
  sua sponte by this Court in 2016 conceding consideration of additional ex parte
  illegal submissions by Supple insei:ted into Petitioner's confidential state files
  without a warrant. JL Part 1240.18. ·

         Those documents have now been discovered to include documents signed by
  Judge Pitman based on illegal ex parte sessions with Supple commencing in 2012
  and during which Supple was breaching Petitioner's attorney client privilege as
  attorney for the Cowan defendants. Petitioner's motions seeking discovery and
  signed subpoenas against the USPTO were ripped out of the SDNY file room by
  Supple also sua sponte. Then Supple was still not disqualified from the Cowan
  defendants' representation by the SDNY that allowed him to continue his illegal ex
  parte corruption both of the SDNY and the state files. JL Part 1240.6d.

         Petitioner challenges the 2017 sua sponte transfer of the mandamus petition
  out of the First Dept. to the Second Dept. without notation of the reason on the
  docket. (132-17).




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        Petitioner challenges the constitutionality of NJ's Judiciary Law when read
 in conjunction with NY's Executive Law subd. 63-1 that makes due process
 compliance in favor of an attorney respondent, impossible.

        Because AG has a duty to defend both AGC staff attorneys who manufacture
  and file disciplinary proceedings, and the justices who have a purely administrative
  non-judicial duty to supervise the AGC staff attorneys, the justices are necessarily
  engaging in ex parte communications with AG for their own defense and all
  communications become privileged. The communications with AGC staff attorneys
 become privileged. The Judges are then required to disqualify themselves, creating
  a Catch 22 and the respondent will never get the files compelled.

        The same theory applies to the order entered April 21, 2016 requiring
  Petitioner get the prior permission of the court when the court can't issue
  any further orders after engaging in ex parte communic;.ltions with
  adverse parties' attorneys. ___.l'hiJ; is a Catch. 22.



        Judge Pitman's notes entered without due process were discovered in
  Petitioner's retirement state files.>The Office of Court Administration files are
  likewise corrupted.
              ...
              ~
                      Now the SDNY Grievance Panel admitted entered reciprocal
  orders without notice or any opportunity to be heard to determine removing
  Petitioner from the roster of SDNY attorney. Petitioner did not receive due process
  in any prior matter.

        Judges Pitman and Schofield were and remain required by law to disqualify
  themselves and Supple from the SDNY lawsuit and failed to do so. They were
  petitioned to vacate orders after ex parte communications with Supple.



        Based on conceded ex parte communications with adverse party's attorneys
  while Petitioner was pro se in this court, Petitioner prays that the court vacate its




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 orders entered December 4, 2021 and April 21, 2016, explain why the court
 transferred Petitioner's 2017 mandamus petition sua sponte to the Second Dept.;
 and order that the matters before this court, the Second Dept. and Third Dept. be
 consolidated before the Third Dept. to prevent inconsistent judgments.

       Seven agencies of the State of NY are using Petitioner's ticketing and
 management patents without payment of just compensation in violation of the Fifth
                            I

 Amendment. Petitioner is entitled to have the ex parte orders entered without
 jurisdiction and due process vacated immediately from her record. Wilcox v.
 Supreme Council of Royal Arcanum, 210 NY 370 (1914). Petitioner's complete state
 files and the ethics complaint files against the Cowan lawyers and Supple must also
 be compelled to comply with due process and because they are mandated by NY
 statutes and are evidence of abuse of process and Supple's ex parte communications
 with state officers. JL Part 1240. 7

       The files in the Office of Court Administration show delinquency notices for
 dues not owing only since 2013, mysteriously after Justice Gonzalez's order was
 entered. For the time 1998 -· 2013 when Petitioner was already retired by the Third
 Dept. and she paid no dues, there is no delinquency notice.

 March 28, 2022
 Upper Montclair, NJ 07043                    /amygurvey/


                                              AMY R. GURVEY




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cc: Chambers, Hon. Lorna G. Schofield                                           t;J)      ~'.~

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United States District Court                                                     _. ("')
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                                                                                    ~          (A)

       Re: AR Gurvey i.·. Cow,w Liebowit¼ & Latman. PC, Lil!'! Nation. Jnc..:::5:.. i...)
       Instant Live Concerts. LLC, l'✓exTicketing, Mt'ke Gordon of Ph£sh~ ef al.


Dear Judge Schofield:
      Plaintiff has been hospitalized since early December 2020 (please see
 doctor's note attached} and respectfully requests that the Court accept this
 motion for reconsideration of the Court's order entered 12~2-21 as within time.
       Plaintiff moves for reconsideration under FRCP Rules 59(e), 60 (b) and
 Local Rule 6.3. Metzler Investments Gmbh v, Chipotle Mexican Grill, Inc., 970 F.
 3d 133 (2d Cir. 2020) settled the law on Plaintiffs' right to vacate and replead
 an amended complaint post judgment (which in this case was also post
 issuance of an anticipated US patent). Contrary to the court's order, Plaintiff
 previously moved for the same relief at least four tilnes under the 2d Circuit's
 previous 2011 decision in Grant Williams v, CiticQ(J,1 decision, 659 F. 3d 208 (2d
 Cir. 201 I) cited in Metzler. Plaintiff meets all criteria iterated in both cases to
 have been granted Rule 60(b) relief and a repleaded amended complaint post
 Judgment.
       More important, however, is the court's seemingly contumacious
 defiance of US Supreme Court mandates in patent cases. There is no such
 thing as "lachesn or late papers as a viable defense in a patent infringement
 matter. This is the law since 2017. SCA Hygiene Products Aktieba/~1. v. First
 Oualz;yBahJ!Products, 137 S. Ct. 954 (2017).




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       An inventor can file for infringement damages - strict liability or
statutory damages against any infringer - for the foll duration of patent
protection and in every instance is entitled to recover six ye~us of damages
retroactive to the date the lawsuit is filed. Ergo, the court's order flies in the
face of the lavv'. An issue in this motion. hov,evcr. will be when the effoctive
date accrued.
    Plaintiffs' first motion to vacate under Rule 60(b) and replead an
amended complaint post judgrnent vvas date stamped: filed and docketed on
April 22, 2010. It was printed in stellar fashion in Plaintiffs then pending
appeal to the 2d Circuit, 09-2185:10-4111, Vol. III, pages 671 et seq. that \\as
filed pre-pa.tent issuance. On ren1and to the SDNY, the anticipated patent had
issued. However, the essential docket entry had vanished into thin air.
Plaintiff was then denied the right to repkad four times to get infringement
damages for eight of the follo\, ing years, including by Your Honor.
       The other orders of the court demonstrate fa.cnia.l inconsistencies with
the court's current order, During hearing on November 29. 2016, the court
ordered it: would entertain sumrnary judgment motions \Vithout the rcpkaded
amended complaint. Plaintiff cited to many Federal Circuit cases and the 2d
Circuit's 2011 decision and order in Grum H7illiums v. Ciricor12., 659 F. 3d 208
(2d Cir. 2011 ), cited in "t:(Jet£,,ier. This is v..·hen the NY Legal Assisrance Group
had to request that the court separate Plaintiff and the Cowan defendant finn's
lawyer, Richard Supple, Esq, in the courtroom. Previously, the court notified it
 was hiring a special patent n1astcr, improperly charged Plaintiff's account
$10,000 to pay for the master, and then never hired the master. It took over
 two years to get the money refrmded on application of the NYLAG. Plus, this
 case is anything but a siinple malpractice case, but instead a conflicts of interest
 and fraudulent breach of duty case, \Vith prevailing six year statutes against the
 Co\van firm. The claim that Co\van inserted Plaintiff's proprietary technology
 into a PCT patent application for Legend Films, Inc., 02 US 14192, when
 Cowan admitted Legend's draft did not disclose patentable subject matter ;1nd
 then inserted Plaintiffs stolen .:on tent editing technology to create a patentable
 invention, docs not accrue until the US patent issued to Legend on February
  20, 2007. Emails said that Cowan was '~ji.1lloiving the clienr '5 instructions''.

       Most respectfully, the court should have spent more rin1e figuring out
 from the volumes of dockets in this case, the totality of what the Cowan firm




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did wrong in defiance of USPTO 1':nactitioner mandates via its associates,
patent of counsels and managing partners. The court should have allowed
Plaintiff discovery, and considered how much jurisdictional fraud \Vas
contained its client, Live Nation s 2008 Rule 12(b) papers that it had ;·no NY
                                  1



contacts'', all fraudulently filed. C(nvan also represents Jvfajor League Baseball
also infringing Plaintiffs patents but not a parry to this case. Mike Gordon and
Phish have been using Plaintiffs' patents since rv1r. Gordon's v..·ife 1 Susan
Schick, Esq., a former associate at Cowan, touted the virtues of Plaintiffs
inventions to the firm's partners.
      Plaintiff also vvon binding arbitration against the Co\van firm on August
4, 2009 after the case was prematurely closed and when arbitration was
suspiciously never ordered on the docket; but patent, patent rnalpractice and
conflict of interest discovery had been irnproperly stayed based on Cowan's
untruthful papers filed since 2006; and was never granted whatsoever.
       In the interests of justice and Plaintiffs property rights under the Fifth
Amendment, this Court n1ust a.llCJ\V Plaintiff to protect her valuable US
ticketing patents from infringers residing in this district. It has failed to do so
for 12 years, since the first anticipated U$ t_icketingpatents issued on October
 13, 2009 and November 1 2011.
                            j




       Plaintiffs company, LIVE-Fi.if Technologies' comments regarding the
 very unpopular rnerger of Live Nation and Ticketinastcr was posted on the
 DOJ's l'v1edia and Entertainment \Vebsite as entry "E'' in 2010 and severe
 sanctions for defiance of the consent decree and cornpetitive impact staten1cnt
 ordered in 2010 \Vere issued against the rnerged entity on January 8, 2020.
 Plaintiffs letter in opposition rernains on the site to this day, \vhile this Court
 has sornehow denied Plaintiff constitutional access to protect and get paid for
 willful and contributory infringement. In the rnerger proceedings in 2009 and
 2010, defendant Live Nation admitted it was distributing an infringing
 ticketing system in1ported frorn CTS Eventin1 of Germany for its ov:,·ncd and
 operated venues in NYC -- House of Blues, Irving Plaza and Roseland
 Ballroom- since 2008) but in this case seven attorneys at Baker Botts and
  Hinshaw & Culbertson swore under oath that Live Nation had no '"NY
 contacts" to answer Plaintiff's claims.
        If the district court denies this motion vvhich in good conscience it
                                                1


 should not, Plaintiff wi1i certainly appeal to the Federal Circuit.




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       Please be advised that Plaintiff \,:c1s represented by counsel early in the
litigation and is not prose by choice. Based on the 110\v established liaison
between Cowan's attorney ivir. Supple and Plaintiffs attorney Lee Squitieri,
Esq., Plaintiff\\·as forced to continue the case pro sc after Mr. Squitieri \Vas
somehow granted unilateral withdrawal in 2010 suspiciously within six
months after the first US patent issued.
      There can be no prejudice to defendants if Plaintiffs rnotion is granted.
                                                                        I
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                                                                               ,,
                                                            ,•   ...   / /.·
                                       Rcspcctfully<~bm._·.· itte, I, I.A.• i . - - - -
                                       / am ygurve"(_ ~ , , I
                                       Amy R. Gurvei;        1


                                       us Patentee I:'fro SC




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                                   The Mount Sinai School of Medicine
                                   Division of General Internal Medicine
   Mount                              Center for Advanced Medicine
    Sinai
Internal Medicine            Amy R Weissbrod-Gurvey
Associates (IMA)             315 Highland Avenue
Located at:                  Pvt
17 East 102''0 Street        Montclair NJ 07043-1026
7" Floor
New York, NY 10029


Ma11i r1g Address:
Mount Sinai Medical Center   December 14, 2021
Box 1087
One Gustave L Levy Place
New York, NY • 0029
                             To Whom It May Concern,
Phcne: 212-65$-855'1
Fax 212-831-8116
                             Amy Weissbrod-Gurvey has been admltted to Mount Sinai Hospital from
                             12/09i202 '1 to 12/14/2021 for medical treatment Please excuse her absence,

                             If further information is requested, please obtain written permission.


                             Sincerely,
                                                                                            _______    ,




                             Nicholas Scaizo. MD




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                                     AMYR.GURVEY
                                     US Patentee/Plaintiff PRO SE
                                     315 Highland Avenue
                                     Upper Montclair, NJ 07043
                                     PH 917-733-9981
                                     amygurvey@gmail.com


                                                                 UNITED STATES DISTRICT COURT
                                                                SOUTHERN DISTRICT OF NEW YORK
  Application DENIED as(J~rth1e!y. Plaintiff seeks to vacate the                           Gurvey v. Cowan, Liebowitz & Lathman,
  judgment entered on'MtW/7, 2017, under Rule 60(b). Plaintiff's                           PC et al.
  motion is based largely"le:Jn:;new evidence, the evidence of a
  patent. Rule 60(c)(1} pr;~ides that a motion under Rule 60(b}
  for reasons of newly disc;gvered evidence must be filed "no                              Case No. 06 Civ. 1202 (LG~           :n
  more than a year afte~ the entry of the judgment." Here,                                                             .~
                                                                                                                        ::,-   ,t5.
                                                                                                                                 ":

  Plaintiff filed the motion 'more than four years after the entry
  of judgment. To the extent Plaintiff's motion is based on
   other reasons under Rule 60(b}(6)'s catch-all provision, it stiH
   must be "made within a reasonable time." Fed. Rule. 60(c}(l)
                                                                                           Motion under FRCP Rules
   ("A motion under Rule 60(b} must be made within a                                       60(b)(6) and 15 to Vacate
   reasonable time ...."). Plaintiff's motion is devoid of facts or                        Judgment and Replead an
   ~i&<llh~'ri1t to support fjridi,:ig that it was made within a                           Amended Complaint Post
 re'asonatfle       time. Becau~·Plaintiffls Rule 60(b) motion to                          Judgment
   vac~6:P;g,denied as untirrltity, Plaintiff's motion for leave to
   aiit\efil:t if also denied. :,+lt',s well established that a party
   s~·ekfflg<tb file an amehcf#d complaint post-judgment must
·· ffrsfha\}~ the judgment~Vi<::ated or set aside pursuant to Fed.
   ~'. 011:tp .t 59(e) or 60(b};,. 'Metzler Inv. GmbH v. Chipotle
   Mi'xtci:in''Grill, Inc., 970 F-':3'd 133, 142 (2d Cir. 2020) (internal
   quotatron marks omitted):
 t\ ii.:;; \·_)(--;"                              \ t .


 rk~ tfet•k of Court is res~ttfu fly directed to close the motion
  •   '   •        .··,    ' f__              '     ,,. ) ' .
                                                                                                              I.
 at Ok't:'Nb. 435 and totmfHI a copy of this Order to Plaintiff,
 5,";?f;/r,,,~·-·: :'?                        ~ •ijf'                                                        <l
 thlt~h!" 0ecember 2, :Aft;.   1




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 N~w ~d~, New York ,,(ii':
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                                                                      Lom(A G. SCHOFIEL
              ,,
                          ...
                          ;·                                      UNITED ST ATES DISTRICT JUDGE




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       This motion seeks relief under Rule 60(b)(6) to vacate the 2017 summary
 judgment orders of this Court and to rep lead an amended complaint post
 judgment under Rule 15. This motion is fully supported by the 2d Circuifs
 decision and order in Metzler Investment Gmbh v. Chivotle Afexican Grill. Inc., 970
 F. 3d 133 (2d Cir. 2020) with no exception. Amy R. Gurvey, a US Patentee
 and the Plaintiff PRO SE herein declares to the truth of the following
 statements in support of this motion.
             ·-
       1. FRCP Rules 60(b), and l 5(a)(2)
       "A district court abuses its discretion when it 'bases its ruling on an
 incorrect legal standard or a clearly erroneous assessment of the facts.' ll City,;/
 New York v. Group Health Inc., 649 F.3d 151, 156 (2d Cir. 2011) (quoting Bronx
 Household ofFaith v. Bd. ofEduc., 331 F.3d 342, 348 (2d Cir. 2003)). This is
 exactly what transpired in this lawsuit since remand fron1 the Second Circuit in
 2012. 462 Fed. Appx. 26 (Feb. 10, 2012)


       2.   , Plaintiffs Rule 60(b) motion with amended complaint post patent
 issuance was duly docketed, date-stamped, served and filed on April 22, 2010 ·
 during the first appeal to the sua sponte dismissal orders of the district court
 entered April 27, 2009. However, somehow Plaintiffs motions were deleted
 sua sponte from the SDNY docket while the first appeal was pending (09~2185~;
 10-4111). The Second Circuit did not hear Plaintiff's claims for strict liability
 patent infringement damages in the first appeal because Plaintiff's first US
 ticketing patent - anticipated in paras. 16~ 18 of the Third Amended Complaint
 - issued fo1e·1nonths after the notice of appeal was filed by Plaintiff's attorney,
 0. Lee Squitieri. Squitieri then moved to withdraw contending the case was
 rigged because Live Nation had been dismissed under Rule 12(b) based on


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 blatantly fra~p.ulent jurisdictional papers. The Second Circuit in fact denied
 Plaintiff's mQtion under FRAP Rule l0(e) to add the patent into the appeal
  considering.the motions had been date stamped and filed by the district court.
                       •.' .:

  Plaintiffs es$ential motions were also printed in the Second Circuit Vol. Ill
 Appendix!~P· 671 et seq. with the date stamp of April 22, 201Q and the
  motions v~~hed by the time the appeal was remanded on Febrqary 10> 2012 .
               . ··•"-




        3.         :~@n remand, and in the face of the DC District Court.parallel
  orders in US.11. Ticketmaster and Live Nation, jurisdictional fraud by defendant
  Live NatiOi,l~~ this lawsuit was established. 1 The Dept. of Justice found that at
  least sine F~ruary 2008~ defendant.live Nation was importing aiticket system,
  from ETV 1Bfentim of Germany to 1nanage defendants owned a,d operated
  venues in NYC - House of Blues, Irving Plaza and Roseland BaBroom.
        4.              J:!owever, since 2012 Plaintiff never got her date stamped motions
  reinstated td:the docket or adjudicated. Nor did Plaintiff get patent discovery
  on the rerii~ed claims, or an amended complaint granted post !patent


  ----+IP+l'lJ4ii,i,:i;----
  1 In US   v. Tffk;tmasterandLive Nation, 2010 WL 975407, 975408 (DDC 2010) the
  competitive·jth'pact statement and consent decree signed and entered on Jartuary 25, 2010,
  found thats~ at least February 2008, defendant Live Nation was importp1g a ticketing
  and content management system from ETS Eventirn in Germany to services its owned and
  operated venub in NYC - House of Blues, Irving Plaza and Roseland Ballroom. In this
  lawsuit, eigqt~aker Botts and Hinshaw & Culbertson defense attorney swqre under oath in
  Rule 12(b) moving papers filed in April 2008 that defendant Live Nation had no contacts
  with NYS to:liAswer for Plaintiff's claims. Based thereon, defendant was dismissed from this
  lawsuit on April 27, 2009; and Plaintiff's Rule 60(b) motion based on fraud and Plaintiff's
  issued patent that defendant was willfully infringing, was docketed and date stamped timely
               l       ~   . ..                                                 :.             .

  on April 22,' 2010 and then deleted sua sponte from the docket by the time the first appeal
  was remaridcii'irom
                 .•\ '
                   ~
                                                                          wls
                       the Second Circuit. On January 8, 2020, defendant . sanctioned
                                                                            ~


  $80mil for cbt1tumacious defiance of the consent decree and competitive impact statement
  and the pmstriptions
              . : ;<
                       were extended until 2026.                            ~;
                                                   3




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             ~t;·\.                                                   '
             (_ :J;i~
             . ;.:'t-.'
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             ~ ~)tit                                                  ;
             : ~£h{
 issuance. ~lthis time, the case was then an "arising under" patent case based
 on the US patent claims that had thus far issued to Plaintiff. Nonetheless, the
                   -~
 claims that did issued in that patent had been prejudiced by the Cowan
 defendants Mid certain priority dates had been forfeited requiring additional
 continuati~:~pplications to be filed. Plaintiff was never allowe4. to prosecute
 these clauhiknd delay damages in this court in violation of the
             ,.-~:..· .
             I•   t•.~••
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 Amendmetit~:NeuroRmgirv. N_athLaw Group, 781 F. 3d 1340 (Fe~i. Cir. 2015)
                  G~                                                  ~

        5.        \in addition, the court never ordered the mandatory :
                   • i

 disqualifical!ij,n of defense counsel Richard Supple of Hinshaw & Culbertson,
 LLP from tlie Cowan law defendants' representation. Judiciary baw Section
 90 and Judidary Law Part 1240.6d both required withdrawal or:
 disqualific«Jtt.on.
                   ,; .,.;~
                                                                      L
        6. ~~.;At
            ~-vj
                  all times relevant, Supple was a concealed executive member of
 the Appell~
         .
             Division First Dept. attorney grievance committee:{'' AGC")
                  ~: :-,,·


 dually servtdg as a state officer\vhen Plaintiff's ethics complaints against the
 Cowan defendants were filed seeking state orders to compel m~datory return
  of Plaintiffsc~omplete patent files. Cowan defendants had twice moved
  unilaterally~ withdraw from Plaintiff's applications at the USPTO admitting
  to a confl~f interest while defying practitioner mandates. 37 CFR 2.10.
  2.19.10.66;1~.116.                                                  )               :\f
        7. J4~nbeknownst t<? Plaintiff, Supple was abusing his concealed state
  post to ent~~d corrupt Plain1:iff s Third Dept. retirement bar files as Cowan
  defendants~gent to gain unfair litigation advantages. An orderiofthe
  Appellate lJ.ivision entered April 21, 2016 so found. In addition; Cowan
  defendants,•·fthd Supple called lawyers and patent lawyers all over the tri-state
  area to bri~tt Plaintiff from her field of invention and prevent Plaintiff from
  retaining ·another patent attorney to take over prosecution at theUSPTO.
                                              4

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                '
  Certain of th,ese
                           ~,
                    attorneys include Allan Chan and Charles Ruggiero
                      .
  abandoned.J>laintifrs applications after receiving phone calls from Supple as
                  ...,~"~· t~
                            ;,.



  Cowan de~eijciants' agent Supple defamed Plaintiff and did not fisclosing the
  fraudulent t?reaches of duty by the Cowan defendants. Fourteen pf Plaintiff's
                *. f i:t.                                                   t:
  continua~qJ;iiiand divisional applications mysteriously went ab~~oned by
           ,,,,,t,
  Chan and:~ investigation ensued at the USPTO Office of the Commissioner
  against Chan and Ruggiero.


           8.          .nrhere is no dispute that in 2002 the Cowan defendants tried to
                          )'


  employ Plaffitiff as a California. consultant under false pretenses to achieve an:
                  •       , ~. {                                             >




  interest mL,Jpintiff's patents. This type of retainer is per se unlawful. Buechel v.
                  ,',;.'


  Rhodes, 28•jJ,fi\D 2d 2854 (1 st Dept 1999). The Cowan defendann, told Plaintiff
                   <,~ )~ :h. '




  they misse\1 out op. the Internet bubble". Two rainmaking partllers William
       0



  Dippert an~ichael Wolfson who were supposed work with Plaintiff for
  California patent clients, exited the firm. Dippert told Plaintiff that the firm
  was in poot~~nancial condition. Toe Cowan defendants then delayed sending
  Plaintiff a ~suiting agreement after they paid a headhunter to recruit Plaintiff
  By this ti~}tplaintiff had already introduced California patent client into the ·.·.
  firm, Legefiid'Films of San Diego. Legend's founder's owed Plaintiff 3% of'thif
  stock at f()tlfider's level for work performed in California since 1999.
                ; ,j,'.f

           9.          ;Cowan defendants repudiated the offe:c.ed consulting· contract on
  May 7, 200~:two weeks after it was signed, and then tried to get but of paying
   the headhuffler her commission.


           lQ.-:i1,~onetheless 1 the fi1U1's registration codes were contained on the if
   cover she~~oftwo defective patent applications filed for Plaintiff' on May 22,
                                                   5




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              •   -:,r.




 24 and 2002._ The application filed by two different Cowan attorneys -- Mark
 lvlontague and R. Lewis Gable - that were insufficient to protect Plaintiffs
 priority dates. Two provisional applications expired and two formal
 application ·went abandoned. All were forfeited in 2003. In the interim,
 Plaintiff caught night staff and a secretary, Jacqueline Revander, copying
 PlaintifPs inventorship files and client lists into the firm directories without
 authorization.


        11. · ·Thereafter defendants Midge Hyman and William Borchard sent
 Plaintiff to California to work with Legend Films. Legend offered Cowan
  defendants what they asked for, i.e. 1 a hybrid agreement for patent legal work
  inclusive of a stock interest in the c01npany. Cowan defendants told Plaintiff
  no stock had been offered, which was a-lie. When Plaintiff returned to New
  York, she was locked out of defendants' office by defendant Hyman and could
  not get her patent files and client lists returned.


        12. '-Within a year, Plaintiff's applications filed by Cowan defendants
  expired and were ultimately forfeited,


        13.       -As a matter oflaw, Cowan defendants were serving as Plaintiff's
  patent attorneys in spite of what they falsely argued to this court. Cowan's
  patent of counsel, R, Lewis Gable, was terminated. Discovery of an email
  containing the names of defendant Christopher Jensen and Mark Montague
  says that /(Cowan was following the client's instructions'', Based on Cowan
  defendants\ tortious interference. Plaintiff lost her 3%1 stock interest in Legend
  Films for work performed in California since 1999. Then Plaintiff discovered
  that her content editing algorithms had been inserted into Legend 1 s PCT
                                             6




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 application {q achieve a patentable discovery. This application was filed by
 Gable witnqµt notice to Plaintiff on May 6, 2002 (PCT 02US 14192) and
             J ~'                                                       \,.




  Plaintiff's name was fraudulent omitted as a co-inventor of the application.
 Ultimately;:the application as filed achieved a patent on February 20, 2007, the
  second dat~.~at Cowan defendants attempted unilateral withdra~al from
  Plaintiff's r~presentation at the USPTO. Cowan detendants were never
  granted withdrawal by the USPTO for defiance of practitioner conflict of
  interest marilates.


        14.; Gi.9wan defendants then extended their scheme to the attorney
  grievanceicdfiunittee via Supple. Cowan defendants unlawfullyrhired Supple~·
  after PlairitiWfiled an ethics complaint. No attorney serving on the AGC when
  an ethics cciWiplaint is filed against a client can accept the retainer of the
  reported fnin if the client files an ethics complaint or sues. JL Part 1204.6d.
                 1\4,!l

        15. - 4Plaintiff who was retired by the Third Dept. in l 998 1was never
             1



  under the ~iM'sdiction over the First Dept. That Cowan defend.an/ts knew this
  is provenb-Y,-~efendants' payment of a fee to the State Bar of California in ',
  March 200~0 reinstate Plaintiff to active from inactive status sdthat Plaintiftl:
  could conslilt on patent work for California clients.


        16. _; Another plaintiff who had a coincident in this court,: Linda Grant
  Williams, alleged she was boycotted by several law firms that were
  represen~lients harboring conflicting interests with her business method
                   ,,
  for financibfairport terminals. Grant Williams did not get a patent and her
  case was t~anded to the state to adjudicate state Donnelly Actjdamage
  claims. GrtWlt Williarns, however, was granted the right to replJdd her
                                             7




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 complaint1 i{frst judgment on appeal to the Second Circuit. Omni' Williams v.
 Citicow. 65~¥r. 3d 208 (2d Cir. 2011).
       17.            Plaintiff's case if far more compelling against both the Cowan
 defendant lawyers and clients defendant Live Nation and by Mike Gordon of
                      'l 1
 Phish. G(?r99n is married to a fonner Cowan senior associate, Susan Schick.
                  ,    ~-
 In 2002, Schick who lauded the significance and value of Plaintiff's inventions
 to the live fuusic industry, enticing the firm partners to offer Plaiiltiff the illegal
             , t ...  '
            to mvest in her patent applications. Schick pleaded that she be allowed
                                                                          K


 retainer
 to work oil~aintiff's patents. The firm realized there was an irreconcilable
 conflict of irlierest when defendant Live Nation organized a subsidiary,
 defendant fm)tant Live Concerts, to distribute live CDs to ticketholders as local
                 . }.


 clubs in Bo~'tpn, and then began negotiations to acquire a recording patent to
 expedite CD·handouts.                                                    'i




       18., ~However, Cowan defendants went too far and begari organized
 corruption\fu} Plaintiff's bar files. As Cowan defendants' agent, Supple, was
 never allow,#d to be retained. Supple was unlawfully dually serving as a state
 AGC offic~ Cowan defendants and Supple conspired to commit crimes in
                      i!

 Plaintiff's•mirement Third Dept. bar files, defame Plaintiff to attorneys and
 patent lawyers, and engage in wrongful state action with other AGC staff·
 attorneys and officers in Plaintiffs confidential state files. The plan which was
 successful ¾s to have Supple's AGC supervisor; Judge Luis Giimzalez, enter:
 a sanction ~tder sua sponte without notice or jurisdiction. Plaintiff was
 already 14'~ars retired in NYS and there was no license to sanction.


        19. t?'1>rders that adversely implicate the constitutional rights of litigants
 can nevdii1entered sua sponte. Link v. Wabash R.R. Co., 370 BS 626 (1962).
                                                 8




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              .            ·',




 This applieslb Judge Gonzalezls order that was given to Magistfate.Pitman              'i\
                ~~;                                                                .


 and orders entered by this Court based on that order.
                         . ·, ~                                          .


        20.          Judge Gonzalez's order entered without jurisdiction or an
  opportunity to be heard has been the subject of a motion to vacate for lack of
 jurisdiction .before the State that technically, must be granted as part of the
                    ,r     )"'                                           I



 judge's adnrinistrative
             :...
                         duties. Unfortunately, Judge Gonzalez is no longer on
  the bench. This required Plaintiff to move for mandamus relief against the new
                                                                        ~.             ..


  presiding justices of the First and Third Dept. to get the order vacated and to .
  compel prdouction of the complete files corrupted by Supple as Cowan
  defendants' :t~ent. Wilcox v. SUJ!reme Councjl of.Royal Arcanl!m, 2~0 NY 370
  (1914). These motions remain pending.                                 J




        21. GUJtimately, and separate from defendants Live Nation, Instant
  Live Concetts, LLP and Gordon for Phish, five NYS agencies took Plaintiffs
                            '
  ticketing ~~ts without payment of just compensation in violarion of.the
                .        ~-
  Fifth Am8n&nent.
              >; ,~\1:
                     . +t        ~




        22. i)~owan defendants who with Supple, instructed and orchestrated
  the scheme,:are each jointly and severally liable for wrongful state action
  pursuant to)l2 USC §1983, 1985, 1988, attomefs fees and costsf and
  violations ditthe Donnelly Act, NY's General Business Law, Section 340. The
  diabolicaI:-~ns rea and malice exhibited by Cowan defendants and Supple
  includingit)igaging in criminal acts in further of an illegal enterprise with AGC
  officers mti~'be punished and assessed for damages by this Court. Manifest
  injustice is'&!arly established.




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Case
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                           .. ~-
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                            :···~,

        23.                 "in
                             ./
                                its summary judgment order entered July 6, 2017,.the court
  admitted it llfVer
               .,,.._
                      granted Plaintiff an amended complaint post patent issuance '
                            ,          '
  when Plaintiff was owed that complaint pursuant to prevailing p~tent and
                      \    ,_!,, .. ~ ,.




  Federal Cµ-~it law. The court admitted it never granted discovety ordered by
                       it"i-J,·.

  the Secon~ircuit in the 2012 remand order. The court further 11~ld sua sponte
                      • l         •t

  it was hold~ Plaintiff to standard of a NY attorney and referred to the sua
                  '        f :•        ~


  sponte ordC!)~ntered by Justice Gonzalez without giving Plaintiff an
                            t,     _j•




  opportunity tb be heard. The court conceded it never granted an amended
  complaint~ did not disqualify Supple as it was required to do). Moreover,
  the Court n#ker heard Cowan defendants' boycotting torts and ~famation of
  Plaintiff ter~inerous
               .,      ,
                        attorneys and to the AGC via Supple as its· agent which
  are acts ai4Af~ and abetting wrongful state action. Zebrowski v. Wells Fargo'
  Bank, 657<~~Supp. 2d 511 (2009)

                                 ~


        24.                 · Previously; in 2015 the court improperly ordered Plaintiff to pay
  $10,000 int<J~he SDNY Cashier in 2015 for a special patent master, Plaintiff
  paid the fe~~~d no patent master was ever hired. It took 2 1/:i years for
  Plaintiff t<i ~ure a refund.


        25.·'l:>Tbis court must now comply with the law of the circuit and offer
  Plaintiff the: right to rep lead her operative 2008 complaint post judgment.
                                  r
                                           MEMORANDUM OF LAW


        26. ~ft is well established that "[a] party seeking to file an amended
  complaint-p'Bst[-]judgment must first have the judgment vacated'br set aside
  pursuant tolled. R. Civ. P. 59(e) or 60(b)." Ruotolo v. City ofNew~York, 514
                                                        lO




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  F.3d 184,       :191 (2d Cir. 2008). "[I]t would be contradictory to entertain a
  motion to~end the compl~int" without "a valid basis to vacate'the
             -di                                                     ,
  previously :~t.ered judgment." Nat'/ Petrochetnical Co. ofIran v. MIT :-:,10/t Sheaf,
                               1,l.1·


  930 F.2d 240, 245 (2d Cir. 1991). '~To hold otherwise would enable the liberal
  amendmenf"\folicy of Rule 15(a) to be employed in a way that is contrary to
  the philosophy favoring finality of judgments and the expeditious termination
  oflitigation." Grant Williams v. CiticQ!R., 659 F. 3d 208 at 213 (brackets and
                  !            ..    ,
                  :_· ·, .¥'f            !                                l


  internal qJotation marks omitted) (quoting Nat'l Petrochemical, 9)0 F.2d at
            -' ;.. ·::-'-
  245).     ., ~h11. ·
                       1.;                                                .
        27.' 14tule 60(b) provides that a court may relieve a party from a final
  judgment ftH, the following reasons:

     (1) mis~~le, inadvertence, surprise, or excusable neglect;
                  •1      r-fl.              ·        ·   .
     (2) newly-discovered evidence that,:with reasonable diligence, could not
     have~ discovered in time ~ move for a new trial under Rule 59(b);

      (3) fraud (whether previously called intrinsic or extrinsic),
                                                                           t
     misrepresentation,
            .,
                        or misconduct by an opposing party;
                                    '~
                               ~'~

      (4) the j"!lnment is void;
                  · ta:k
      (5) the jutigment has been satisfied, released, or discharged; it is based on
      an earH&f judgment that has been reversed or vacated; or applying it
      pro~~ely is no longer equitable; or

              .qpier reason that JUS
      (6) anymH,_                . tifies rel'1ef .
                      ~ :t.!;1




         28. ::f.Jhe Second Circuit has described Rule 60(b)(6) as a catch-all
                                •• .)!••


  provision-~ no outside_ statutory limitation that "is properly i.{ivoked when
                                                 11                       1
              ;        -.;:,




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 there are extraordinary circumstances justifying relief, when the judgment may
 work an extreme and undue hardship, and when the asserted grounds for relief
 are not recognized in clauses (1)-(5) of the Rule.') l'lemaizer v. Balzer, 793 F.2d
  58, 63 (2d Cir. 1986) (inten1al citations omitted). Subdivisoin (6) has no statute
  of limitations.


        29.    Notwithstanding the foregoingj the Second Circuit has held that it
  may be appropriate in a proper case to take into account the nature of the
  proposed amendment in deciding whether to vacate the previously entered
 judgment. }vat'! Petrochernical1 930 F.2d at 245 (internal citation omitted;
  brackets in original). The Court considered this dicra in two decisions that
  warrant discussion: Williams v. Citigroup Inc., 659 F.3d 208 (2d Cir. 2011) and
  Indiana Pub. Rct. S:vs. v. SAIC, lnc.i 818 :F.3d 85 (2d Cir. 2016).


        30. ·. In H'illiams, the district court granted the defendants' motion to
  dismiss with prejudice and entered judgment without ever providing the
 · plaintiffwith·an opportunity to replead. See 659 F.3d at 211-12. The facts of
  the instant case are similar but far more compelling. In Williams, the plaintiff
  n1oved pursiia.nt to Rules 59(e) and 60(b) to reopen the judgment and obtain
  leave to amend her complaint. Id. The district court denied the motion on the
  grounds that the p.laintif:f failed to "demonstrate any basis" for relief from the
  judgment arid to "explain why she should be granted leave to replead at this
  stage when she failed to request an opportunity to replead" at an: earlier stage
  in the litigation. Id. at 212.
         31. · Conversely I in the instant case, Plaintiff has been attempting to
  amend her complaint since her first US ticketing patent issued on October 13,


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         2009. PlahiWh- duly filed a Rule 60(b) motion with amended coniplaint
         pursuant to   1s USC §271, 284, 285, 286 that was docketed and date stamped
         on April 2~~'.)010. The motion with amended complaint were bqth printed in
                       I'•

         Plaintiffs~ appeal to the Second Circuit (09-2185;10-4111); however
         because notj¢e
                   . .
                        of appeal was filed pre-patent issuance. the Second. Circuit
                                                                             ~   .

         denied Plaintiff's applications under FRAP Rule lO(e) to bring the patent
                       (- t!:
         claims into that appeal.
                   '.~                                                       .

               32. i '.irt1hereafter since remand in 2012, Plaintiff has been dompletely
         railroaded ~t of this court both from conducting discovery on the remanded
         claims and' "W get an amended complaint granted post patent issuance.
               33. itiji Wi'lliams, the Second Circuit reversed the district court's denial
         of the mo~~·to replead. The Court began by recognizing the well-established
         rule that a i!)laintiff seeking t.o amend a complaint post-judgment 'must first
                           ·,


         have the judgment vacated pursuant to Rules 59(e) or 60(b). ld.    at 213. It then
         observed tha~ "it might be appropriate in a proper qise to take into account the
                         1 r
         nature of th\l!tproposed amendment in deciding whether to vacate the
                    •. •'i

         previously·~teredjudgment." Id. (quoting Ruotolo, 514 F.3d at 1'91). From
         these form:utitions, the Court reasoned that "post-judgment motions for leave
         to replead •hst be evaluated with due regard to both the value cit' finality and. 1

         the polici~~bodied in Rule 15." Id. An issued US patent anticipated by the
         previous ~~plaint is considered new evidence under unanimous decisions of
         the Federhl:¢ircuit.


               34. ~hen in Williams, the Second Circuit then went on to analyze
         Foman v. ~is> 371 U.S. 178, 83 S.Ct. 227, 9 L.Ed.2d 222 (196i; °for further:
         authorityi ~ere, the Supreme Court addressed a post-judgmentrootion to ,


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 amend thelimplaint. See 371 U.S. at 179-81, 83 S.Ct. 227. The ;laintiffhad
                  ~itim seeking to enforce an alleged oral agreement reg.~ding the
                  i;', "'',                                               •

 asserted a
 amount she·:~tood to inherit from her father's estate. See id. at 179, 83 S.Ct.
                        "(,'


 227. The district court dismissed the complaint for failure to state a claim on
 the groun~,.......tpat
                  t1 ;
                        the alleged agreement was unenforceable under the statute of
                                                                         I:.




 frauds. Id. Judgment
             .      ~
                      was entered. Id. The next day I the plaintiff moved to
                          .                                              ~




 vacate the j_\ldgment and to amend her complaint to seek recovery in quantum
                       ~ 11-,                                             (
 meruit. Iri ~e district court denied the motion without explanation. See id. ·
                  ·~
                  .,                                                      '




 The Sup*™i Court reversed. It construed the motion as one properly filed
              :         j)'

 pursuant iciJ{ule 59(e). /d. at 181, 83 S.Ct. 227; and, against the backdrop of a
 plaintiff wlKPwas never afforded an opportunity to replead, the Court stated:
                          L
       11  Ru1e·1s(a) declares that leave to amend "shall be freely given when
    justice s<i'l~quires"; this mandate is to.be heeded. If the underlying facts or
   ·circumst~ees relied upon by a plajntiff may be a proper subject of relief, he,
  . ought tq ~afforded an opportunity to test his claim on the mq_!its. In the
    absence ¢Kany apparent or declared reason-such as undue delay, bad faith
             -"'~-~~/<.                                                 'l'~

    or dilatorf'inotive on the part of the movant, repeated failure to cure
    deficienci~ by amendments previously allowed, undue prejudice to the
    opposingtB&tY by virtue of allowance of the amendment, futilicy of
    amendme.qt, etc.-the leave sought should, as the rules require, be "freely
    given" .. · ··                                                    t
                  ' r·: '                                                     \

          Of c1~rse, the grant or denial of an opportunity to amend,~ within the
    discretion·      bf the District Court, but outright refusal to grant leave
             . l<>y•··"'                                                      ··•
                                                                                  without
                                                                                       ..

  · any justifying reason appearing for the denial is not an exerciStt of discretion;
    it is ~erely .'abuse of that discretion and inconsistent with the spirit of the
    Federal :'Rules.
              '. ·t··\.;
                          Id. at 182, 83 S,Ct. 227. It follows that it is an abuse of
                                                                         'i

    discretion: fo deny a motion - to prevent a "manifest injusticet although the
    Court difiiot say so explicitly - when the plaintiff was never given an
    opportunity to replead in the first place."


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           35. ,iBased on the principles of l:?oman1 the Second Circuit reversed the
                            •;:•


     district court's denial of the post-judgment motion to amend in Williams. In
                                   ..·                         .               i
     doing so, t~e Fourt explained that Fornan "makes unmistakably .flear,• that a
     plaintiff need not "seek leave to replead either together with her response to the
     motion to ~miss, or indeed prior to the district court's entry of judgment."
                 ..   I., .· ~
                       .,     ,                                                .~·
     Williams, 65~ F.3d at 214.
                              ;1




           36.          :ih Indiana Public Retirement System v. SAIC, Inc., 818 F.3d 85 (2d
     Cir. 2016),!ffi.e district court granted in part and denied in part a motion to
     dismiss a ~(-amended complaint. 818 F.3d at 91. In its decisio*, the court
     granted ~,-laintiffs leave to amend the claims that it dismissed •without
     prejudice.• <t#' id. The plaintiffs did not file an amendment within the time
     allotted, hciW.ever,
                  : ,...
                          and proceeded with their claims that had survived the
     motion to dismiss instead. Id. The defendants, meanwhile, mov~d for
     reconsidera'tlbn. Id. The court granted the motion for reconsideration and
     reversed c~j'se. See Id. On reconsideration, the court granted th~ motion to
     dismiss irifflll and dismissed allthe plaintiffs' claims with prejudice. Id. It then
     entered jtid"g}nent for the defendant. See Id. The plaintiffs moved to amend or
     vacate the }lttigrnent and to file a proposed second amended con.¥plaint. Id. The
     district cotttt:denied the motions on the grounds that the plaintiffs had failed to
     demonstra~any grounds for relief under Rule 60(b) and the proposed
     amendmenfilvould be futile. Id. at 92.


           37. 1~¥Again, the Second Circuit reversed. As in Williams/lth.e court
     stated firs1tlfflat a party seeking to file an amended complaint post-judgment
     must firsfhi~e the judgment vacated pursuant to Rules 59(e) or 60(b). Jd. Thee
                                                                                              .}


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                             ·t;·
              Court no~that Rule 60{b) "authoriztl.S a court to grant relief frcirn a final
              judgment     fdr 'any ... reason that justifies relief.' " Id. at 92 (ellipsis in original)
              (quoting Fetl. R. Civ. P. 60(b)(6)). Then the court articulated the"formulation
              from NatiorfJ.i Petrochemical: that "it might be appropriate in a proper case to
              take into ac¢hunt the nature of the proposed amendment in deci~ing whether
                           I I\~ .

              to vacate the'previously entered judgment." Id. (quoting Williams, 659 F.3d at
              213).
                      38. t:atfhe SAJC Court noted that the district court "denied4eave to
              amend und~r Rule 60{b)( 6) solely on the ground-that amendmedt ... would be
              futile, a ~ination that the Second Circuit must review de no-vo. 11 Id.
                                '
              (citation a~ifootnote omitted).
                      39. <~['here, however, the court concluded that the amen&ment would
              not be futUi~d reversed without "rea,ch[ing] th[e] issue" of whether the
              district   coutf abused its discretion in rejecting the plaintiffs argument that the
              judgments~buld be set aside because of newly discovered evideice. /d. at 92
              n.4.
                      40. eJ_n the instant case, there is not only in-court fraud and deceit and
              newly disc~\!ered evidence in the form of the first US patent issued to Plaintiff
              that was p:re}Jdiced1 delayed and irreparably damaged by the Cd\van
              defendani~fraudulent breaches of fiduciary duty, but Plaintiffs \:!artier
              motions w~te deleted sua sponte from the docket. Thereafter there were
              additional;Mmes and wrongful state action in Plaintiffs confide\itial state files
              by CowanraEfendants and their agent Richard Supple 1 and defamation of
              Plaintiff TR~ sum total of the illegal enterprise resulted in unserved and forged
              documents')b'eing inserted into Plaintiffs confidential state files .a!nd sua sponte
              state orde~ing entered into Plaintiff's file without jurisdictionY


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                                           ID #:1149


                 41. : -©n April 21, 2016, the Appell.ate Division found that Supple and
           PlaintifP s original attorney, Squitieri, both entered and corrupted Plaintiff's
                        . •.
           Third Dept'!fetirement bar files without a warrant in defiance of JL Part
           1240.18 and'inserted unserved and forged documents. Thereafter, Supple still
           did not withdraw
                        .
                        •.)
                            from the Cowan defendants' representation as       ne was
           required to d,b. The not only did not mandate that withdrawal (JL Part
           1240.6d) but-allowed Supple to file premature and frivolous summary
           judgment mbtions without any discovery conducted in favor of Plaintiff. A
           numerous·•ber of genuine issues of material fact existed at that time. '\


                  42. ,~lJuring hearing op November 29, 2016 the court set a summary
           judgment s~edule, seating the parties apart in the courtroom, arld denied
           PlaintifP s-c:tbss motion o.n conceded grqund that no amended complaint post
           patent issulihce had been grant~.4- . .                             1

                 43. f.~aintiff has never seen the documents illegally enteied by Supple
                    .         ·,.,                                             /•
           into her statf':files as Cowan defendants' agent, and has not beerfserved with
           · Cowan defendants' answer to her ethics complaint. Upon belief/ the
           complaints"'Were removed by Supple. See Anderson v. FirstDeJ}t. DisciJ,linazy_
           Committee d)ff/ Stat~ of_NY, 614 F. Supp. 2d 404 (SDNY 2009)(H&dnotes 15,
           16) finding©hristine Anderson1 s claim that when a reported attorney is being
           representeEt'-Y an AOC committee member of chief counseli the' client's ethics
           complaints~~ "whitewashed" 100% of the time)


                 44. ;:~N·o disciplinary action may be taken by the state AGC. offices
           except agai'&t an attorney in a representative capacity for a client. The draft
           petition pret\ared in 2008 discovered by Plaintiff, suspiciously hid the
           embossed-signature of Paul Curran, Esq., a 2002 AGC chief counsel who was
                                                                                              , ..
                                                     17                                         '




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              ; ;'!1
     dead of c ~ in 2007. Curran was also a former partner with Cowan partner
     William B<>fShard and left the AGC in 2002.
           45.      ~oreover, only the Third Dept. had jurisdiction over Plaintiff in
     the capacity:~f an attorney for the time she was admitted in NYS. ( 1985-1998).
     Ergo, the orders
               . ,._,.( of this court entered in 2015 and 2017 sua sponte. finding facts
     not in the r~rd were improper in that they failed to give Plaintiff an
     opportuni~~ be heard. Link v. Wabash R.R. Co.• 370 US 626 (1962).
                 , 'i~
                   ··r.J

           46. · :i~f-should be noted that (1) the di.strict court in SAIC~d permitted
     amendmertt1after its first decision on the motion to dismiss; (2) tile plaintiffs
     had not av:iued themselves of itt but were able to proceed with their surviving
     claims; (3Y,~'reconsideration, the district court dismissed all thei:plaintiffsr-, s
     claims inclUiing the theretofore surviving claims with prejudice;~prohibiting
     amendment\vithout providirtg•ajustification; and (4) the plaintiffs then were
      unable to prsceed except by motion for relief from the judgment~-See SAIC, 818
     F .3d at 91-911. This history parallels the procedural pattern in Foman and
      Williams; t:lf~nly key distinction in SAIC being that the plaintiff§ had -   and
      availed th-effl~elves of- one opportunity to amend while the pl~tiffs in
     Foman arutijp"z1Iiams had none. Notwithstanding this distinction, the cases-
      SAJC, FonzUtl; and Willlams -    are consistent.
                  '.:t\
            47. -~ the case at bar, by contrast, Plaintiff had no opportunity to
      amend her~mplaint post US patent issuance whatsoever, the essential
      motions~- unlawfully deleted from the record, and Plaintitrs-t:.essential
      motion to ~ualify defense counsel that were required to be granted, were
      impropeiff!enied.


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                  .• .r;
                   -~i>.r




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        48. ;:t;.i*he
                  '/ ~
                      Second Circuit will "review the district court's denial of a
  post-judgment motion for leave to replead for abuse of discretion: '1 Williams,
                    '\                                                       .


  659 F.3d at 212.
        49 .. _,1    Jp. tlris case Plaintiff asks this court to "vacate the judgment and
                    ;.,.;,
                                 1



  grant leave to replead to correct clear errors of law I unilateral corruption of
  case docke~~nd records, and to prevent manifest injustice."
             ; ~~$:"
             / ¼'
        50. · l}nder the catchall provision of Rule 60(b)(6) that encompasses
                      ~-

  any "reas6¥ffuat justifies relief," Plaintiff argues that the Second-Circuit's
  'strong prefetence for resolving disputes on the merits' " is properly followed in
  this case (q:u,oting Williams; 659 F.3d at 212-213).


        WHEREFORE, Plaintiff prays that her motion to vacate the summary
  judgment,o.t4ers of the court and to replead her complaint post judgment be
             .. '     r·\

  granted in a}\. respects.                                                .,,

                                                                l
  Dated: Nol/i!mber 19, 2021                          AMY R. GURVEY
  Montclair,MJ                                        ,IamyguJe;)
                                                   ( . ,// j //7,.,--
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                                 CER'TTFICATION OF SERVICE


               Plaintiff pro sc Amy R. Gurvey decla.res under penalty of perjury that on
         December 21, 2021 she served a true and accurate copy of the\\ ithin 1v1otion
         for Reconsideration upon attorneys fur defendants in this 1,nvsuit by dcpositmg
         a true and accurate copy of sa.1ne in mailbox duly n1ainta1ncd by the US Postal
         Service. The envelopes were addressed as follo\.\'S:


                               A. Iv1ichacl Furman, Esq.
                               Furm;1n. Kornfeld and Brennan, LLP
                               6 i Broadway
                               New '{ork. NY 10006
                               Hinsha:w & Culbertson, LLP
                               800 Third A venue 1Yh F.L
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                               Greenberg & Traurig, LLP
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                               Albany, NY 12207                      ,       1


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                      Case 22-725, Document 3,ID
                                               04/07/2022,
                                                 #:1153    3293143, Page83 of 87 5




                                    CERTIFICATION OF SERVICE


               Plaintiff pro sc Amy R. Gurvey declares under penalty of pc1jury that en
         December 21, 2021 she served a true and accurate copy of the within !vloti(rn
         for ReconsiJcrat1on upon attorneys for dcfr:ndants in this lawsuit by depositing
         a true and accurate copy of same in mailbox duly n1aintaincd by the U;8 Po~1
         Service. The envelopes vverc addressed as fbllovvs:                    V, ~
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                              A. lvhchae] Fun11an, Esq.                                                             ~

                              Furman, Kornteld and Brennan, LLP
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                               New 'lurk, NY l 0006
                               Hinsha\, & Culbertson, LLP
                               800 Third Avenue 13 th FL
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                                         ID #:1154


                                CERTIFICATION OF SER VICE


              Plaintiff pro sc .Amy R. Gurvey declares under penalty of perjury that on
        December 21, 2021 she served a true and accurate copy of the within Motion
        for Reconsideration upon attorneys for defendants in this lawsuit by deposit:.ng
        a true and accurate copy of same in mailbox duly maintained by the US Postal
        Service. The envelopes were addressed as follows:


                             A. Michael Furman, Esq.
                             Furman, Kornteld and Brennan, LLP
                             61 Broadway
                              New York, NY 10006
                              Hin~hilw & Culbertson, LLP
                              800 Third Avenue l Y 1 FL
                              J'\:ew York, NY l 0022
                              Greenberg & Traurig, LLP
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                                     ID #:1155


                          CERTIFICATION OF SERVICE


       Amy R. Gurvey, a US patentee appearing prose, declares under
  penalty of perjury that on April 5, 2022 she served a true and accurate
  copy of the within motion to vacate mandates of the Second Circuit in
  17-2760, 20-1986 and issue mandamus orders against the SDNY.
        The envelopes were addressed as follows:


   Furman, Kornfeld and Brennan                                     c::
                                                                     1''·"
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                                                                     ,._.,-._..
       61 Broadway, 26 th Floor
       New York, NY 10006
   Greenberg & Traurig
        54 State Street
       Albany, New York 12207
   SDNY Grievance Panel -
       Circuit Executive's Office
       500 Pearl Street Room 820
       New York, NY 10007
      Attn: Hon. P. Kevin Castel, Chambers
       Julie Allsman, Esq., Outside Counsel



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                                         ID #:1156                                  15


                                CERTIFICATION OF SERVICE


               Amy R. Gurvey, a US patentee appearing prose, declares under
          penalty of perjury that on April 5, 2022 she served a true and accurate
          copy of the within motion to vacate mandates of the Second Circuit in
          17-2760, 20-1986 and issue mandamus orders against the SDNY.
               The envelopes were addressed as follows:


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          Greenberg & Traurig                                                    . en

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              Albany, New York 12207
          SDNY Grievance Panel
              Circuit Executive's Office
              500 Pearl Street Room 820
             New York, NY 10007
             Attn: Hon. P. Kevin Castel, Chambers
             Julie Alls man, Esq., Outside Counsel
          Hon. Lorna Schofield, SDNY Added Service 4-6-22




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                                                              ID #:1159
                                                                  General Docket
                                                            Court of Appeals, 2nd Circuit

  Court of Appeals Docket #: 22-725                                                                                  Docketed: 04/06/2022
  In Re: Amy R. Gurvey                                                                                                Termed: 05/04/2022
  Appeal From: SDNY (NEW YORK CITY)
  Fee Status: Paid

  Case Type Information:
    1) Original Proceeding
    2) Mandamus
    3) none

  Originating Court Information:
     District: 0208-1 : 06-cv-1202
     Trial Judge: Lorna G. Schofield, U.S. District Judge
     Trial Judge: Henry B. Pitman, U.S. Magistrate Judge
     Date Rec'd COA:
     04/06/2022

  Prior Cases:
     09-2185 Date Filed: 05/22/2009 Date Disposed: 02/10/2012 Disposition: FRAP procedural without judici
     10-3698 Date Filed: 09/15/2010 Date Disposed: 12/28/2010 Disposition: Original Proceedings denied
     10-4111 Date Filed: 10/08/2010 Date Disposed: 02/10/2012 Disposition: Affirmed In Part and Rev Vac In Part
     14-960 Date Filed: 03/27/2014 Date Disposed: 04/15/2015 Disposition: Dismissed/frivolous
     15-285 Date Filed: 02/02/2015 Date Disposed: 04/15/2015 Disposition: Dismissed/frivolous
     15-2703 Date Filed: 08/24/2015 Date Disposed: 10/05/2015 Disposition: FRAP 42 P Stipulation with prejudice
     15-2724 Date Filed: 08/25/2015 Date Disposed: 11/30/2015 Disposition: Original Proceedings denied
     15-3049 Date Filed: 09/29/2015 Date Disposed: 11/30/2015 Disposition: Dismissed/frivolous
     17-2760 Date Filed: 09/05/2017 Date Disposed: 10/06/2017 Disposition: C.D default
     17-2760 Date Filed: 10/06/2017 Date Disposed: 12/04/2018 Disposition: Affirmed
     20-1986 Date Filed: 06/23/2020 Date Disposed: 01/08/2021 Disposition: Dismissed/frivolous

  Current Cases:
    None

  Panel Assignment:            Not available



  Amy Rebecca Gurvey                                                       Amy Rebecca Gurvey, -
            Petitioner                                                     Direct: 917-733-9981
                                                                           [NTC Pro Se]
                                                                           315 Highland Avenue
                                                                           Upper Montclair, NJ 07043
  --------------------------

  Cowan, Liebowitz and Lathman, P.C.                                       Ariel Michael Furman, Esq., -
              Respondent                                                   [COR NTC Retained]
                                                                           Furman Kornfeld & Brennan LLP
                                                                           61 Broadway
                                                                           New York, NY 10006

  William Borchard                                                         Ariel Michael Furman, Esq., -
               Respondent                                                  [COR NTC Retained]
                                                                           (see above)

  Midge Hyman                                                              Ariel Michael Furman, Esq., -
            Respondent                                                     [COR NTC Retained]
                                                                           (see above)

  Baila Celedonia                                                          Ariel Michael Furman, Esq., -
              Respondent                                                   [COR NTC Retained]
                                                                           (see above)

  Christopher Jensen                                                       Ariel Michael Furman, Esq., -
               Respondent                                                  [COR NTC Retained]
                                                                           (see above)

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         Case
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                                                                        Filed  09/08/23
                                                                             Docket       Page 257 of 303 Page
  Clear Channel Communications, Inc.
                                                              ID #:1160
             Respondent

  Live Nation, Inc.
                Respondent

  Does, 1-X Inclusive
               Respondent

  Nexticketing, Incorporated
               Respondent

  Dale Head
                Respondent

  Steve Simon
                Respondent

  Susan Schick
              Respondent

  Michael Gordon
              Respondent

  Instant Live Concerts, LLC
                Respondent




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                                                                        Filed  09/08/23
                                                                             Docket                 Page 258 of 303 Page
                                                              ID #:1161
  In Re: Amy R. Garvey,
                  Petitioner.
  **********************************
  Amy R. Gurvey,

                 Petitioner,

  v.

  Cowan, Liebowitz and Lathman, P.C., William Borchard, Midge Hyman, Baila Celedonia, Christopher Jensen, Clear Channel
  Communications, Inc., Live Nation, Inc., Instant Live Concerts, LLC, Does, 1-X Inclusive, Nexticketing, Incorporated, Dale Head, Steve
  Simon, Susan Schick, Michael Gordon,

                 Respondents.




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                                                                        Filed  09/08/23
                                                                             Docket                    Page 259 of 303 Page
                                                              ID #:1162
  04/06/2022         1            ORIGINAL PROCEEDING, PETITION FOR WRIT OF MANDAMUS, on behalf of Petitioner Amy R. Gurvey,
                89 pg, 8.31 MB    FILED.[3293123] [22-725] [Entered: 04/07/2022 12:13 PM]
  04/07/2022         3            PETITION FOR WRIT, SERVED. Service date 04/06/2022 by US mail.[3293143] [22-725] [Entered:
                87 pg, 8.19 MB    04/07/2022 12:21 PM]
  04/07/2022         4            ORDER, dated 04/07/2022, dismissing appeal by 04/28/2022, unless Petitioner Amy R. Gurvey, submits
                1 pg, 164.92 KB   fee or moves to proceed in forma pauperis, copy to pro se petitioner, FILED.[3293148] [22-725] [Entered:
                                  04/07/2022 12:22 PM]
  04/07/2022         5            INSTRUCTIONAL FORMS, to Pro Se litigant, SENT.[3293158] [22-725] [Entered: 04/07/2022 12:26 PM]
                1 pg, 87.98 KB

  04/26/2022         8            NOTICE, to Respondents William Borchard, Baila Celedonia, Cowan, Liebowitz and Lathman, P.C., Midge
                1 pg, 92.21 KB    Hyman and Christopher Jensen, for failure to file an appearance, SENT.[3303633] [22-725] [Entered:
                                  04/26/2022 12:22 PM]
  04/26/2022         9            ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Respondent Cowan, Liebowitz and
                3 pg, 140.19 KB   Lathman, P.C., Christopher Jensen, Midge Hyman, Baila Celedonia and William Borchard, FILED. Service
                                  date 04/26/2022 by US mail.[3303979] [22-725] [Entered: 04/26/2022 04:07 PM]
  05/04/2022         13           NEW CASE MANAGER, Yana Segal, ASSIGNED.[3309325] [22-725] [Entered: 05/04/2022 04:47 PM]
                1 pg, 89.39 KB

  05/04/2022         14           ORDER, [4] appeal dismissed for Petitioner Amy R. Gurvey failure to pay fee, EFFECTIVE.[3309329] [22-
                                  725] [Entered: 05/04/2022 04:50 PM]
  05/09/2022         16           MOTION, to reinstate appeal, on behalf of Petitioner Amy R. Gurvey, FILED. Service date 05/09/2022 by
                2 pg, 572.62 KB   CM/ECF.[3311139] [22-725] [Entered: 05/09/2022 10:52 AM]
  05/16/2022         22           PAYMENT OF DOCKETING FEE, on behalf of Petitioner Amy R. Gurvey, district court receipt #
                1 pg, 31.59 KB    CA02002964, FILED.[3315809] [22-725] [Entered: 05/16/2022 03:36 PM]
  07/18/2022         25           MOTION, to supplement record on appeal, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service
                                  date 07/18/2022 by CM/ECF. [3349710] [22-725] [Entered: 07/18/2022 10:38 PM]
  07/19/2022         26           SUPPLEMENTARY PAPERS TO WRIT [25], on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service
                                  date 07/18/2022 by CM/ECF.[3349728][26] [22-725] [Entered: 07/19/2022 06:44 AM]
  07/19/2022         27           DEFECTIVE DOCUMENT, motion to supplement record, [26], [25], on behalf of Petitioner Amy Rebecca
                2 pg, 127.83 KB   Gurvey, FILED.[3349799] [22-725] [Entered: 07/19/2022 09:14 AM]
  08/11/2022         31           MOTION ORDER, denying motion to reinstate appeal [16] filed by Amy R. Gurvey, by ECL, BR, MP, FILED.
                2 pg, 142.84 KB   [3363933][31] [22-725] [Entered: 08/11/2022 03:40 PM]
  08/15/2022         33           MOTION, for rehearing en banc, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service date
                                  08/14/2022 by CM/ECF. [3364911] [22-725] [Entered: 08/15/2022 12:14 AM]
  08/15/2022         34           DEFECTIVE DOCUMENT, motion for reconsideration and reconsideration en banc, [33], on behalf of
                2 pg, 128.87 KB   Petitioner Amy Rebecca Gurvey, FILED.[3365076] [22-725] [Entered: 08/15/2022 10:39 AM]
  08/19/2022         35           MOTION, for hearing en banc, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service date
                83 pg, 4.06 MB    08/14/2022 by CM/ECF. [3367822] [22-725] [Entered: 08/19/2022 01:18 AM]
  08/19/2022         36           SUPPLEMENTAL BRIEF, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service date 08/14/2022 by
                7 pg, 161.95 KB   CM/ECF.[3367827] [22-725] [Entered: 08/19/2022 07:25 AM]
  08/19/2022         37           CURED DEFECTIVE motion for permission to file motion for reconsideration en banc with exhibits[35], on
                                  behalf of Petitioner Amy Rebecca Gurvey, FILED.[3367887] [22-725] [Entered: 08/19/2022 09:14 AM]
  08/25/2022         39           ADDENDUM, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service date 08/25/2022 by CM/ECF.
                5 pg, 148.57 KB   [3371969] [22-725] [Entered: 08/25/2022 11:59 PM]
  08/29/2022         42           LETTER, dated 08/18/2022, on behalf of Petitioner Amy Rebecca Gurvey, to Hon. Laura Taylor Swain
                6 pg, 83.31 KB    (courtesy copy), RECEIVED. Service date 08/25/2022 by US mail.[3373952] [22-725] [Entered: 08/30/2022
                                  01:30 PM]
  08/31/2022         44           MOTION ORDER, denying motion for permission to file motion for reconsideration en banc with exhibits
                1 pg, 153.79 KB   [35] filed by Petitioner Amy Rebecca Gurvey, by MP, FILED. [3374912][44] [22-725] [Entered: 08/31/2022
                                  03:54 PM]
  08/31/2022         45           CERTIFIED COPY OF ORDER, dated 04/07/2022, determining the appeal to SDNY, ISSUED.[Mandate]
                1 pg, 788.04 KB   [3374928] [22-725]--[Edited 08/31/2022 by YL] [Entered: 08/31/2022 04:02 PM]
  09/06/2022         46           PAPERS, copy of various letters to district court judges and copy of patent, from Appellant, RECEIVED.
                48 pg, 1.7 MB     [3377653] [22-725] [Entered: 09/07/2022 12:05 PM]
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  09/06/2022
                                                                 ID #:1163
                                   PAPERS, dated 03/06/2022, on behalf of Appellant Amy Rebecca Gurvey, RECEIVED.[3377704] [22-725]
                     47
                11 pg, 825.38 KB   [Entered: 09/07/2022 12:31 PM]
  10/03/2022         48            PAPERS, from pro se Appellant dated 09/30/2022 to the EDNY, RECEIVED.[3392925] [22-725] [Entered:
                55 pg, 1.66 MB     10/04/2022 09:18 AM]
  10/04/2022         49            ADDENDUM, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service date 09/30/2022 by CM/ECF,
                21 pg, 201.4 KB    US mail.[3392953] [22-725] [Entered: 10/04/2022 09:40 AM]
  10/24/2022         50            MOTION, for judicial notice, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service date 10/24/2022
                72 pg, 3.51 MB     by CM/ECF, US mail. [3406613] [22-725] [Entered: 10/24/2022 04:11 PM]
  10/24/2022         51            MOTION for judicial notice received in a closed case, RETURNED.[3406622] [22-725] [Entered:
                1 pg, 91.96 KB     10/24/2022 04:23 PM]
  10/26/2022         52            MOTION, for rehearing, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service date 10/25/2022 by
                112 pg, 6.04 MB    CM/ECF, US mail. [3407742] [22-725] [Entered: 10/26/2022 06:07 AM]
  10/26/2022         53            MOTION for rehearing received in a closed case, RETURNED.[3407774] [22-725] [Entered: 10/26/2022
                1 pg, 91.72 KB     08:56 AM]
  11/10/2022         54            STAY STATUS UPDATE LETTER, dated 11/07/2022, on behalf of Petitioner Amy Rebecca Gurvey, alerting
                20 pg, 231.92 KB   court that <EDIT by Clerk's Office >, RECEIVED. Service date 11/09/2022 by CM/ECF, US mail.[3417685]
                                   [22-725] [Entered: 11/10/2022 02:23 AM]
  11/10/2022         55            ADDENDUM, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service date 11/10/2022 by CM/ECF,
                4 pg, 127.93 KB    US mail.[3417921] [22-725] [Entered: 11/10/2022 10:58 AM]
  11/10/2022         56            STAY STATUS UPDATE LETTER, dated 11/07/2022, ADDENDUM, on behalf of Petitioner Amy Rebecca
                1 pg, 91.9 KB      Gurvey received in a closed case, RETURNED.[3418414] [22-725] [Entered: 11/10/2022 04:19 PM]
  11/13/2022         57            LETTER, on behalf of Petitioner Amy Rebecca Gurvey, <EDIT by Clerk's Office> RECEIVED. Service date
                2 pg, 76.14 KB     11/12/2022 by CM/ECF, US mail.[3418581] [22-725] [Entered: 11/13/2022 08:51 AM]
  11/14/2022         58            LETTER, on behalf of Petitioner Amy Rebecca Gurvey received in a closed case, RETURNED.[3419221]
                1 pg, 91.89 KB     [22-725] [Entered: 11/14/2022 01:55 PM]
  11/16/2022         59            PAPERS, petition for emergency stay and writ of mandamus, on behalf of Appellant Amy R. Gurvey,
                85 pg, 2.51 MB     RECEIVED.[3420847] [22-725] [Entered: 11/16/2022 02:03 PM]
  12/28/2022         60            STAY STATUS UPDATE LETTER, dated 12/28/2022, on behalf of Petitioner Amy Rebecca Gurvey, alerting
                128 pg, 4.14 MB    court that a petition for an emergency stay was filed in the Supreme Court of the United States,
                                   RECEIVED. Service date 12/28/2022 by CM/ECF.[3444100] [22-725]--[Edited 12/29/2022 by YS] [Entered:
                                   12/28/2022 07:04 PM]
  08/18/2023         62            LETTER, on behalf of Petitioner Amy Rebecca Gurvey, requesting to reopen appeal and to file a wrti of
                                   mandamus agains the EDNY in a related action (19-cv-4739) (LDH), RECEIVED. Service date 08/18/2023
                                   by CM/ECF.[3558438] [22-725]--[Edited 08/18/2023 by YS] [Entered: 08/18/2023 12:18 PM]
  08/18/2023         63            DEFECTIVE DOCUMENT, letter requesting to reopen appeal, [62], on behalf of Petitioner Amy Rebecca
                2 pg, 131.84 KB    Gurvey, FILED.[3558448] [22-725] [Entered: 08/18/2023 12:37 PM]
  08/19/2023         64            MOTION, to recall mandate, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service date 08/18/2023
                                   by CM/ECF. [3558770] [22-725] [Entered: 08/19/2023 11:23 AM]
  08/21/2023         65            DEFECTIVE DOCUMENT, motion to recall mandate and to reinstate appeal, [64], on behalf of Petitioner
                2 pg, 153.89 KB    Amy Rebecca Gurvey, FILED.[3559113] [22-725] [Entered: 08/21/2023 01:20 PM]
  08/21/2023         66            MOTION, to recall mandate, to reinstate appeal, on behalf of Petitioner Amy Rebecca Gurvey, FILED.
                28 pg, 996.21 KB   Service date 08/18/2023 by CM/ECF. [3559240] [22-725] [Entered: 08/21/2023 03:25 PM]
  08/22/2023         67            CURED DEFECTIVE, letter requesting to reopen appeal, motion to recall mandate and to reinstate appeal
                                   [63], [65], [66],[66], on behalf of Petitioner Amy Rebecca Gurvey, FILED.[3559468] [22-725] [Entered:
                                   08/22/2023 08:32 AM]
  08/22/2023         70            ADDENDUM, on behalf of Petitioner Amy Rebecca Gurvey, FILED. Service date 08/22/2023 by CM/ECF.
                38 pg, 949.87 KB   [3559542] [22-725] [Entered: 08/22/2023 09:54 AM]




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     Documents Only

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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


 AMY R. GURVEY,

                  Plaintiff-Inventor Pro se,   Case No. 06 Civ. 1202
                                               (LGS)(HBP)

 v.
 COWAN, LIEBOWITZ & LATMAN,                    PLAINTIFF PRO SE'S
 PC, WILLIAM BORCHARD, MIDGE                   NOTICE OF CROSS-MOTION
 HYMAN, CHRISTOPHER JENSEN,                    MOTION TO DISQUALIFY
 SIMON GERSON, R. LEWIS                        HINSHAW & CULBERTSON,
 GABLE, MARK MONTAGUE, AND                     LLP; FOR A STAY PENDING
 BAlLA CELEDONIA, ET AL.,                      ADJUDICATION OF
 (Collectively "Cowan defendants").            PLAINTIFF'S PARALLEL
                                               SECOND CIRUCIT APPEAL;
                                               TO COMPEL DISCOVERY;
                                               AWARDDAMAGESAND
                                               SANCTIONS UNDER NY'S
                                               JUDICIARY LAW§ 487,
                                               RULES 11 & 37; AND
                                               PUNITIVE DAMAGES FOR
                                               BAD FAITH


                    Defendants.




       PLEASE TAKE NOTICE that based upon the proceedings heretofore
 had herein since 2006, Plaintiffs parallel civil rights and diversity damages



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 lawsuit before the Second Circuit against DDC members l , and Richard
 Supple, Esq.'s April 2014 docketed notice that Cowan defendants will not
 comply with discovery after engaging in 8 years of in-court fraud and frivolous
 litigation, Plaintiff pro se Amy R. Weissbrod Gurvey opposes Supple's
 motion-in-chief seeking Rule 11 sanctions and cross-moves this Court for an
 order:


       (1) Disqualifying Hinshaw & Culbertson, LLP ("H&C") pursuant to
New York Rules of Professional Conduct, Rule 3.7(b)(1) because Supple and
at least one other Hinshaw partner, Hal Lieberman, Esq., were committee
member and chairman, respectively of the Appellate Division First Dept.
Disciplinary Committee ("DDC") when Plaintiff's DR patent grievances
against Cowan defendants were unlawfully whitewashed along with the
grievances filed by other USPTO inventors in violation ofequal protection,
H&C partners are liable to Plaintiff for damages, and at least one other H&C
partner (Lieberman) will be forced to bear witness against Cowan defendants.
[Schatzki and BPP Wealth Inc.! v. Weiser Capital Management, 2014 WL 630650;
2014 WL 464477; 2013 WL 628447, 2013 WL 6189208; 2013 WL 6189465,
2012 WL 169779, citing Murray v. Metro. Life Ins. Co., 583 F. 3d 173 (2d Cir.
2009)];

      (2) Disqualifying H&C since there can be no prejudice to defendants
as a matter oflaw because discovery has just begun;

       (3) Disqualifying H&C because its partners, having breached fiduciary
duties to Plaintiff in whitewashing Plaintiff's grievances, harbored their own
innate conflicts of interest when assuming Cowan's defense in 2006 and

 12d Cir. Case No. 13-2211-cv; orders from which were raised ad infinitum by
defendants and Hinshaw & Culberson's Richard Supple, Esq. since the
inception of this lawsuit are believed to have been wrongly influenced by
Supple and Lieberman who without disclosure, double as DDC members.

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 improperly failed to disclose the conflicts to Plaintiff and this Court;

        (4) Disqualifying H&C because in 2007, after H&C partners were
 sued before this Court by other inventors for whitewashing their DR
 grievances and violating equal protection, H&C partners - in the absence of all
 jurisdiction and statutory authority - staged or conspired with other DDC
 committee members to stage Plaintiffs unjustified abuse and harassment to
 protect themselves from a further lawsuit and to gain unfair litigation
 advantages herein, acts for which no immunity of any kind exists and punitive
 damages must awarded. [Campbell v. State Farm Insurance, 98 P. 3d 409
 (Supreme Court of Utah, April 23, 2004)(On remand from USSC, 538 U.S.
 408, 123 S.Ct. 1513, 155 L.Ed.2d 585 (Kennedy, J.)]; Forresterv. White, 484 US
 219 (l989)(O'Connor J.); Bernstein v. AD FDDC, 07-cv-11196 (SDNy);
 Anderson v. AD FDDC, 07-cv-9599 (SDNY) (See authorities cited in Plaintiffs
 submitted opening and reply briefs to the Second Circuit, 13-22l1-cv)]

        (5) Awarding damages under NY's Judiciary Law §487 against H&C,
 Supple and Cowan attorney defendants for engaging in common law fraud and
 conspiracy to commit fraud before this Court, USPTO and DDC committee
 members 2 and that already caused erroneous sua sponte dismissal of Cowan
 defendants in 2009 [Schatzki and BPP Wealth Inc.! v. Weiser Capital Management,
 2014 WL 630650; 2014 WL 464477; 2013 WL 628447,2013 WL 6189208;
 2013 WL 6189465, 2012 WL 169779, citing Murray v. Metro. Life Ins. Co., 583
 F. 3d 173 (2d Cir. 2009)];


       (6) Ordering a stay of Supple's Rule 11 sanction motion-in-chief
 pending adjudication of Plaintiffs parallel appeal to the Second Circuit (2d
 Cir. Case No. 13-22l1-cv];

     (7)    Ordering Rule 11 sanctions in Plaintiff's favor for Supple and
 Cowan's engaging in fraud and frivolous litigation since 2006 that induced the

 In Seldon v. Bernstein, 503 Fed. Appx. 32,2012 WL 5860509 (2d Cir. 2012)
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the Second Circuit held that a plaintiff must state fraud and bad faith damage
claims in the exist lawsuit under NY Judiciary Law §487 and not wait until
after the lawsuit is adjudicated.
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 Court to deny Plaintiff discovery for 7 years, delayed arbitration for three
 years, caused sua sponte dismissal of Plaintiff's lawsuit in 2009 prior to
 arbitration being entered in Plaintiff's favor on all counts; denied Plaintiff a
 motion to compel return of her files from her previous attorneys, Squitieri &
 Fearon, LLP; and induced Magistrate Pitman to place improper qualifications
 on Plaintiff's discovery rights post remand from Second Circuit and issue an
 unjustified Rule 37 sanction order against Plaintiff;

      (8) Ordering Rule 11 sanctions in Plaintiff's favor based on Supple's
added frivolous motions before Magistrate Pitman reframing the same
sanctions motions in 2013 and 2014 that were already denied by SDNY
Arbitrator and Second Circuit;

      (9) Ordering Rule 37 discovery sanctions against defendants and
Supple for contumaciously noticing refusal to produce otherwise discoverable
documents without proper justification in April 2014 (Docket # 221) and
previously submitting incomplete Rule 26(a) disclosures in December, 2012;
and

      (10) Ordering production of outstanding discovery in hard and
electronic format from Cowan defendants and from H&C partners; ordering
defendants to pay Plaintiff's outstanding fees ordered by the Second Circuit;
ordering Plaintiff's costs and attorneys' fees to bring this motion, and granting
such other and further relief as the Court deems just and proper.

Dated: May 11,2014
Upper Montclair, NJ 07043                                         _._----­
                                                    ISSBROD GURVEY
                                      Plaintiff inventor pro se
                                      315 Highland Avenue
                                      Upper Montclair, NJ 07043
                                      amyweissbrod@verizon.net

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 To: SDNYECF

 Richard Supple, Esq.
 Hinshaw & Culbertson, LLP
 800 Third Avenue 13th Fl
 New York, NY 10022




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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
  AMY R. GURVEY,                                                :
                                               Plaintiff,       :
                                                                :   06 Civ. 1202 (LGS) (HBP)
                             -against-                          :
                                                                :   OPINION AND ORDER
  COWAN, LEIBOWITZ & LATMAN, P.C., et al., :
                                               Defendants. :
 -------------------------------------------------------------- X

 LORNA G. SCHOFIELD, District Judge:

         Magistrate Judge Henry B. Pitman, to whom this matter has been referred for supervision

 of pretrial proceedings, issued a Report and Recommendation (the “Report”), dated July 24,

 2015, recommending that: (1) Defendants Cowan Liebowitz & Latman, P.C., William Borchard,

 Midge Hyman, Baila Celedonia and J. Christopher Jensen’s (collectively, “Defendants”) motions

 for sanctions against Plaintiff Amy Gurvey under Federal Rule of Civil Procedure 11 be granted;

 (2) Plaintiff be sanctioned $20,000, payable to the Clerk of Court; and (3) this action be stayed

 until Plaintiff pays the sanction, and that, if Plaintiff fails to pay the sanction within one year, the

 action be dismissed with prejudice. For the reasons stated below, the Report is adopted in part

 and rejected in part.

 I.      BACKGROUND

         The facts and procedural history relevant to the motions are set out in the Report and

 summarized here.

         A.       Relevant Factual and Procedural History

         Plaintiff Amy Gurvey brought this action against her attorneys, Defendant Cowan

 Liebowitz & Latman, P.C. (“Cowan”), several partners of, and one associate employed by,

 Cowan (together with Cowan, the “Cowan Defendants”) and various other defendants, alleging

 claims for, inter alia, misappropriation of trade secrets, unfair competition, breach of fiduciary



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 duty, attorney malpractice and violations of the Lanham Act. In April 2009, the Third Amended

 Complaint was dismissed. In February 2012, the Second Circuit affirmed the dismissal of most

 of Plaintiff’s claims, but found that the Third Amended Complaint stated plausible claims for

 attorney malpractice and breach of fiduciary duty against the Cowan Defendants and remanded

 the case for further proceedings. Gurvey v. Cowan, Liebowitz & Latman, P.C., 462 F. App’x 26,

 30 (2d Cir. 2012). The mandate issued on March 12, 2012.

        Plaintiff is a lawyer suspended from the practice of law in the State of New York. In the

 three-and-a-half years since the Second Circuit mandate, Plaintiff has acted pro se except for a

 five-month period from April 7, 2015, to September 14, 2015. During those years, she has done

 little to bring her claims to resolution. Plaintiff has failed to comply with discovery orders, has

 resisted the taking of her own deposition and has filed a multitude of meritless motions and

 applications.

        For instance, by Order dated July 15, 2013, Judge Pitman found that Plaintiff had

 violated: (1) an Order dated October 10, 2012, by seeking discovery that far exceeded the scope

 of her malpractice and breach of fiduciary claims; and (2) an Order dated January 14, 2013, by

 failing to provide Judge Pitman with written explanations of how each of her discovery requests

 served on Defendants were relevant to her two claims for attorney malpractice and breach of

 fiduciary duty by the court-order deadline of January 17, 2013. The July 15, 2013, Order denied

 Plaintiff’s request for an extension of time, stating that Plaintiff’s excuse that she was

 hospitalized for a couple months for health reasons were baseless as she continued to make

 numerous filings during that period.

        Rather than pursuing her claims, Plaintiff has made the following applications, among

 others: (1) permission to file a proposed fourth amended complaint, fifth amended complaint and

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 sixth amended complaint; (2) disqualification of Defendants’ counsel; (3) an extension of time to

 effect service even though Plaintiff commenced the action in 2006; (4) reconsideration of orders

 and opinions; (5) remand to state court; (6) purported interlocutory review of Judge Pitman’s

 decisions directly by the Second Circuit; (7) sanctions against Defendants; and (8) judicial

 recusal.

         As a result, the docket sheet has grown by over 200 entries since this case was remanded

 by the Second Circuit over three years ago. Despite the size of the docket sheet, and a fact

 discovery deadline of September 19, 2014, this case has not proceeded to the summary judgment

 stage or trial.

         B.        The Report and Subsequent Events

         Defendants have moved for Rule 11 sanctions against Plaintiff, asserting that she filed

 (1) a frivolous motion for reconsideration of an order imposing Rule 37 sanctions on Plaintiff for

 failure to comply with her discovery obligations and two court orders; (2) a frivolous motion to

 file a proposed sixth amended complaint; and (3) a frivolous motion for disqualification of Judge

 Pitman. The Report found that each of these three submissions by Plaintiff violated Rule 11.

 The Report recommended sanctions of $20,000 payable to the Clerk of Court, a stay pending

 payment and dismissal of this case if the sanction was not paid within one year. The Report

 reasoned that such sanctions were appropriate because, inter alia, Plaintiff’s conduct was willful;

 Plaintiff had engaged in a pattern of frivolous motion practice both in this case and in other

 unrelated cases; and sanctions of $8,783 and $5,700 imposed in unrelated proceedings had not

 dissuaded Plaintiff from continuing to engage in sanctionable conduct.

         On August 7, 2015, Plaintiff -- briefly represented by counsel -- timely filed objections to

 the Report (the “Objections”). The Objections do not specifically address why the three

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 submissions do not violate Rule 11. Rather, the Objections assert that the procedural history of

 this case shows that Plaintiff’s conduct has not been frivolous and was not intended to harm,

 harass or delay the proceedings.

        On August 20, 2015, Defendants timely filed responses to the Objections (the

 “Responses”), stating the Objections should not be sustained and that the Report should be

 affirmed.

        Proceeding pro se, on August 24, 2015, Plaintiff filed an interlocutory appeal with the

 Second Circuit challenging, among other things, two of the matters at issue on this sanctions

 motion -- Judge Pitman’s decision denying Plaintiff’s motion for recusal and her motion for leave

 to file a proposed sixth amended complaint.1

 II.    LEGAL STANDARD

        A.      Standard of Review

        A reviewing court “may accept, reject, or modify, in whole or in part, the findings or

 recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1)(C). Typically, the

 district court “may adopt those portions of the report to which no ‘specific, written objection’ is

 made, as long as the factual and legal bases supporting the findings and conclusions set forth in

 those sections are not clearly erroneous or contrary to law.” Adams v. N.Y. State Dep’t of Educ.,

 855 F. Supp. 2d 205, 206 (S.D.N.Y. 2012) (citing Fed. R. Civ. P. 72(b), Thomas v. Arn, 474 U.S.

 140, 149 (1985)). But in the context of Rule 11, the Second Circuit has left open whether de

 novo review is required for a magistrate judge’s recommendation of sanctions under Rule 11.


 1
          Where, as here, a party files a frivolous interlocutory appeal, a district court is not
 divested of jurisdiction. See United States v. Rodgers, 101 F.3d 247, 251-52 (2d Cir. 1996) (“We
 fail to see any efficiency in allowing a party to halt district court proceedings arbitrarily by filing
 a plainly unauthorized notice of appeal which confers on [the appeals court] the power to do
 nothing but dismiss the appeal.”).
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 Kiobel v. Millson, 592 F.3d 78, 79-80 (2d Cir. 2010) (declining to decide “whether the District

 Judge applied the correct standard of review to the Magistrate Judge’s determination that Rule 11

 sanctions were warranted”). In an exercise of caution, the review below is de novo.

        B.      Rule 11 Standard

        Rule 11 states that an attorney or pro se party who presents “a pleading, written motion, or

 other paper” to a court thereby “certifies” that to “the best of the person’s knowledge,

 information, and belief,” formed after a reasonable inquiry, the filing is: (1) not presented for any

 improper purpose, such as to “harass, cause unnecessary delay, or needlessly increase the cost of

 litigation”; (2) “warranted by existing law or by a nonfrivolous argument for extending,

 modifying, or reversing existing law or for establishing new law”; and (3) supported in facts

 known or likely to be discovered on further investigation. Fed. R. Civ. P. 11(b). “[A] court may

 impose an appropriate sanction on . . . a party that violated [Rule 11(b)] or is responsible for the

 violation.” Fed. R. Civ. P. 11(c).

        “[T]he main purpose of Rule 11 is to deter improper behavior, not to compensate the

 victims of it or punish the offender.” Universitas Educ., LLC v. Nova Grp., Inc., 784 F.3d 99,

 103 (2d Cir. 2015) (quoting 5A Charles Alan Wright et al., Federal Practice and Procedure §

 1336.3 (3d ed. 2004)). For sanctions issued pursuant to a motion by opposing counsel, courts

 have held that an attorney or litigant “could be sanctioned for conduct that was objectively

 unreasonable.” Muhammad v. Walmart Stores East, L.P., 732 F.3d 104, 108 (2d Cir. 2013).

 “[D]istrict courts are given ‘broad discretion’ in creating Rule 11 sanctions,” so long as the

 sanctions “fit within the confines of the rule.” Universitas Educ., 784 F.3d at 103 (quoting

 O’Malley v. N.Y.C. Transit Auth., 896 F.2d 704, 709 (2d Cir.1990)).



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 III.   DISCUSSION

        Upon a de novo review of the record in this litigation, including the pleadings, the docket

 sheet, the parties’ respective submissions filed in connection with the motions described in the

 Report, applicable legal authorities, the Report, the Objections and the Responses, the Court

 adopts the Report’s findings, reasoning and legal support for concluding that Plaintiff violated

 Rule 11. The Report’s recommendations about the sanctions to be imposed are modified as

 discussed below.

        A.      Plaintiff Violated Rule 11

        The Report correctly found that the following frivolous filings violated Rule 11:

 (1) Plaintiff’s motion for reconsideration dated March 24, 2014 (the “Motion for

 Reconsideration”); (2) Plaintiff’s motion for leave to file a proposed sixth amended complaint

 (“Motion to Amend”); and (3) Plaintiff’s motion to disqualify Judge Pitman (the

 “Disqualification Motion”).

                1.     Plaintiff’s Motion for Reconsideration

        The Motion for Reconsideration violated Rule 11 as it lacked any factual or legal basis.

 “Rule 11 permits sanctions against a litigant who submits a pleading or motion that, evaluated

 ‘under an objective standard of reasonableness, . . . [has] no chance of success and [makes] no

 reasonable argument to extend, modify or reverse the law as it stands.’” Smith v. Westchester

 Cnty. Dep’t of Corr., 577 F. App’x 17, 18 (2d Cir. 2014) (quoting Caisse Nationale de Credit

 Agricole-CNCA, N.Y. Branch v. Valcorp, Inc., 28 F.3d 259, 264 (2d Cir. 1994)) (affirming

 imposition of Rule 11 sanction for a frivolous motion for reconsideration); accord Maisonville v.

 F2 America, Inc., 902 F.2d 746, 748-49 (9th Cir. 1990) (affirming imposition of Rule 11

 sanctions for frivolous motion for reconsideration); Miller v. Norfolk S. Ry. Co., 208 F. Supp. 2d

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 851, 853-54 (N.D. Ohio 2002) (imposing Rule 11 sanctions for frivolous motion for

 reconsideration that “presented no basis on which it could, or should[,] have been granted”);

 Atkins v. Marathon LeTourneau Co., 130 F.R.D. 625, 626-27 (S.D. Miss. 1990) (imposing Rule

 11 sanction for frivolous motion for reconsideration that merely repeated arguments made in

 original motion). Applying an objective standard, a reasonable person in Plaintiff’s

 circumstances would have known that the motion was baseless.

        The Motion for Reconsideration lacked any chance of success. The motion asserted that

 Judge Pitman did not consider the evidence before him and found facts not supported by the

 evidence. In support, however, it relied on numerous factual misrepresentations, including that:

 (1) Judge Pitman admitted at a conference that he “only considered [Defendants’] papers but did

 not consider all [of] Plaintiff’s relevant papers” in connection with a motion for sanctions, which

 is contradicted by the extensive discussion of Plaintiff’s submissions in the relevant order; and

 (2) Defendants had been permitted to “reframe sanction arguments already rejected . . . [by] the

 Second Circuit,” when the Second Circuit’s decision did not discuss sanctions and the conduct

 being sanctioned occurred after the Second Circuit’s decision. The motion also relied on

 numerous alleged instances of misconduct by defense counsel that were unrelated to the relief

 requested -- reconsideration of an order imposing Rule 37 sanctions on Plaintiff for failing to

 comply with court orders or with her discovery obligations. Accordingly, the Motion for

 Reconsideration violated Rule 11 as the legal arguments were frivolous, and the factual

 contentions were unsupported by any evidence.

        Bringing the Motion for Reconsideration was objectively unreasonable because Plaintiff

 knew the standard for a motion for reconsideration. First, in April 2013, Plaintiff had been

 sanctioned for filing “repeated, unsupported requests for reconsideration” in an unrelated case.

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 Gurvey v. Legend Films, Inc., No. 09 Civ. 942, 2013 WL 1883229, at *1 (S.D. Cal. May 3,

 2013). Second, on August 1, 2013, Plaintiff -- acting pro se -- filed a motion for reconsideration

 that included the legal standard for such a motion. Finally, about one month before Plaintiff

 brought the Motion for Reconsideration, Judge Pitman’s February 25, 2014, Order again stated

 the relevant legal standard in denying Plaintiff’s motion for reconsideration not at issue here. The

 February 25, 2014, Order also warned Plaintiff that further noncompliance with the Federal Rules

 of Civil Procedure could result in sanctions, including dismissal of the action. By failing to heed

 Judge Pitman’s warning and filing the frivolous Motion for Reconsideration, Plaintiff violated

 Rule 11.

                2.      Plaintiff’s Motion to Amend

        Plaintiff’s Motion to Amend also violated Rule 11 because the proposed sixth amended

 complaint was duplicative of her proposed fifth amended complaint. Rule 11 sanctions may be

 imposed when a proposed amended complaint “not only failed to correct legal deficiencies in

 plaintiffs’ earlier amended complaints, but reasserted, without sufficient new factual allegations,

 numerous claims that [had been] dismissed, and asserted certain other claims without any

 substantive legal basis.” Adams v. N.Y. State Dep’t of Educ., 855 F. Supp. 2d 205, 206 (S.D.N.Y.

 2012) (imposing Rule 11 sanctions for proposed complaint that “merely retreaded claims

 previously dismissed”), aff’d sub nom. Hochstadt v. N.Y. State Educ. Dep’t, 547 F. App’x 9 (2d

 Cir. 2013).

        By Decision and Order dated July 15, 2013, Judge Pitman denied Plaintiff’s motion to file

 the proposed fifth amended complaint based on futility, failure to state a claim, undue delay and

 prejudice to defendants. That order provided a detailed recitation of the relevant pleading

 standards and discussed the substantive law. Judge Pitman then denied Plaintiff’s motion to

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 reconsider that order. Plaintiff subsequently sought leave to file a proposed sixth amended

 complaint, asserting that it made new allegations based on facts disclosed by Defendants in their

 document production after the proposed fifth amended complaint had been rejected. But, as

 detailed in the Report and in Judge Pitman’s Opinion and Order dated July 21, 2015, denying

 leave to file a sixth amended complaint, there is no material difference between the two proposed

 complaints.

        Among other things, both proposed complaints allege: (1) Defendants failed to act

 competently in prosecuting Plaintiff’s patent applications, causing her damages; (2) Defendants

 disclosed Plaintiff’s confidential information to its clients; and (3) Defendants breached its

 obligations to Plaintiff by providing services to Legends Film to Plaintiff’s detriment. The

 proposed sixth amended complaint was merely a restated and reorganized iteration of the

 proposed fifth amended complaint. Accordingly, the motion to file yet another amended

 complaint violated Rule 11.

                3.      Plaintiff’s Disqualification Motion

        The Disqualification Motion also violated Rule 11 because it contained numerous factual

 misrepresentations. As discussed in the Report and in Judge Pitman’s Opinion and Order dated

 July 21, 2015, denying the Disqualification Motion, this motion incorrectly asserted, inter alia,

 that: (1) Judge Pitman denied Plaintiff discovery by failing to schedule a discovery conference

 until March 19, 2014, but conferences were held on October 9, 2012, and January 3, 2013, and, in

 any event, Judge Pitman decided various discovery motions on the papers; (2) Judge Pitman

 improperly considered information from outside this case; (3) Defendants’ counsel supervised

 attorneys on the Departmental Disciplinary Committee in 2007 to obtain an unfair advantage in



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 this litigation; and (4) Defendants’ counsel submitted “altered” evidence and “tamper[ed] with

 files in the public room.” These frivolous allegations violate Rule 11.

                4.      The Objections

        In arguing for a contrary result, the Objections make three arguments. First, the

 Objections assert that Plaintiff acted in good faith. Specifically, the Objections argue that

 Plaintiff “was ‘over her head’ in attempting to litigate this case herself” and had filed numerous

 motions in an effort to obtain discovery and move this case to a decision on the merits. This

 argument is unpersuasive. Rule 11 applies to pro se litigants. Fed. R. Civ. P. 11(b)-(c) (“[T]he

 court may impose an appropriate sanction on any attorney, law firm, or party that violated [Rule

 11(b)] . . . .”) (emphasis added); see also Patterson v. Aiken, 841 F.2d 386, 387 (11 Cir. 1988)

 (per curiam) (“[O]ne acting pro se has no license to harass others, clog the judicial machinery

 with meritless litigation, and abuse already overloaded court dockets.” (quoting Farguson v.

 MBank Houston, N.A., 808 F.2d 358, 359 (5th Cir. 1986)).

        Moreover, “[Plaintiff] is a lawyer and, therefore, [s]he cannot claim the special

 consideration which the courts customarily grant to pro se parties.” Harbulak v. Suffolk Cnty.,

 654 F.2d 194, 198 (2d Cir. 1981); accord Fox v. Boucher, 794 F.2d 34, 38 (2d Cir. 1986) (“When

 the litigant is an attorney sanctions are particularly appropriate.”). Finally, Plaintiff had been

 warned that further noncompliance with the Federal Rules of Civil Procedure would result in

 sanctions, but failed to heed this warning. Accordingly, this argument fails.

        Second, the Objections assert that this Court’s March 19, 2013, Order divested Judge

 Pitman of any further jurisdiction. This is incorrect. This case was reassigned from the

 Honorable Barbara S. Jones, upon her retirement, to this Court on March 11, 2013, in effect

 advising that a new judge would be replacing Judge Jones on the case. The March 19, 2013,

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 Order did not withdraw the referral to Judge Pitman for general pretrial supervision, and Judge

 Pitman has continued to supervise general pretrial matters since that Order was entered over two

 years ago. Accordingly, this argument is meritless.

         Finally, the Objections allege that “Judge Pitman may not have the power to decide a

 motion to amend the complaint due to its dispositive nature.” This is incorrect. The Second

 Circuit has considered and rejected a similar argument, finding that a “magistrate judge acted

 within his authority in denying [a] motion to amend the complaint.” Marsh v. Sheriff of Cayuga

 Cnty., 36 F. App’x 10, 1 (2d Cir. 2002) (citing 28 U.S.C. § 636(b)(1)(A)). Accordingly, this

 argument fails and the Report’s finding that Plaintiff’s Disqualification Motion violated Rule 11

 is adopted.

         B.     Nature of Sanctions Imposed

         “Once a court determines that Rule 11(b) has been violated, it may . . . impose sanctions

 limited to what is ‘sufficient to deter repetition of such conduct.’” Margo v. Weiss, 213 F.3d 55,

 64 (2d Cir. 2000) (quoting Fed. R. Civ. P. 11(c). “District courts are given broad discretion in

 tailoring appropriate and reasonable sanctions.” O’Malley, 896 F.2d at 709; accord 5A Charles

 Alan Wright et al., Federal Practice and Procedures § 1336.3 (3d ed.) (“[F]ederal courts retain

 broad discretionary power to fashion novel and unique sanctions to fit the particular case.”).

 “[D]ismissal remains available directly under Rule 11 although it is reserved for the rare case

 involving extreme misbehavior by the offending party, such as fraud, contempt, and willful bad

 faith.” Id.

         The Report recommended -- and this Court agrees -- that significant monetary and non-

 monetary sanctions should be imposed because, inter alia, (1) Plaintiff’s conduct has been willful;

 (2) prior sanctions of $5,700 and $8,783 in unrelated actions had not dissuaded Plaintiff from

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 engaging in frivolous motion practice; and (3) Plaintiff’s actions in this litigation have

 unnecessarily delayed resolution of this case.

        The Report’s recommendation of a $20,000 sanction, however, is reduced to $10,000 to

 pay for a special master, as detailed below. The amount of $10,000 is reasonable and likely

 sufficient to pay a special master as discovery has closed and all that remains are dispositive

 motions, if any, followed by a potential trial. Review by the special master at Plaintiff’s expense

 is necessary to deter Plaintiff from repeating the sanctionable conduct as Plaintiff has continued

 to file meritless applications and motions notwithstanding the close of discovery approximately

 one year ago. See Fed. R. Civ. P. 11(c)(4) (“A sanction imposed under this rule must be limited

 to what suffices to deter repetition of the conduct or comparable conduct by others similarly

 situated.”). To the extent that Plaintiff continues to make court submissions as she has in the

 past, review by a special master appears necessary to address pretrial matters that cannot be

 effectively and timely addressed by an available district judge or magistrate judge. See Fed. R.

 Civ. P. 53(a). Barring Plaintiff from filing further papers in this case, except as specified below,

 is necessary to deter repetition of Rule 11 violations, prevent further delay and bring this nine-

 year-old case to a resolution on the merits. Accordingly, the Report’s recommendation is

 modified, and the following sanctions are imposed on Plaintiff:

        (1)     This case is stayed, unless and until $10,000 is deposited with the Clerk of Court.

        (2)     Plaintiff may deposit $10,000 with the Clerk of Court, and the Clerk of Court shall

                maintain the funds in an interest bearing account until further order of the Court.

        (3)     The funds shall be used to pay a special master appointed by the Court to

                (a) familiarize himself or herself with this case and (b) review Plaintiff’s proposed

                filings to determine whether they are frivolous or otherwise patently improper.

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        (4)    Plaintiff will receive the balance of the funds she deposited, if any, after this case

               is closed and all appeals have been exhausted.

        (5)    Plaintiff will be required to deposit additional funds on terms to be specified, if the

               original $10,000 is exhausted before the conclusion of the case.

        (6)    If the initial $10,000 deposit is not made within one year of the date of this

               Opinion and Order, then the case will be dismissed.

        (7)    Plaintiff shall submit all proposed filings to the special master and obtain a written

               statement from the special master as to whether the proposed filing is frivolous or

               otherwise patently improper (“Approval for Filing”).

        (8)    Plaintiff’s ECF filing privileges are revoked and she must make all filings through

               the Pro Se Office.

        (9)    Plaintiff may submit a proposed submission to the Pro Se Office for filing only if

               the submission is accompanied by an Approval for Filing.

        (10)   The Pro Se Office shall reject any proposed submission by or on behalf of Plaintiff

               that is not accompanied by an Approval for Filing. The Pro Se Office shall file on

               ECF any proposed submission by or on behalf of Plaintiff that is accompanied by

               an Approval for Filing.

 IV.    CONCLUSION

        For the foregoing reasons, the Report’s recommendation that Plaintiff be sanctioned by

 requiring her to pay $20,000 to the Clerk of Court is REJECTED, and the sanctions outlined in




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 numbered paragraphs 1 through 10 above are imposed. The remainder of the Report is

 ADOPTED.

        The Clerk of Court is respectfully directed to close Docket Numbers 223, 224 and 294.

 SO ORDERED.

 Dated: September 17, 2015
        New York, New York




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